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                   ϰ͘^ƚĂĨĨƚƚŽƌŶĞǇƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϳϬ
                         Ă͘DŝĐŚĂĞůƌĂĚůĞǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϳϯ
                   ϱ͘^ĞƌǀŝĐĞǁĂƌĚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϳϳ
           /͘ KhZdWWZKs>K&d,^dd>DEdEtZK&&^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϬ
                   ϭ͘WƌŽǀŝƐŝŽŶĂůůĂƐƐĞƌƚŝĨŝĐĂƚŝŽŶĂŶĚWƌĞůŝŵŝŶĂƌǇƉƉƌŽǀĂůŽĨ^ĞƚƚůĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϬ
                   Ϯ͘&ŝŶĂůƉƉƌŽǀĂů͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϮ
           :͘ /^dZ/hd/KEK&^dd>DEdEddKZEz^͛&^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϰ
                   ϭ͘WĂǇŵĞŶƚŽĨ&ĞĞƐĂŶĚǆƉĞŶƐĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϱ
                   Ϯ͘WƌĞǀŝŽƵƐůǇhŶĚŝƐĐůŽƐĞĚWĂǇŵĞŶƚŽĨ&ĞĞƐƚŽŚĂƌŐŽŝƐΘ,ĞƌƌŽŶ>>W͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϳ
           <͘ DKE,Z'K/^͛/EsK>sDEdt/d,>dKEEdZ^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϵ
                   ϭ͘>ĂďĂƚŽŶ͛Ɛ/ŶƚƌŽĚƵĐƚŝŽŶƚŽdZ^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϴϵ
                   Ϯ͘dŚĞŚĂƌŐŽŝƐ͞ƌƌĂŶŐĞŵĞŶƚ͟͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϵϮ
                         Ă͘>ĂďĂƚŽŶ͛ƐŽŵƉĂƌƚŵĞŶƚĂůŝǌĂƚŝŽŶŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϵϲ
                   ϯ͘dŚĞdZ^ZĞƋƵĞƐƚĨŽƌYƵĂůŝĨŝĐĂƚŝŽŶƐ;Z&YͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϵϴ
                   ϰ͘dZ^͛Ɛ>ĂĐŬŽĨ<ŶŽǁůĞĚŐĞŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬϬ
                         Ă͘ŐƌĞĞŵĞŶƚŵŽŶŐ>ĂďĂƚŽŶ͕>ŝĞĨĨĂŶĚdŚŽƌŶƚŽŶƚŽ^ŚĂƌĞŝŶ>ĂďĂƚŽŶ͛ƐKďůŝŐĂƚŝŽŶƚŽŚĂƌŐŽŝƐ͘͘͘͘͘͘͘͘͘ϭϬϰ
                   ϱ͘>ŝĞĨĨ͛ƐĂŶĚdŚŽƌŶƚŽŶ͛Ɛ>ŝŵŝƚĞĚ<ŶŽǁůĞĚŐĞŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬϲ
                         Ă͘dŚŽƌŶƚŽŶ͛Ɛ<ŶŽǁůĞĚŐĞŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬϳ
                         ď͘>ŝĞĨĨ͛Ɛ<ŶŽǁůĞĚŐĞŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϬϵ
                         Đ͘/ŶĐŽŶƐŝƐƚĞŶĐǇŽĨ/ŶĨŽƌŵĂƚŝŽŶZĞŐĂƌĚŝŶŐƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭϰ
                   ϲ͘Z/^ŽƵŶƐĞů͛Ɛ>ĂĐŬŽĨ<ŶŽǁůĞĚŐĞŽĨƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭϱ
                   ϳ͘&ĂŝůƵƌĞƚŽŝƐĐůŽƐĞƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚƚŽƚŚĞ^ƉĞĐŝĂůDĂƐƚĞƌ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϭϵ
                   ϴ͘WĂǇŵĞŶƚƐƚŽŚĂƌŐŽŝƐWƵƌƐƵĂŶƚƚŽƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮϯ
           >͘ D/^Zhd/EzK&d,^dd^dZd^dd>DEdEd,^W/>D^dZ͛^WWK/EdDEd͘͘ϭϮϱ
                   ϭ͘dŚĞŽƐƚŽŶ'ůŽďĞ/ŶƋƵŝƌǇĂŶĚŝƐĐŽǀĞƌǇŽĨŽƵďůĞͲŽƵŶƚŝŶŐƌƌŽƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮϱ
                   Ϯ͘dŚĞEŽǀĞŵďĞƌϭϬ͕ϮϬϭϲ>ĞƚƚĞƌƚŽƚŚĞŽƵƌƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϮϴ

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 Case 1:11-cv-10230-MLW Document 224 *SEALED*                                                                          Filed 05/14/18 Page 3 of 377



                 ϯ͘dŚĞEŽǀĞŵďĞƌϮϭ͕ϮϬϭϲůĂǁͲĂĐŬ>ĞƚƚĞƌŐƌĞĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϮ
                 ϰ͘dŚĞŽƐƚŽŶ'ůŽďĞƌƚŝĐůĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϯ
                 ϱ͘dŚĞŽƵƌƚ͛ƐZĞƐƉŽŶƐĞƚŽ'ŽůĚƐŵŝƚŚ͛Ɛ>ĞƚƚĞƌĂŶĚƚŚĞŽƐƚŽŶ'ůŽďĞƌƚŝĐůĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϱ
                          Ă͘ƉƉŽŝŶƚŵĞŶƚŽĨƚŚĞ^ƉĞĐŝĂůDĂƐƚĞƌ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϱ
                          ď͘dŚĞ^ƉĞĐŝĂůDĂƐƚĞƌ͛Ɛ/ŶǀĞƐƚŝŐĂƚŝǀĞdĞĂŵ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϲ
                          Đ͘dŚĞ/ŶǀĞƐƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϳ
///͘KE>h^/KE^K&>t͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϴ
       ͘ WW>/>^dEZ^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϴ
                 ϭ͘dŚĞ^ƉĞĐŝĂůDĂƐƚĞƌ͛ƐƵƚŚŽƌŝƚǇƚŽĞĐŝĚĞ/ƐƐƵĞƐZĞŐĂƌĚŝŶŐƚŚĞ&ĞĞǁĂƌĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϴ
                 Ϯ͘ƵƚŝĞƐŽĨƚŚĞŽƵƌƚĂŶĚŽƵŶƐĞůŝŶůĂƐƐĐƚŝŽŶ&ĞĞWĞƚŝƚŝŽŶWƌŽĐĞĞĚŝŶŐƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϯϵ
           ͘ hZz͕Z>//>/dzEZ^KE>E^^K&>K^dZ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϭ
                 ϭ͘dŚĞ&ŝƌŵƐ͛>ŽĚĞƐƚĂƌWĞƚŝƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϭ
                 Ϯ͘'ŽǀĞƌŶŝŶŐ>Ăǁ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϯ
                 ϯ͘ZĂƚĞƐĂŶĚ,ŽƵƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϲ
                          Ă͘ZĞĂƐŽŶĂďůĞŶĞƐƐŽĨ,ŽƵƌůǇZĂƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϲ
                          ď͘WƌĞǀĂŝůŝŶŐZĂƚĞƐŝŶƚŚĞŽŵŵƵŶŝƚǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϳ
                                ŝ͘&ŝƌƐƚŝƌĐƵŝƚZƵůĞʹ>ŽĐĂů&ŽƌƵŵ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϳ
                                ŝŝ͘dŚĞ͞ŽŵŵƵŶŝƚǇ͟͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϰϵ
                                ŝŝŝ͘dŚĞ^ƚĂƚĞ^ƚƌĞĞƚĂƐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϬ
                                            ϭ͘ŽŵƉůĞǆŝƚǇŽĨ&ydƌĂĚŝŶŐůĂŝŵƐĂŶĚƚŚĞEĞĞĚĨŽƌǆƉĞƌŝĞŶĐĞĚŽƵŶƐĞů͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϭ
                                            Ϯ͘hŶĂǀĂŝůĂďŝůŝƚǇŽĨ>ŽĐĂůŽƵŶƐĞů͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϲ
                                            ϯ͘EĂƚŝŽŶĂů^ĐŽƉĞŽĨůĂƐƐĐƚŝŽŶ>ŝƚŝŐĂƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϲ
                                            ϰ͘Z/^ůĂŝŵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϳ
                                ŝǀ͘ĞƚĞƌŵŝŶĂƚŝŽŶŽĨEĂƚŝŽŶĂůZĂƚĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϴ
                               Đ͘DĂƌŬĞƚZĂƚĞƐŝŶϮϬϭϲ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϵ
                                 ŝ͘>ĞŐĂů&ƌĂŵĞǁŽƌŬ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϱϵ
                                            ϭ͘ZĞůĞǀĂŶƚWƌĂĐƚŝĐĞƌĞĂ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϬ
                                           Ϯ͘ZĞůĞǀĂŶƚ'ĞŽŐƌĂƉŚŝĐDĂƌŬĞƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘
                                           ϯ͘^ƵƌǀĞǇĞƐŝŐŶ&ůĂǁƐĂŶĚŚĂůůĞŶŐĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘
                                 ŝŝ͘ŶĂůǇƐŝƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϰ
                                           ϭ͘WĂƌƚŶĞƌƐĂŶĚƐƐŽĐŝĂƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϰ
                                                          ;ĂͿŽŵƉĂƌŝƐŽŶƚŽKƚŚĞƌ^ĞĐƵƌŝƚŝĞƐͬ&ŝŶĂŶĐŝĂů&ƌĂƵĚĂƐĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϰ
                                                          ;ďͿEĂƚŝŽŶĂůĂƚĂ͗DĂƌŬĞƚͲƚŽͲDĂƌŬĞƚŽŵƉĂƌŝƐŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϲ
                                           Ϯ͘^ƚĂĨĨƚƚŽƌŶĞǇƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϲϵ
                 Ě͘ZĂƚĞƐhƐĞĚŝŶ>ŽĚĞƐƚĂƌ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳϯ
                                ŝ͘WĂƌƚŶĞƌĂŶĚƐƐŽĐŝĂƚĞZĂƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳϯ
                                ŝŝ͘^ƚĂĨĨƚƚŽƌŶĞǇƐ͛ZĂƚĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϳϲ
                                ŝŝŝ͘͞ŽŶƚƌĂĐƚ͟ƚƚŽƌŶĞǇƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴϮ
                                ŝǀ͘DŝĐŚĂĞůƌĂĚůĞǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϴϵ
                                           ϭ͘ZĞůĞǀĂŶƚĂĐŬŐƌŽƵŶĚĂŶĚǆƉĞƌŝĞŶĐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵϭ
                                           Ϯ͘ŽŶƚƌŝďƵƚŝŽŶƐŝŶƚŚĞ^ƚĂƚĞ^ƚƌĞĞƚĂƐĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵϮ
                                           ϯ͘ƉƉƌŽƉƌŝĂƚĞ,ŽƵƌůǇZĂƚĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵϰ
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                                ŝ͘ZĞĐŽƌĚƐŽĨdŝŵĞĨŽƌƚŚĞ&ŝƌŵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵϴ
                                           ϭ͘ŽŶƚĞŵƉŽƌĂŶĞŝƚǇŽĨ&ŝƌŵƐ͛ZĞĐŽƌĚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϭϵϴ
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                                ŝŝ͘ZĞůŝĂďŝůŝƚǇĂŶĚ^ƉĞĐŝĨŝĐŝƚǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϬϵ
                                                          ;ĂͿ>ŝĞĨĨ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϭ
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                                                          ;ĐͿdŚŽƌŶƚŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϱ
                                                          ;ĚͿDŝĐŚĂĞůƌĂĚůĞǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϳ
                                                          ;ĞͿZ/^&ŝƌŵƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϳ
               Ĩ͘ŽƵďůĞͲŽƵŶƚŝŶŐŽĨ^,ŽƵƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϵ

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 Case 1:11-cv-10230-MLW Document 224 *SEALED*                                                                       Filed 05/14/18 Page 4 of 377



                                       ŝ͘ĂƵƐĞƐŽĨƚŚĞŽƵďůĞͲŽƵŶƚŝŶŐEŽƚǆƉůĂŝŶĞĚŝŶ'ŽůĚƐŵŝƚŚ͛Ɛ>ĞƚƚĞƌ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϭϵ
                                       ŝŝ͘dŚĞůůŽĐĂƚŝŽŶŽĨ^ƚĂĨĨƚƚŽƌŶĞǇƐƚŽdŚŽƌŶƚŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϭ
                                       ŝŝŝ͘&ĂŝůƵƌĞƚŽĞƚĞĐƚƚŚĞŽƵďůĞͲŽƵŶƚŝŶŐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϯ
                                       ŝǀ͘dŚŽƌŶƚŽŶ͛Ɛ,ŝŐŚĞƌŝůůŝŶŐZĂƚĞƐĨŽƌ^ƚĂĨĨƚƚŽƌŶĞǇƐEŽƚǆƉůĂŝŶĞĚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϰ
                 ϰ͘DŝƐƌĞƉƌĞƐĞŶƚĂƚŝŽŶƐŝŶƚŚĞdŚŽƌŶƚŽŶ&ĞĞWĞƚŝƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϱ
                          Ă͘>ĂďĂƚŽŶdĞŵƉůĂƚĞ/ƐƐƵĞƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϱ
                               ŝ͘'ĂƌƌĞƚƚƌĂĚůĞǇ͛ƐĞĐůĂƌĂƚŝŽŶsŝŽůĂƚĞƐ&ĞĚ͘Z͘ŝǀ͘W͘ϭϭ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϮϵ
                               ŝŝ͘'ĂƌƌĞƚƚƌĂĚůĞǇ͛ƐĞĐůĂƌĂƚŝŽŶsŝŽůĂƚĞƐDĂƐƐ͘Z͘WƌŽĨ͘͘ϯ͘ϯ;ĂͿĂŶĚϴ͘ϰ;ĐͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϯϵ
                 ϱ͘>ŽĚĞƐƚĂƌDƵůƚŝƉůŝĞƌ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰϱ
         ͘ hZzEZ>//>/dzʹ,Z'K/^/^^h^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰϲ
                 ϭ͘ƵƚŝĞƐƚŽƚŚĞůŝĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϰϴ 
                          Ă͘>ĂďĂƚŽŶ&ĂŝůĞĚƚŽŽŵƉůǇǁŝƚŚZƵůĞϭ͘ϱ;ĞͿ͕ĂƐĞĨĨĞĐƚŝǀĞ&ĞďƌƵĂƌǇ͕ϴ͕ϮϬϭϭ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱϭ
                          ď͘>ĂďĂƚŽŶŝĚEŽƚĚĞƋƵĂƚĞůǇ/ŶĨŽƌŵdZ^ĂďŽƵƚƚŚĞŚĂƌŐŽŝƐƌƌĂŶŐĞŵĞŶƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϱϰ
                          Đ͘ƉƉůŝĐĂƚŝŽŶŽĨZƵůĞϳ͘Ϯ;ďͿ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϲϯ
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                          Ă͘ZƵůĞϮϯZĞƋƵŝƌĞŵĞŶƚƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϳϰ
                          ď͘ƚŚŝĐĂůKďůŝŐĂƚŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϴϭ
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                          Ă͘'ŽǀĞƌŶŝŶŐWƌŝŶĐŝƉůĞƐŽĨ&ĂŝƌŶĞƐƐĂŶĚdƌĂŶƐƉĂƌĞŶĐǇ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϵϬ
                          ď͘/ŶƚĞƌĨĞƌĞŶĐĞǁŝƚŚŽͲŽƵŶƐĞů͛ƐƵƚŝĞƐƚŽůĂƐƐDĞŵďĞƌƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϮϵϮ
                 Đ͘ŽŶƚƌĂĐƚƵĂů/ŵƉůŝĐĂƚŝŽŶƐŽĨEŽŶͲŝƐĐůŽƐƵƌĞ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵϱ
                               ŝ͘DŝƐƌĞƉƌĞƐĞŶƚĂƚŝŽŶƐĂŶĚDĂƚĞƌŝĂůKŵŝƐƐŝŽŶƐ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘Ϯϵϳ
                 ϰ͘ƵƚŝĞƐƚŽƚŚĞŽƵƌƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬϯ
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                 ď͘&ĂŝůƵƌĞƚŽŝƐĐůŽƐĞƚŚĞŚĂƌŐŽŝƐŐƌĞĞŵĞŶƚŝŶƚŚĞ&ĞĞWĞƚŝƚŝŽŶ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬϵ
                               ŝ͘^ƵĐŚĂƌŽǁĂŶĚ>ĂďĂƚŽŶ͛ƐKďůŝŐĂƚŝŽŶƐƵŶĚĞƌ&ĞĚ͘Z͘ŝǀ͘W͘ϭϭ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϬϵ
                                          ϭ͘KŵŝƐƐŝŽŶŽĨDĂƚĞƌŝĂů&ĂĐƚ/Ɛ^ĂŶĐƚŝŽŶĂďůĞƵŶĚĞƌZƵůĞϭϭ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭϰ
                               ŝŝ͘sŝŽůĂƚŝŽŶŽĨDĂƐƐ͘Z͘WƌŽĨ͘͘ϯ͘ϯ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϭϴ
                              ŝŝŝ͘sŝŽůĂƚŝŽŶŽĨ'ĞŶĞƌĂůƵƚǇŽĨĂŶĚŽƌƚŽƚŚĞŽƵƌƚ͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϮϮ
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        ͘ZKDDEZD/^E^Ed/KE^͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘͘ϯϲϮ
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       7KLVLQYHVWLJDWLRQFRQGXFWHGLQWKHSRVWVHWWOHPHQWSKDVHRIWKHFDVHKDVUDLVHGD

QXPEHURIVLJQLILFDQWLVVXHVWKDWDUHLPSRUWDQWWRWKHFRQGXFWDQGDGPLQLVWUDWLRQRIODUJH

FODVVDFWLRQVJHQHUDOO\DQGWKLVFDVHLQSDUWLFXODU$PRQJWKHVHLVVXHVDUHWKHDSSURSULDWH

UXOHVDQGSROLFLHVJRYHUQLQJDWWRUQH\IHHSHWLWLRQVWKHDSSURDFKSODLQWLIIV¶FRXQVHOXVHLQ

WKHLUIHHSHWLWLRQVLQFOXGLQJDSSURSULDWHELOOLQJUDWHVDQGWKHREOLJDWLRQVRIOHDG

FRXQVHOWRDFWZLWKFDQGRUDQGWUDQVSDUHQF\WRZDUGWKHLUFOLHQWVWKHFODVVWKHFRXUWDQG

FRFRXQVHOLQJHQHUDODQGDVWRDQ\ILQDQFLDOREOLJDWLRQWKDWZLOOEHSDLGIURPFODVV

IXQGVLQSDUWLFXODU$IWHUDOHQJWK\LQYHVWLJDWLRQWKH6SHFLDO0DVWHUILQGVWKDWLQVHYHUDO

VLJQLILFDQWDUHDVWKH&RXUWZDVQRWSURYLGHGDFFXUDWHDQGUHOLDEOHLQIRUPDWLRQLQWKHIHH

SHWLWLRQVDQGDWWKHIDLUQHVVKHDULQJDQGXQIRUWXQDWHO\WKHVHIDLOLQJVKDGSURIRXQGDQG

DGYHUVHUDPLILFDWLRQVWKURXJKRXWWKHIHHDSSURYDOSURFHVV7KHUHGUHVVWKH6SHFLDO0DVWHU

UHFRPPHQGVDWWKHFRQFOXVLRQRIWKH5HSRUWLVLQWHQGHGWRWKHH[WHQWSRVVLEOHWRUHPHG\

WKHVHIDLOLQJV

       $WWKHRXWVHWWKH6SHFLDO0DVWHUPDNHVWZRREVHUYDWLRQV)LUVWWKH6SHFLDO

0DVWHUUHFRJQL]HVWKHLPSRUWDQWUROHFODVVDFWLRQVDQGSODLQWLIIV¶FODVVDFWLRQDWWRUQH\V

SOD\LQSURWHFWLQJDQGHQIRUFLQJWKHULJKWVRIFRQVXPHUVLQMXUHGSDUWLHVDQGWKHSXEOLFLQ

JHQHUDO7RDGHTXDWHO\IXOILOOWKLVUROHFODVVDFWLRQSODLQWLIIVUHTXLUHVRSKLVWLFDWHGZHOO

UHVRXUFHGDWWRUQH\VZKRVKRXOGEHFRPSHQVDWHGDWUDWHVFRPSDUDEOHWRWKRVHRIWKHODUJH

VRSKLVWLFDWHGZHOOUHVRXUFHGGHIHQVHILUPVZKRZLOOLQWKHYDVWPDMRULW\RIFDVHVEH

RSSRVLQJWKHP6HFRQGDQHTXDOO\LPSRUWDQWSDUWRIWKHFODVVDFWLRQIUDPHZRUNLV

HQVXULQJWKHLQWHJULW\RIWKHIHHSHWLWLRQSURFHVV%HFDXVHWKHIHHSHWLWLRQSURFHVVLVRIWHQ

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QRQDGYHUVDULDODVLWZDVLQWKLVFDVHIRUWKHV\VWHPWRZRUNSURSHUO\KRQHVW\UHOLDELOLW\

DQGWUDQVSDUHQF\DUHHVVHQWLDOWRHQDEOHWKH&RXUWWRDGHTXDWHO\IXOILOOLWVDVVLJQHG

JDWHNHHSLQJDQGILGXFLDU\UHVSRQVLELOLWLHVWRFODVVPHPEHUV7KLVFDVHDQGWKHHYLGHQFH

DGGXFHGGXULQJWKH6SHFLDO0DVWHU¶VLQYHVWLJDWLRQIXOO\H[HPSOLILHVWKHLPSRUWDQFHRI

ERWKRIWKHVHSROLF\REMHFWLYHV

       7KHXQGHUO\LQJFDVHKHUHZDVDFODVVDFWLRQDOOHJLQJXQIDLUDQGGHFHSWLYHSUDFWLFHV

LQFRQGXFWLQJFRPSOH[IRUHLJQH[FKDQJHWUDQVDFWLRQVDQGUHTXLUHGKLJKO\VNLOOHGDQG

VRSKLVWLFDWHGFRXQVHO$IWHUPXFKZRUNGHGLFDWLRQDQGH[FHSWLRQDOHIIRUWLQWKH

GLVFRYHU\DQGPHGLDWLRQSURFHVVWKHSDUWLHVXOWLPDWHO\UHDFKHGDPLOOLRQ

VHWWOHPHQW*LYHQWKHULVNVFRPSOH[LWLHVDQGOHJDOFKDOOHQJHVLQKHUHQWLQWKHOLWLJDWLRQLW

PXVWEHVDLGWKDWWKHPLOOLRQVHWWOHPHQWSURFXUHGE\VNLOOHGDQGGHGLFDWHG

SODLQWLIIV¶FRXQVHOZDVDQH[FHOOHQWUHVXOWIRUWKHFODVV7KH&RXUWDSSURYHGWKH

VHWWOHPHQWRQ1RYHPEHU2IWKHPLOOLRQSODLQWLIIV¶FRXQVHOZHUHDZDUGHG

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DWWRUQH\V¶IHHDZDUGZDVQRWGLVSURSRUWLRQDWHRUXQVXSSRUWDEOHZKHQPHDVXUHGDJDLQVW

WKHSRVLWLYHUHVXOWIRUWKHFODVVDQGWKHDWWRUQH\V¶HIIRUWDQGVNLOOWKDWZDVUHTXLUHGWR

DFKLHYHLW,QGHHGDOORWKHUWKLQJVEHLQJHTXDOWKHDWWRUQH\V¶IHHDZDUGZDVIDLU

UHDVRQDEOHDQGGHVHUYHG

       8QIRUWXQDWHO\WKLVLQYHVWLJDWLRQKDVVKRZQWKDWDOORWKHUWKLQJVZHUHQRWHTXDO

$OPRVWLPPHGLDWHO\DIWHUDSSURYDORIWKHVHWWOHPHQWWKHODXGDEOHUHVXOWREWDLQHGIRUWKH

FODVVEHFDPHWDLQWHGZKHQTXHVWLRQVEHJDQWRDULVHDVDUHVXOWRIPHGLDLQTXLULHV

FRQFHUQLQJWKHIHHDZDUGZKLFKLQWXUQFDXVHGWKH&RXUWWRDSSRLQWD6SHFLDO0DVWHUWR

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LQYHVWLJDWHDQGSUHSDUHD5HSRUWDQG5HFRPPHQGDWLRQVFRQFHUQLQJDOOLVVXHVUHODWLQJWR

WKHDWWRUQH\V¶IHHVH[SHQVHVDQGVHUYLFHDZDUGVWKH&RXUWKDGDSSURYHGLQWKHFDVH7KH

6SHFLDO0DVWHU¶VLQYHVWLJDWLRQKDVVSDQQHGDSHULRGRIVRPHIRXUWHHQPRQWKVDQG

HQFRPSDVVHGZULWWHQGLVFRYHU\WKHSURGXFWLRQRISDJHVRIGRFXPHQWV

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      DQ\WUDGHRUFRPPHUFHRIDQXQIDLUPHWKRGRIFRPSHWLWLRQRUDQXQIDLURUGHFHSWLYHDFWRUSUDFWLFH
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FXVWRGLDOVHUYLFHVId., ¶ ,QVXFFHVVLYH³,QYHVWPHQW0DQDJHU*XLGHV´PDGHDYDLODEOH

WRLWVFXVWRGLDOFOLHQWVDQGWKHLURXWVLGHLQYHVWPHQWPDQDJHUV6WDWH6WUHHWH[SODLQHGWKDW

WKHSULFLQJRI);WUDGHVLV³EDVHGRQWKHPDUNHWUDWHVDWWKHWLPHWKHWUDGHLVH[HFXWHG´

Id.7KXV6WDWH6WUHHWDVVXUHGLWVFXVWRGLDOFOLHQWVLQFOXGLQJ$756DQGWKH&ODVV

WKDW);UDWHVZRXOGUHIOHFWRQO\WKHH[HFXWLRQSULFHZLWKRXWDGGLWLRQDOIHHVRUPDUNXSV

Id.



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       $756DOOHJHGKRZHYHUWKDWGHVSLWHWKHVHH[SUHVVSURYLVLRQVLQWKH,QYHVWPHQW

0DQDJHU*XLGHVDQG&XVWRGLDQ&RQWUDFWVFKDUJLQJFXVWRGLDOFOLHQWVDQQXDOIODWIHHV

6WDWH6WUHHWHQJDJHGLQWKHXQIDLUDQGGHFHSWLYHSUDFWLFHRIFKDUJLQJLWVFXVWRGLDOFOLHQWV

LQIODWHG);UDWHVZKHQEX\LQJIRUHLJQFXUUHQF\IRUWKHPDQGOLNHZLVHUHSRUWLQJGHIODWHG

);UDWHVZKHQVHOOLQJIRUHLJQFXUUHQF\SRFNHWLQJWKHGLIIHUHQFHEHWZHHQWKHDFWXDODQG

UHSRUWHGUDWHVId.7KLVPD[LPL]HG6WDWH6WUHHW¶VSURILWDWWKHGLUHFWH[SHQVHRI

$756DQGWKH&ODVVPHPEHUV,QWKLVUHJDUG6WDWH6WUHHWDOOHJHGO\FKDUJHG$756DQG

WKH&ODVVLQFRUUHFWDQGRIWHQILFWLWLRXV);UDWHVXQUHODWHGWRWKHPDUNHWEDVHGUDWHV6WDWH

6WUHHWDFWXDOO\SDLGRUUHFHLYHGLQH[HFXWLQJWKH);WUDGHVId.

       7KRXJKWKHWKHRU\ZDVQRYHO&XVWRPHU&ODVV&RXQVHOZHUHTXLWHFRQILGHQWRIWKH

PHULWRIWKHLUFODLPVSDUWLFXODUO\WKHLU&KDSWHU$FODLPV$FFRUGLQJWR'DQ&KLSORFN

RI/LHII&DEUDVHUZKRGHYHORSHGWKH&KDSWHU$WKHRU\DQGDGYRFDWHGWKHFODLPDV

EHLQJ³VROLG´WKURXJKRXWWKHOLWLJDWLRQ&RXQVHOYLHZHG&KDSWHU$DV³DYHU\SRZHUIXO

VWDWXWHIRUFRQVXPHUVDJUHDWYHKLFOHIRUREWDLQLQJUHOLHIDQGLWDOVRVHHPHGWR

SUHVHQWDYHU\SURPLVLQJYHKLFOHIRUFODVVFHUWLILFDWLRQ´&KLSORFN'HSSS

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        >7@KHFDVHODZDQGFRPPHQWDU\LQ0DVVDFKXVHWWVGHVFULEHV&KDSWHU$DV
        sui generisLWVRUWRIVWDQGVRQLWVRZQLW¶VQHLWKHUFRQWUDFWQRUWRUWWKHRU\
        LW¶VEDVLFDOO\DQDOOHQFRPSDVVLQJWKHRU\WKDW¶VPHDQWWRDGGUHVVXQIDLURU
        GHFHSWLYHFRQGXFWDQGLWDSSOLHVQRWRQO\WRLQGLYLGXDOFRQVXPHUVEXWLW
        FDQDOVRDSSO\WREXVLQHVVHVZKRDUHYLFWLPL]HGIRUODFNRIDEHWWHUZRUG
        E\WKDWW\SHRIFRQGXFWLQWKHLULQWHUEXVLQHVVGHDOLQJV,WRIIHUVGRXEOHRU
        WUHEOHGDPDJHVLIWKHFRQGXFWLVIRXQGWREHZLOOIXORULQWHQWLRQDODQGLW
        DOVRDOORZVIRUSUHMXGJPHQWLQWHUHVWZKLFK,IRUJHWWKHH[DFWQXPEHUEXW,
        WKLQNLW¶VIDLUO\JHQHURXV6RLW¶VDSRZHUIXOVWDWXWH
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Id.SS

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            $VGHILQHGLQWKHATRS &RPSODLQWWKHFODVVEURDGO\HQFRPSDVVHG

     DOOLQVWLWXWLRQDOLQYHVWRUVLQIRUHLJQVHFXULWLHVLQFOXGLQJEXWQRWOLPLWHGWR
     SXEOLFDQGSULYDWHSHQVLRQIXQGVPXWXDOIXQGVHQGRZPHQWIXQGVDQG
     LQYHVWPHQWPDQDJHUIXQGVIRUZKLFK6WDWH6WUHHWVHUYHGDVWKHFXVWRGLDO
     EDQNDQGH[HFXWHG);WUDGHVRQD³VWDQGLQJLQVWUXFWLRQ´RU³QRQ
     QHJRWLDWHG´EDVLVEHWZHHQ-DQXDU\DQG'HFHPEHU
     LQFOXVLYHWKH³&ODVV3HULRG´DQGZKLFKVXIIHUHGGDPDJHVDVDUHVXOWRI
     WKHGHFHSWLYHDFWVDQGSUDFWLFHVDQGRWKHUPLVFRQGXFWDOOHJHGKHUHLQ
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ATRS &RPSO>(;@

            7KLVEURDGGHILQLWLRQLQFOXGHGDQXPEHURIERWKSXEOLFDQGSULYDWHSHQVLRQDQG

LQYHVWPHQWIXQGVKRZHYHUQR(5,6$FODLPVZHUHDOOHJHGLQHLWKHUWKHRULJLQDO

&RPSODLQWRUWKH$PHQGHG&RPSODLQW

        7KH(5,6$&RPSODLQWV

           $V&DUO.UDYLW]FRFRXQVHOIRUWKH(5,6$3ODLQWLIIVREVHUYHG³7KHFODVV

GHILQLWLRQRIWKHFRQVXPHUSHRSOHWHFKQLFDOO\FRYHUHGRXUFOLHQWV7KHUHZDVGHILQLWHO\D

IDFWLRQRQWKHFRQVXPHUVLGHWKDWVDLGµZHUHSUHVHQWWKHVHSHRSOH¶´.UDYLW]

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5HPDUNVRI&XVWRPHU&ODVV&RXQVHO0LFKDHO7KRUQWRQS³>7@KH(5,6$

FODLPVDUHLQFOXGHGLQWKHFODVVGHILQLWLRQ6RZHDOVRKDYH>DQ(5,6$@FODLP´>(;

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     &DUO.UDYLW]WHVWLILHGWKDW(5,6$&RXQVHOFRQVLGHUHGLQWHUYHQLQJLQWKH&XVWRPHU&ODVV$FWLRQ+HH[SODLQHG
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             >7@KH\GLGQ¶WDVVHUW(5,6$FODLPVDQGDVLWWXUQHGRXWLWZDVLPSRUWDQWWKDWZHGLG$QG,WKLQNLW
        ZDVLPSRUWDQWWRWKHRXWFRPH
             %XWWKHUHZDVDULVNWKDWZHZHUHJRLQJWREHVRPHKRZVKXQWHGWRWKHVLGH$QGWKDWZDVDELJULVN
        WKDWZHFRQVLGHUHGLQWHUPVRIRXUWDNLQJWKHFDVH
             $QG,ZLOODOVRWHOO\RXWKDWZHVHULRXVO\FRQVLGHUHGWKHSURFHGXUDOLVVXHRIZKHWKHUZHQHHGHGWR
        LQWHUYHQHLQWKHFRQVXPHU>FDVH@$QGZHGLGIDLUO\H[WHQVLYHUHVHDUFKRQWKDWDQGZHPD\KDYHHYHQ
        GUDIWHGD PRWLRQ:H GLGQRWHQGXS ILOLQJLWEHFDXVHDVWKLQJVVWDUWHGWRSOD\RXW ZH ZHUHDEOHWR
        SDUWLFLSDWHLQWKHPHGLDWLRQ%XWWKDWZDVDVLJQLILFDQWULVN

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    7KHUHIRUHRQWKHKHHOVRIWKHILOLQJRIWKHATRS&RPSODLQWWZRVHSDUDWHFODVVDFWLRQ

FRPSODLQWVDOOHJLQJ(5,6$YLRODWLRQVZHUHILOHG7KHWZRVHWVRISODLQWLIIVLQWKHVH

DFWLRQVUHSUHVHQWHGLQVWLWXWLRQDOSULYDWH(5,6$SODQVZKRVHDVVHWVZHUHPDQDJHGE\

6WDWH6WUHHWWKH³(5,6$&ODVV´SeeThe Andover Companies Savings and Profit

Sharing Plan, et al. v. State Street Bank and Trust Co., 0$'1R'NW

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Co.0$'1R'NW1RVWKH³HenriquezFRPSODLQW´>(;@

              D 7KHAndover&RPSODLQW

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0DVVDFKXVHWWVRQ6HSWHPEHUZDVEURXJKWRQEHKDOIRIWZRHPSOR\HHEHQHILW

SODQV7KH$QGRYHU&RPSDQLHV(PSOR\HHV¶6DYLQJVDQG3URILW6KDULQJ3ODQWKH

³$QGRYHU3ODLQ´DQG7KH%RHLQJ&RPSDQ\9ROXQWDU\,QYHVWPHQW3ODQSee The

Andover Companies Savings and Profit Sharing Plan, et al., v. State Street Bank and

Trust Co., et al.0$'1R'NW>(;@7KH&RPSODLQWDVVHUWHG

FODLPVIRUEUHDFKRIGXWLHVRISUXGHQFHDQGOR\DOW\XQGHU6HFWLRQRI(5,6$

86&DQGSURKLELWHGWUDQVDFWLRQVXQGHU6HFWLRQRI(5,6$86&

RQEHKDOIRIDFODVVRI6WDWH6WUHHWFXVWRG\FOLHQWVWKDWDUH(5,6$SODQVSee id.

         7KH$QGRYHU3ODQLVDQ(5,6$TXDOLILHGGHILQHGFRQWULEXWLRQSODQHVWDEOLVKHGIRU

WKHEHQHILWRIWKHHPSOR\HHVRI0HUULPDFN0XWXDO)LUH,QVXUDQFH&RPSDQ\

³0HUULPDFN´DQGLWVVLVWHUFRPSDQLHV&DPEULGJH0XWXDO)LUH,QVXUDQFH&RPSDQ\DQG


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%D\6WDWH,QVXUDQFH&RPSDQ\ZKLFKWRJHWKHUZLWK0HUULPDFNFRPSULVHWKH³$QGRYHU

&RPSDQLHV´>0$'1RFY$PHQGHG&ODVV$FWLRQ&RPSODLQW'NW

@>(;@$ODQ.REHUVHUYHGDVYLFHSUHVLGHQWRIWKH$QGRYHU&RPSDQLHVDQGDQ

LQGLYLGXDOWUXVWHHRIWKH$QGRYHU3ODQIURPXQWLO-XQH.REHU'HS

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UHWLUHPHQWIURPWKH$QGRYHU&RPSDQLHVRQ-XQH0U.REHUZDVVXFFHHGHGE\

-DQHW:DOODFH.REHU'HSS>(;@

       'XULQJWKH&ODVV3HULRGWKH$QGRYHU3ODQRIIHUHGLWVSDUWLFLSDQWVLQYHVWPHQWVLQ

VHYHUDO6WDWH6WUHHWVSRQVRUHGFRPPLQJOHGIXQGVLQFOXGLQJLQWHUQDWLRQDOHTXLW\IXQGV

VXFKDV6WDWH6WUHHW¶V,QWHUQDWLRQDO*URZWK2SSRUWXQLWLHV6HFXULWLHV/HQGLQJ&ODVV$

)XQGDQGWKH66J$'DLO\,QWHUQDWLRQDO$OSKD6HOHFWIXQGAndover$PHQGHG&RPSO

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,QYHVWPHQW0DQDJHUIRUWKH$QGRYHU3ODQLQYHVWPHQWVIURPWKURXJKDSSUR[LPDWHO\

Id.DW

       $V7UXVWHHIRUWKH$QGRYHU3ODQ6WDWH6WUHHWZDVUHTXLUHGWRH[HUFLVHSRZHUDQG

DXWKRULW\RYHUWKHLQYHVWPHQWDFFRXQWVIRUZKLFKLWKDGH[SUHVVLQYHVWPHQWPDQDJHPHQW

GLVFUHWLRQRUXSRQWKHGLUHFWLRQRIWKH,QYHVWPHQW0DQDJHUId.DW3XUVXDQWWRWKH

0DVWHU7UXVW$JUHHPHQWWKHLQYHVWPHQWSRZHURIWKH7UXVWHHLQFOXGHGWKHSRZHUWR

³SXUFKDVHDQGVHOOIRUHLJQH[FKDQJHDQGFRQWUDFWVIRUIRUHLJQH[FKDQJHLQFOXGLQJ

WUDQVDFWLRQVHQWHUHGLQWRZLWK6WDWH6WUHHW%DQNDQG7UXVW&RPSDQ\LWVDJHQWVRULWV

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         %\VHSDUDWHFRQWUDFW6WDWH6WUHHWDOVRVHUYHGDVLQYHVWPHQWPDQDJHUIRUWKH

$QGRYHU3ODQ¶VDVVHWVLQYHVWHGLQ6WDWH6WUHHW¶VSURSULHWDU\FRPPLQJOHGIXQGV. Id.

3XUVXDQWWRWKH,QYHVWPHQW0DQDJHU$JUHHPHQW6WDWH6WUHHWDFWHGDVERWKDGLVFUHWLRQDU\

LQYHVWPHQWPDQDJHUDQGDGHVLJQDWHG(5,6$ILGXFLDU\SXUVXDQWWR6HFWLRQRI

(5,6$ZLWKUHVSHFWWRDOOFDVKVHFXULWLHVRURWKHUSURSHUW\GHVLJQDWHGE\WKH$QGRYHU

3ODQId.

         7KHRWKHUQDPHGSODLQWLIILQWKHAndoverDFWLRQLV-DPHV3HKRXVKHN6WDQJHODQG

6WDQJHODQGDUHVLGHQWRI6HDWWOH:DVKLQJWRQLVDQHPSOR\HHRIWKH%RHLQJ&RPSDQ\

DQGDSDUWLFLSDQWLQ7KH%RHLQJ&RPSDQ\¶VN9ROXQWDU\,QYHVWPHQW3ODQ³WKH

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$QGRYHU3ODQWKH%RHLQJ3ODQLVDQ(5,6$TXDOLILHGGHILQHGFRQWULEXWLRQSODQ

HVWDEOLVKHGIRUWKHEHQHILWRIWKHHPSOR\HHVRIWKH%RHLQJ&RPSDQ\DPXOWLQDWLRQDO

DHURVSDFHDQGGHIHQVHFRUSRUDWLRQKHDGTXDUWHUHGLQ&KLFDJR,OOLQRLVAndover$PHQGHG

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6WDQJHODQGKDVVWDQGLQJWREULQJVXLWRQEHKDOIRI7KH%RHLQJ3ODQIRUORVVHVWRWKH3ODQ

GXHWREUHDFKHVRIILGXFLDU\GXW\SXUVXDQWWR(5,6$VHFWLRQV>86&@DQG

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%RHLQJ&RPSDQ\(PSOR\HH6DYLQJV3ODQV0DVWHU7UXVW³%RHLQJ0DVWHU7UXVW´Id.DW

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         'XULQJWKH&ODVV3HULRGWKH%RHLQJ3ODQRIIHUHGLWVSDUWLFLSDQWVLQYHVWPHQW

RSWLRQVLQVHYHUDO6WDWH6WUHHWVSRQVRUHGFRPPLQJOHGIXQGVId.DW$PRQJWKH

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/HQGLQJ6HULHV)XQG&ODVV$³*OREDO1RQ/HQGLQJ)XQG´ZKLFK%RHLQJGHVLJQDWHGDV

WKH³,QWHUQDWLRQDO,QGH[)XQG´Id.'XULQJWKHUHOHYDQWWLPHSHULRGWKH%RHLQJ3ODQ

KHOGDSSUR[LPDWHO\ELOOLRQLQ3ODQDVVHWVLQWKH,QWHUQDWLRQDO,QGH[)XQGId.DW

7KHVHLQYHVWPHQWVFRQVWLWXWHGDSSUR[LPDWHO\RIWKH%RHLQJ3ODQLQYHVWPHQWVId.

7KH,QWHUQDWLRQDO,QGH[)XQGLQYHVWVLQDQLQGH[FRPSULVHGRIJOREDOO\GHYHORSHGDQG

HPHUJLQJFRXQWU\VWRFNVIURPRXWVLGHWKH86Id. S,WVLQWHUQDWLRQDOLQYHVWPHQWV

UHTXLUHH[FKDQJHRISDUWLFLSDQWV¶86GROODUVLQWRYDULRXVIRUHLJQFXUUHQFLHVId.

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        7KHAndover 3ODLQWLIIVZHUHUHSUHVHQWHGE\.HOOHU5RKUEDFN//3³.HOOHU

5RKUEDFN´.HOOHU5RKUEDFNLVDVRSKLVWLFDWHGODZILUPZLWKVLJQLILFDQWH[SHULHQFHLQ

FRPSOH[FRPPHUFLDODQG(5,6$FODVVDFWLRQOLWLJDWLRQ6DUNR'HSSS

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SDUDOOHOBONY Mellon FDVH.Id.DWS,QIDFWWKHILUPLQLWVRZQHVWLPDWLRQKDG

EHHQLQYROYHGLQDOPRVWHYHU\PDMRU(5,6$FODVVDFWLRQEURXJKWLQWKH8QLWHG6WDWHVLQ

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        .HOOHU5RKUEDFNDQGLQSDUWLFXODU/\QQ6DUNRZKRVHUYHGDV/HDG&RXQVHOIRU

KLVILUPLQWKHState Street OLWLJDWLRQPDLQWDLQHGDVWURQJSURIHVVLRQDOUHODWLRQVKLSZLWK

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:LOPHU+DOHWKH%RVWRQ'HSDUWPHQWRI/DERURIILFHDQGWKHSUHVVIRUPDWWHUVSHUWDLQLQJWRWKHAndover(5,6$
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DQGZDVDFWLYHO\PRQLWRULQJWKHState StreetOLWLJDWLRQIdS6DUNRWHVWLILHG

WKDWWKH'2/ZDVFRQFHUQHGDERXWWKHState StreetOLWLJDWLRQDQGZDVHQFRXUDJHGE\WKH

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         $VHFRQG(5,6$DFWLRQDJDLQVW6WDWH6WUHHWLQLWLDOO\ILOHGRQ2FWREHULQ

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Id. 7KHHenriquez &RPSODLQWRQEHKDOIRI(5,6$SODQVIRUZKRP6WDWH6WUHHWZDVD

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&RXUWRQ1RYHPEHUDVD³UHODWHGFDVH´WRWKHATRSFDVHSee Henriquez v.

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       3ODLQWLII0LFKDHO&RKQDGLVDELOLW\UHWLUHHLVDUHVLGHQWRI+LJKODQG3DUN,OOLQRLV

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       3ODLQWLIIV:LOOLDP7D\ORUDQG5LFKDUG6XWKHUODQGDUH-RKQVRQ	-RKQVRQUHWLUHHV

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DUJXHGWKHFRQWUDFWVUHTXLUHGLWRQO\WRKROGDVVHWVDQGSURYLGHDGPLQLVWUDWLYHVHUYLFHVWR

$756Id.

            6WDWH6WUHHWDOVRDUJXHGWKDW$756¶VFODLPVXQGHU&KDSWHU$DQGIRUQHJOLJHQW

PLVUHSUHVHQWDWLRQODFNHGPHULWEHFDXVHWKHUHLVQRWKLQJXQIDLURUGHFHSWLYHZKHQWKH

EX\HURUVHOOHURIDFRPPRGLW\GRHVQRWGLVFORVHLWVPDUJLQRQDSXUFKDVHRUVDOHId. ,W

DOVRFODLPHGWKDWDVDVRSKLVWLFDWHGLQYHVWRU$756FRXOGQRWSODXVLEO\FRQWHQGWKDWLWV

LQYHVWPHQWPDQDJHUVZHUHXQDZDUHWKDWWKHUDWHVFKDUJHGIRU$756¶V);WUDQVDFWLRQV

ZHUHPDUNHGXSIURPPDUNHWUDWHVId. $GGLWLRQDOO\6WDWH6WUHHWDVVHUWHGDVWDWXWHRI




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OLPLWDWLRQVDUJXPHQWVHHNLQJWREDUDOORI3ODLQWLIIV¶VFODLPVVHHNLQJUHOLHIIRUHYHQWV

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            )LQDOO\6WDWH6WUHHWDUJXHGWKDWDOOFODLPVDVVHUWHGDJDLQVW6WDWH6WUHHW&RUSRUDWLRQ

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Id.

            7KHPRWLRQZDVIXOO\EULHIHGE\ERWKSDUWLHVDQGWKH&RXUWKHDUGDUJXPHQWRQWKH

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HLWKHUSULYDWHO\RUEHIRUHDPDJLVWUDWHMXGJHId.

            ,QWKHPHDQWLPHRQ$XJXVW6WDWH6WUHHWDOVRPRYHGWRGLVPLVVWKH

Henriquez &RPSODLQWDUJXLQJWKDWWKH&RPSODLQWVKRXOGEHGLVPLVVHGIRUODFNRI

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3ODLQWLIIVDQGWKH3ODLQWLIIVWKHUHIRUHODFNHGVWDQGLQJWREULQJFODLPVRQEHKDOIRI

SHQVLRQSODQVRWKHUWKDQWKHLURZQRURQEHKDOIRIFROOHFWLYHIXQGVLQZKLFKWKHLURZQ

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       7KHHenriquez3ODLQWLIIVGLGQRWILOHDZULWWHQUHVSRQVH,QVWHDGWKH\ILOHGWKHLU

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FDVHVATRS, Henriquez DQGAndover -- SURFHHGLQWDQGHPLQD³K\EULG´PHGLDWLRQ

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DPRQJ/DUU\6XFKDURZ'DQ&KLSORFN*DUUHWW%UDGOH\07KRUQWRQDQG%RE/LHII

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         $URXQGWKHWLPHWKHSDUWLHVUHDFKHGDQDJUHHPHQWLQSULQFLSOH&XVWRPHU&ODVV

&RXQVHOHQJDJHGLQGLVFXVVLRQVDERXWKRZWRDOORFDWHWKHDQWLFLSDWHGIHHDZDUGDPRQJ

WKHPVHOYHV,WLVDSSDUHQWIURPWKHVHGLVFXVVLRQVWKDWZLWKUHJDUGWREDODQFLQJIHHV/LHII

DQG7KRUQWRQFRQVLGHUHGWKHLUUHVSHFWLYHUROHVLQWKHBONY MellonOLWLJDWLRQDIDFW

ZKROO\XQUHODWHGWRWKHYDOXHDGGHGLQWKLVFDVH'DQ&KLSORFNFRQFHGHGDWGHSRVLWLRQ

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DSSURSULDWHDOORFDWLRQRIWKHUHPDLQLQJRIWKHDQWLFLSDWHGIHHDZDUGId. *DUUHWW

%UDGOH\RI7KRUQWRQUHVLVWHGRSLQLQJWKDWWKHILQDOGLVWULEXWLRQVKRXOGZDLWXQWLOWKH

&RXUWPDGHDWRWDOIHHDZDUGId.:KDWEHFDPHDSSDUHQWWR&KLSORFNZDVWKDW

7KRUQWRQYLHZHGDQ\DOORFDWLRQRIState StreetIHHVDVWLHGWRWKHDV\HWXQGHFLGHGBONY

MellonIHHDZDUGId.³1RWWREHGLIILFXOWEXW>WKLVLVD@YHU\GLIIHUHQWVLWXDWLRQLQ

RWKHUZRUGVIURP%1<0ZKLFK,NQRZGRHVQ¶WLQYROYH\RX/DUU\EXWVHHPVWREH

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&KLSORFN³,EHOLHYHWKHUHDUHRWKHUFDVHVDQGRWKHUDJUHHPHQWVZKLFKDUHLQIOXHQFLQJ

SHRSOH¶VGHVLUHWRHLWKHUUHDFKDJUHHPHQWQRZRUODWHU´>(;@

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GHYHORSHGWKHLQLWLDO);FRQFHSWDQGUHIXVHGWRVHWWOHRQDQDOORFDWLRQLQState Street

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GHSHQGLQJRQWKHRXWFRPHRIRXUIHHLQWKH0HOORQPDWWHU,IZHDUHWUHDWHGIDLUO\WKHUH

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E\GHYHORSLQJWKHI[FDVH all that we got was some work that resulted in $1.5 million in

time«1RZFRQWUDVWWKDWWRVWDWHVWUHHWZKHUH\RXKDGQRFOLHQWDQGQRFRQFHSW«2QFH

ZHKDYHDQLGHDRIZKDWRXU0HOORQQXPEHUORRNVOLNHWKHQZHFDQGLVFXVVKRZWR

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       'DQ&KLSORFNWKHOHDGDWWRUQH\LQBONY MellonWRRNH[FHSWLRQWRWKH

LPSOLFDWLRQWKDW/LHIIZDVQRWWUHDWLQJ7KRUQWRQIDLUO\LQWKDWFDVH+HSXVKHGEDFN

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RWKHUVDWWKHRXWVHWLQ%1<0XQWLOLWEHFDPHFOHDUWKDWWKHZRUNVLPSO\ZDVQ¶WJHWWLQJ

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               ,QWKHPHDQWLPHZKLOHZH¶UHRQWKHVXEMHFWRIFUHGLELOLW\,ZDQWWRSRLQW
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       VHQVHJLYHQZKDWZHNQRZDERXWWKHZRUNWKDWZDVGRQH,DPKRSHIXOWKDW0LNH
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       ZHUHSDLGIRUE\RWKHUVZKLFKZHZHUHKDSS\WRGRDVDFRXUWHV\7KDQNV
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Street VHWWOHPHQWQHJRWLDWLRQVZUDSSHGXSDQGLQDGYDQFHRIWKHKHDULQJRQILQDO

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2PQLEXV'HFODUDWLRQDQG%ULHIDQGQLQHLQGLYLGXDOGHFODUDWLRQVVXEPLWWHGE\HDFKODZ

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        PRUH GHWDLO WKDQ XVXDO QDUUDWLYH RI ZKDW HDFK ILUP
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        ZDQWHGKHUHEHFDXVHWKHUHZHUHVRPDQ\GLIIHUHQWILUPVLQGLIIHUHQWUROHV
               6R,UHYLHZHGWKDWDQGDVNHG'DYLG,EHOLHYH*ROGVPLWKWRPDNH
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RIWKHFRPSDUWPHQWDOL]DWLRQRIZRUN/DEDWRQSUDFWLFHVZKLFKWKDWFRQWULEXWHGJUHDWO\WR

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FRQWULEXWHGWRWKHIDLOXUHWRFDWFKDQGFRUUHFWWKHGRXEOHFRXQWLQJHUURUVDVWRWKHVWDIIDWWRUQH\VGLVFXVVHGinfra
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         7KH/DEDWRQWHPSODWHLQFOXGHGVHYHUDOSDUDJUDSKVGHVFULELQJWKHVRXUFHRIWKH

ORGHVWDUFDOFXODWLRQVDQGELOOLQJUDWHV,QSDUWLFXODULWLQFOXGHGDJHQHULFGHVFULSWLRQRI

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       7KHXQHPSLULFDOQDWXUHRI7KRUQWRQ¶VELOOLQJUDWHVZDVSDUWLFXODUO\HYLGHQWZLWK

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       &RKQDOVRVSHQWDVLJQLILFDQWDPRXQWRIWLPHUHDGLQJWKH³KXQGUHGVRISDJHV´RI

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       8QGHUWKLVDUUDQJHPHQW&KDUJRLVZDVQRWH[SHFWHGWRILOHDQDSSHDUDQFHSHUIRUP

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               EDFN,QHHGHGWRZLWKGUDZHYHUVLQFHWKHQ,
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Street FDVHZDVIDFLOLWDWLQJDQLQWURGXFWLRQEHWZHHQ/DEDWRQDQG$756\HDUVEHIRUH

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        a. Labaton’s Compartmentalization of Knowledge of the Chargois Arrangement

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   6XFKDURZWHVWLILHGWKDW³>LW@PD\EHWKDW,should have known >SULRUWR@EHFDXVH,NQRZZHKDGVRPH
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KLVIHHDUUDQJHPHQWZLWKWKHILUPLQODUJHSDUWGXHWKHVXEVWDQWLDOFRPSDUWPHQWDOL]DWLRQ

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&KDUJRLVWRSD\KLPDSHUFHQWDJHRIIHHVLQState Street ZDVQRWVKDUHGZLWKWKH/DEDWRQ

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       'DYLG*ROGVPLWKZKRZDV/DEDWRQ¶VSULQFLSDOOLWLJDWRULQState StreetQHYHU

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      ,I\RXUILUPLVGRLQJWKHPRQLWRULQJDQGSURYLGLQJWKHILQDQFLDOEDFNLQJIRUWKH
      FDVHV,WKLQNLWLVPRVWDSSURSULDWHWKDWZHDGG\RXUILUPLQGHSHQGHQWO\WRWKHOLVW
      RIDSSURYHGILUPV<RXUILUPmay affiliate that firm or use them as independent
      contractors, if you deem is >VLF@ appropriate on a case by case basis. There would
      be no requirement that you use them if it was not a necessary and appropriate
      expense of a case.,GRQ¶WNQRZKRZWREHVWKDQGOHWKLVSRLQWEXWWKHVWDWH
      SURFXUHPHQWSURFHVVLVQRWFRQGXFLYHWRDMRLQWSURSRVDO
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            ($10,900,000.00) in attorneys’ fees shall be paid out of the ERISA Settlement Allocation
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&RXQVHODJUHHGWRQDUURZWKHVFRSHRIPDQ\RIWKHUHTXHVWVSURPSWLQJWKLVFRQFHUQDQGDPHQGHGWKHXSFRPLQJ
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         x         Brado v. Vocera Communications, Inc. 1R&91'&DO$XJ
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         x         Arkansas Teacher Retirement System v. State Street Corporation,1R
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       2UGHU$ZDUGLQJ$WWRUQH\V¶)HHV3D\PHQWRI/LWLJDWLRQ([SHQVHVDQG
       3D\PHQWRI6HUYLFH$ZDUGVWR3ODLQWLIIV³)HH2UGHU´(&)1R
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               7KHVHPLVWDNHVFDPHWRRXUDWWHQWLRQGXULQJLQWHUQDOUHYLHZVWKDW
       ZHUHFRQGXFWHGLQUHVSRQVHWRDQLQTXLU\IURPWKHPHGLDUHFHLYHGDIWHUWKH
       KHDULQJ7KHSXUSRVHRIWKLVOHWWHULVWRGLVFORVHWKHHUURUDQGSURYLGHD
       FRUUHFWHGORGHVWDUDQGPXOWLSOLHU:HUHVSHFWIXOO\VXEPLWWKDWWKHHUURU
       VKRXOGKDYHQRLPSDFWRQWKH&RXUW¶VUXOLQJRQDWWRUQH\V¶IHHV
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               $VWKH&RXUWLVDZDUHWKHVXEPLVVLRQVVXSSRUWLQJ/HDG&RXQVHO¶V
       IHHDSSOLFDWLRQLQFOXGHGLQGLYLGXDOGHFODUDWLRQVVXEPLWWHGRQEHKDOIRI
       /DEDWRQ6XFKDURZ7KRUQWRQDQG/LHII&DEUDVHUUHSRUWLQJHDFKILUP¶V
       ORGHVWDUDQGQXPEHURIKRXUVELOOHG6HH(&)1RVDW
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               7KHSURIHVVLRQDOVDQGSDUDSURIHVVLRQDOVOLVWHGLQWKHVHILUPV¶
       UHVSHFWLYHORGHVWDUUHSRUWVLQFOXGHSHUVRQVGHQRWHGDV6WDII$WWRUQH\VRU
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       WKRXJKJHQHUDOO\ORQJWHUPEDVLVDQGDUHSDLGE\WKHKRXU7KH6$VLQ
       WKLVDFWLRQZHUHWDVNHGSULQFLSDOO\ZLWKUHYLHZLQJDQGDQDO\]LQJWKH
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       /LHII&DEUDVHUORGHVWDUUHSRUW%RWKVHWVRIRYHUODSUHIOHFWWKHIDFWWKDWDV
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      VXFKWKDWILQDQFLDOUHVSRQVLELOLW\IRUFHUWDLQ6$VORFDWHGDW/DEDWRQ
      6XFKDURZ¶VDQG/LHII&DEUDVHU¶VRIILFHVZDVERUQHE\7KRUQWRQ
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              %HFDXVHRIWKHVHLQDGYHUWHQWHUURUV3ODLQWLIIV¶&RXQVHO¶VUHSRUWHG
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      PLOOLRQUHSRUWHGFRPELQHGORGHVWDUUHVXOWVLQDUHGXFHGFRPELQHGORGHVWDU
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      ORGHVWDUPXOWLSOLHURI7KLVLVKLJKHUWKDQWKHPXOWLSOLHUZH
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              3ODLQWLIIV¶FRXQVHOUHVSHFWIXOO\VXEPLWVWKDWDPXOWLSOLHUUHPDLQV
      UHDVRQDEOHDQGZHOOZLWKLQWKHUDQJHRIPXOWLSOLHUVIRXQGUHDVRQDEOHIRU
      FURVVFKHFNSXUSRVHVLQFRPPRQIXQGFDVHVZLWKLQWKH)LUVW&LUFXLWDQG
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         7KH*ROGVPLWKOHWWHUPDGHQRDWWHPSWWRH[SODLQKRZRUZK\WKHGRXEOHFRXQWLQJ

RFFXUUHG1RUGLG/DEDWRQWDNHWKLVRSSRUWXQLW\WRGLVFORVHWKH&KDUJRLV$UUDQJHPHQW

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DVNLQJDOOFRXQVHOWRDJUHHWRUHIXQGWR/DEDWRQIRUUHGHSRVLWLQWRWKHState Street

HVFURZDFFRXQWWKHLUUHVSHFWLYHSURUDWDVKDUHRIDQ\FRXUWRUGHUHGUHGXFWLRQRIIHHV

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         SHUFHQWRIIWKHWRSDQGWKHQDWKLUGHDFK&ODVVFRFRXQVHOJHWRQHZLWK(5,6$
         SHUFHQWRIIWKHWRS'DPRQ¶VSHUFHQWDJHDOVRRIIWKHWRSDQGHDFKRIFODVVFR
         FRXQVHOVSOLWZLWKWKHSHUFHQWDJHVDJUHHGWRIn short, no reason for ERISA to see

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  7KLVLVDQRWKHULQVWDQFHRISUREOHPVFUHDWHGDW/DEDWRQDVDUHVXOWRILWVFRPSDUWPHQWDOL]DWLRQRILWVSUDFWLFHSee
GLVFXVVLRQsupra.

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     Damon’s split. They only need to see their 10 percent and then split three ways.
     %\WKHZD\,ZDQWWRDVWHULVNWKHSHUFHQWWR(5,6$ZLWKDIRRWQRWHVD\LQJ
     DOWKRXJKRXUIHHDJUHHPHQWZLWK(5,6$FRXQVHORQO\SURYLGHVIRUDSHUFHQW
     DOORFDWLRQFRFODVVFRXQVHOKDYHGHWHUPLQHGWRLQFUHDVHWKDWWRSHUFHQWLQOLJKW
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ZHUHQ¶WLQYROYHGLQWKHGRXEOHFRXQWLQJWKDWLIWKHUHZDVDUHGXFWLRQWKDWDSSOLHGWR

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Critics hit law firms’ bills after class-action lawsuits%26721*/2%('HFHPEHU

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       FODLPHGVWUDWRVSKHULF±DQGTXHVWLRQDEOH±OHJDOFRVWVLQWKHILOLQJWR86
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       SDLGMXVWDQKRXUIRUKLVVHUYLFHV±DQGQRWE\7KRUQWRQ/LNHDOOWKH
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               0RUHWKDQSHUFHQWRIWKHFRVWVWKDW7KRUQWRQDQGWZRRWKHUODZ
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Id.



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         x 7KHVFKHGXOHDWWDFKHGKHUHWRDV([KLELW$LVDVXPPDU\LQGLFDWLQJWKHDPRXQW
            RIWLPHVSHQWE\HDFKDWWRUQH\DQGSURIHVVLRQDOVXSSRUWVWDIIPHPEHURIP\
            ILUPZKRZDVLQYROYHGLQWKHSURVHFXWLRQRIWKH&ODVV$FWLRQVDQGWKHORGHVWDU
            FDOFXODWLRQEDVHGRQP\ILUP¶VFXUUHQWELOOLQJUDWHV)RUSHUVRQQHOZKRDUHQR
            ORQJHUHPSOR\HGE\P\ILUPWKHORGHVWDUFDOFXODWLRQLVEDVHGXSRQWKHELOOLQJ
            UDWHVIRUVXFKSHUVRQQHOLQKLVRUKHUILQDO\HDURIHPSOR\PHQWE\P\ILUP7KH
            VFKHGXOHZDVSUHSDUHGIURPFRQWHPSRUDQHRXVGDLO\WLPHUHFRUGVUHJXODUO\
            SUHSDUHGDQGPDLQWDLQHGE\P\ILUPZKLFKDUHDYDLODEOHDWWKHUHTXHVWRIWKH
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SHUFHQWDJHRIIXQGDQGORGHVWDUDVWKHWZRRSWLRQVIRUGHWHUPLQLQJIHHDZDUGVsee also

Duhaime v. John Hancock Mut. Life Ins. Co)6XSS'0DVV

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Appeals Arising Out of San Juan Dupont Plaza Hotel Fire Litig)GDW³*LYHQ

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Case 1:11-cv-10230-MLW Document 224 *SEALED*               Filed 05/14/18 Page 145 of 377



       $OWKRXJKWKH)LUVW&LUFXLWKDVGHFODUHGWKDWWKHGLVWULFWFRXUWKDVDFKRLFHDVWR

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Grendel’s Den, Inc. v. Larkin)GVW&LULQWHUQDOFLWDWLRQV

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Julien v. Patrick)GVW&LU+RXUO\UDWHVYDU\EDVHGRQ³WKHQDWXUH

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&LUZKHQGHWHUPLQLQJKRXUO\UDWHVIRUDORGHVWDUFDOFXODWLRQDFRXUWPD\DSSO\

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WUDGLWLRQDOO\FKDUJHVDKLJKHUUDWHIRUWKHVDPHW\SHRIZRUNciting Gay Officers Action

League v. Puerto Rico)GVW&LUDQDO\]LQJWKHIDFWRUVWREH

FRQVLGHUHGZKHQGHWHUPLQLQJWKHUHDVRQDEOHKRXUO\UDWHIRUDORGHVWDUFDOFXODWLRQXQGHUD

IHHVKLIWLQJVWDWXWH*LYHQWKHJUHDWYDULDQFHLQKRXUO\UDWHVFKDUJHGDFURVVGLIIHUHQW

MXULVGLFWLRQVDQGDPRQJDWWRUQH\VRIYDU\LQJEDFNJURXQGDQGH[SHULHQFHWKHFRXUWPXVW

ILUVWGHWHUPLQHWKHDSSURSULDWHSRLQWRIUHIHUHQFHRUYHQXHDJDLQVWZKLFKWKHUHSRUWHG

IHHVZLOOEHFRPSDUHG

      E3UHYDLOLQJ5DWHVLQWKH&RPPXQLW\

              i. First Circuit Rule -- Local Forum

      ,QWKH)LUVW&LUFXLWFRXUWVDSSO\WKHSUHYDLOLQJUDWHVLQWKHFRPPXQLW\WDNLQJLQWR

DFFRXQWWKHTXDOLILFDWLRQVH[SHULHQFHDQGVSHFLDOL]HGFRPSHWHQFHRIWKHDWWRUQH\V

LQYROYHGGay Officers Action League v. Puerto Rico)GDW7KHSUHVXPSWLRQ

IRUFDVHVSHQGLQJLQIHGHUDOFRXUWLQ%RVWRQLVWKDW%RVWRQUDWHVDSSO\See Stokes v. Saga

Int’l Holidays, Ltd)6XSSG'0DVV7KLVIRUXPYHQXH

SUHVXPSWLRQFOHDUO\VKRXOGDSSO\LQFDVHVLQYROYLQJWKHLQWHUSUHWDWLRQRIORFDOVWDWXWHVRU

DVWUDLJKWIRUZDUGDSSOLFDWLRQRIVWDWHFRPPRQODZFODLPVSee Maceira v. Pagan

)GVW&LU³:KHUHLWLVXQUHDVRQDEOHWRVHOHFWDKLJKHUSULFHGRXWVLGH

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DWWRUQH\DVIRUH[DPSOHLQDQRUGLQDU\FDVHUHTXLULQJQRVSHFLDOL]HGDELOLWLHVQRW

DPSO\UHIOHFWHGDPRQJORFDOODZ\HUVWKHORFDOUDWHLVWKHDSSURSULDWH\DUGVWLFN´7KLV

LVEHFDXVHORFDOFRXQVHODUHRIWHQEHWWHUHTXLSSHGWKDQRXWRIWRZQFRXQVHOWROLWLJDWHWKH

QXDQFHVSUHVHQWHGE\ORFDOVWDWXWHVDQGQDYLJDWHORFDOUXOHVDQGSURFHGXUHVId.)RU

WKHVHUHDVRQVWKH)LUVW&LUFXLWKDVGHWHUPLQHGWKDWWKH³FRPPXQLW\´LVWKHYHQXHZKHUH

WKHFDVHLVSHQGLQJId.GLVFXVVLQJWKDWDUHDVRQDEOHDQGZHOOLQIRUPHGFOLHQWZRXOGEH

PRUHZLOOLQJWRSD\DORFDODWWRUQH\DWORFDOUDWHVLIKHRUVKHFRXOGDSSURSULDWHO\KDQGOH

WKHOHJDOLVVXHsee also Fryer v. A.S.A.P. Fire and Safety Corp., Inc)6XSSG

'0DVVILQGLQJWKHFRPPXQLW\UDWHWREHWKHUDWHLQWKHFRPPXQLW\

ZKHUHWKHFRXUWVLWVStokes)6XSSGDW

        $VZLWKDQ\UXOHKRZHYHUWKHUHDUHFLUFXPVWDQFHVLQZKLFKDUDWHRWKHUWKDQWKH

ORFDOUDWHLVPRUHDSSURSULDWH,QMaceiraWKH)LUVW&LUFXLWKHOGWKDWRXWRIWRZQ

VSHFLDOLVWVPD\EHDEOHWRFRPPDQGDKLJKHUUDWHIRUWKHLUVHUYLFHVLIWKHFDVHUHTXLUHV

VSHFLDOL]HGDELOLWLHVQRWDPSO\UHIOHFWHGDPRQJORFDOODZ\HUVRU³ZKHQDVSHFLDOLVWZDV

UHTXLUHGIRUWKHKDQGOLQJRIWKHFDVHDQGDVPDOOHUFRPPXQLW\GRHVQRWKDYHRQH

DYDLODEOH´Guckenberger v. Boston University)6XSSG'0DVV

VPDOOFRPPXQLWLHVPD\QRWKDYHDVSHFLDOLVWUHTXLUHGWRKDQGOHDFDVHDQG

WKHUHIRUHDQRXWRIWRZQVSHFLDOLVWPD\EHUHTXLUHG

        &RXUWVKDYHDOVRIRXQGWKDWZKHUHDFDVHLVQDWLRQDOLQVFRSHDQGUHTXLUHVWKH

H[SHUWLVHRIFRXQVHOIURPRXWVLGHWKHIRUXP³QDWLRQDOUDWHV´UDWKHUWKDQORFDOUDWHVPD\

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  $EVHQWHYLGHQFHWKDWRXWRIWRZQUDWHVVKRXOGDSSO\FRXUWVDGKHUHWRWKHSUHVXPSWLRQWKDWWKHORFDOUDWHVRIWKH
IRUXPFRPPXQLW\ZLOODSSO\See e.g., Vieques Conservation and Historical Trust Inc. v. Martinez)6XSSG
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EHDSSURSULDWHSee In re Agent Orange Product Liability Litigation)6XSS

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also Feinberg v. Hibernia Corp)6XSS('/DGHFOLQLQJWR

DSSO\WKHORFDO1HZ2UOHDQVUDWHVFRQVLGHULQJPXOWLSOHIDFWRUVLQFOXGLQJWKHUHOHYDQW

1HZ<RUNUDWHVDQGH[SHQVHVRIWKHILUPVLQYROYHGFRXUWIRXQG1HZ<RUNUDWHVVKRXOG

DSSO\

              ii. The “Community”

      7KH)LUVW&LUFXLWUXOHDQGWKHVHH[FHSWLRQVXQGHUVFRUHWKHLPSRUWDQFHRI

LGHQWLI\LQJWKHXQGHUO\LQJFRPPXQLW\LQGHWHUPLQLQJWKHDSSURSULDWHELOOLQJYHQXHIRU

OHJDOVHUYLFHV7KHWKUHVKROGTXHVWLRQWKHQEHFRPHV:KDWLVWKHUHOHYDQW³FRPPXQLW\´

IRUSXUSRVHVRIQDWLRQDOFODVVDFWLRQOLWLJDWLRQV"$VFRXQVHOVXJJHVWHGWKURXJKRXW

GLVFRYHU\³FRPPXQLW\´UHIHUVQRWMXVWWRDJHRJUDSKLFOHJDOFRPPXQLW\EXWPRUH

EURDGO\WRDFRPPXQLW\RISUDFWLWLRQHUVSee e.g., +HLPDQQ'HSSS±

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v. Plan for Group Ins. of Verizon Comm., Inc.1R±&9±-':/

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WKHDWWRUQH\VSUDFWLFLQJLWDUHKLJKO\VSHFLDOL]HGDQGWKHPDUNHWIRUOHJDOVHUYLFHVLQWKDW

DUHDLVDQDWLRQDOPDUNHWWKHUHOHYDQWFRPPXQLW\LVQRWWKHORFDOPDUNHWDUHDEXWWKH

FRPPXQLW\RISUDFWLWLRQHUVLQWKDWVXEMHFWPDWWHU´VRPHLQWHUQDOSXQFWXDWLRQRPLWWHG

Lucas v. Kmart Corp.1R±FY±±-/.±&%6:/'&ROR

-XO\UHOHYDQWFRPPXQLW\IRUSXUSRVHVRIGHWHUPLQLQJDUHDVRQDEOHELOOLQJUDWH

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IRUFODVVFRXQVHOFRQVLVWVRIDWWRUQH\VZKROLWLJDWHQDWLRQZLGHFRPSOH[FODVVDFWLRQV

see alsoDonnell v. United States,)G'&&LUFlash II, supra

)GDW7KH6SHFLDO0DVWHUDJUHHVZLWKFRXQVHOWKDWZKDWFRQVWLWXWHVD

FRPPXQLW\IRUSXUSRVHVRIGHWHUPLQLQJDSUHYDLOLQJELOOLQJUDWHLQWKLVFDVHLVDIDUPRUH

QXDQFHGLQTXLU\WKDQVLPSO\GHWHUPLQLQJWKHVLWXVRIWKH&RXUW

              iii. The State Street Case

      &RXQVHOFRQWHQGWKDWWKHYHQXHRIWKHOLWLJDWLRQLVQRWGHWHUPLQDWLYHRIWKH

FRPPXQLW\IRUSXUSRVHVRIVHOHFWLQJDELOOLQJYHQXHLQWKLVFDVH+HLPDQQ'HS

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FRPPXQLW\VKRXOGEHWKHFRPPXQLW\RISUDFWLWLRQHUVHTXLSSHGWRKDQGOHWKHVXEMHFW

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5HVSRQVHVWR,QWHUURJDWRULHV1RV>(;@&RXQVHOWKXVWDNHWKHSRVLWLRQWKDW

WKHUHOHYDQWFRPPXQLW\LQWKHState StreetOLWLJDWLRQLVWKHFRPPXQLW\RISUDFWLWLRQHUV

ZLWKVLPLODUH[SHULHQFHDQGVNLOOVWRDVVHUWDQDWLRQDOFODVVDFWLRQRQEHKDOIRIDQDWLRQDO

FODVVRISODLQWLIIVId.$FFRUGLQJO\FRXQVHOVXJJHVW³QDWLRQDO´UDWHVUDWKHUWKDQORFDO

UDWHVVKRXOGDSSO\

      ,WLVFHUWDLQO\WUXHWKDWWKHIRUXPYHQXHRIWKHState StreetOLWLJDWLRQLV%RVWRQEXW

LWLVHTXDOO\UHOHYDQWWKDWFRXQVHOZHUHPHPEHUVRIWKHSODLQWLIIV¶FODVVDFWLRQEDUDQGKDG

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&DEUDVHU5HVSRQVHWR6SHFLDO0DVWHU¶V)LUVW6HWRI,QWHUURJDWRULHV1R>(;@

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(5,6$FODLPV

       %H\RQGWKLVWKH3ODLQWLIIFODVVPHPEHUVZHUHVLWXDWHGWKURXJKRXWWKH8QLWHG

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LGHQWLILHGVHYHUDOIDFWRUVWKDWUHTXLUHH[SHUWLVHQRWUHDGLO\DYDLODEOHLQWKH%RVWRQPDUNHW

,QWKLVDQDO\VLVFRQVLGHUDWLRQRIWKHWRWDOLW\RIWKHFLUFXPVWDQFHVVXUURXQGLQJWKHFDVHLV

UHTXLUHGLQFOXGLQJDWOHDVWWKHVXEMHFWPDWWHURIWKHFODLPVDOOHJHGDYDLODELOLW\RI

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RWKHUZLVHDYDLODEOHLQ%RVWRQDQGWKHQDWLRQDOFKDUDFWHURIWKHOLWLJDWLRQ$FORVH

H[DPLQDWLRQRIHDFKIDFWRUVWURQJO\PLOLWDWHVLQIDYRURIDSSO\LQJDQDWLRQDOUDWHWRWKH

ZRUNSHUIRUPHGLQWKHState StreetOLWLJDWLRQ

            1. Complexity of FX Trading Claims and the Need for Experienced Counsel
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       ,WLVZHOODFFHSWHGWKDWDFDVHUHTXLULQJVSHFLDOL]HGDELOLWLHVPD\DQGRIWHQGRHV

ZDUUDQWKLJKHUDWWRUQH\UDWHVSee Maceira, supraPalmigiano v. Garrahy)G

VW&LU&DVHVLQYROYLQJFRPSOLFDWHGRUQRYHOOHJDOFRQFHSWVUHTXLUHFOLHQWV

WRREWDLQFRXQVHOZLWKVSHFLDOL]HGNQRZOHGJHRIWKHVXEMHFWDUHDSee e.g., Interfaith

Community Organization v. Honeywell Intern., Inc. )GG&LU

6SHFLDOL]HGNQRZOHGJHKRZHYHUPD\UHVLGHLQRXWRIWRZQFRXQVHO1DWLRQDOFODVV

DFWLRQVOLNHWKHRQHEURXJKWDJDLQVW6WDWH6WUHHWDUHDQDUHDRIVSHFLDOW\LV v. New York

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City Dept. of Education)6XSSG6'1<&RXQVHOZLWK

H[SHULHQFHOLWLJDWLQJFRPSOH[FODVVDFWLRQFDVHVGRQRWUHVLGHLQHYHU\OHJDOPDUNHW7KDW

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DELOLWLHVDVZHOODVVXEVWDQWLDOUHVRXUFHVId; see also McClain v. Lufkin Indus., Inc., 

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FODVVPHPEHUVWRPHHWKHLJKWHQHGSOHDGLQJUHTXLUHPHQWVIn re Omnivision

Technologies, Inc.)6XSSG1'&DO

        (QFRPSDVVHGLQDOOWKLVLVWKHUHTXLUHPHQWWKDWLQRUGHUWRVWDQGRQHTXDOIRRWLQJ

ZLWKZHOOUHVRXUFHGGHIHQGDQWVLQFRPSOH[VRSKLVWLFDWHGFDVHV±GHIHQGDQWVZKRZLOO

LQYDULDEO\KDYHKLJKO\VNLOOHGKLJKO\H[SHULHQFHGDQGZHOOUHVRXUFHGFRXQVHO±WKHFODVV

PXVWKDYHFRXQVHORIHTXDOWUDLQLQJVNLOOH[SHULHQFHDQGUHVRXUFHV6XFKFRXQVHORQ

WKHSODLQWLIIV¶VLGHRIWKHFDVHPD\ZHOOQRWH[LVWLQWKHIRUXPRIWKHFDVH7KH6SHFLDO

0DVWHUILQGVWKDWWKLVLVDQLPSRUWDQWIDFWRULQHQVXULQJWKDWFODVVPHPEHUVDUHZHOO

UHSUHVHQWHGLQFRPSOH[VRSKLVWLFDWHGFODVVDFWLRQV

        7KLVZDVSDUWLFXODUO\WUXHLQWKLVFDVH*LYHQWKHFRPSOH[LW\RIWKHZURQJV

DOOHJHGDJDLQVW6WDWH6WUHHWILQGLQJFRXQVHOZLWKKLJKO\VSHFLDOL]HGH[SHULHQFHLQ

KDQGOLQJFRPSOH[QDWLRQDOFODVVDFWLRQVZDVHVVHQWLDO,QWKLVFDVHH[SHULHQFHZDV

UHTXLUHGLQWZRGLIIHUHQWDUHDV)LUVWWKHUHZDVDQHHGIRUFRXQVHOZKRFRXOG


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   :KLOHWKHState StreetOLWLJDWLRQGRHVQRWIDOOVTXDUHO\XQGHUWKHXPEUHOODRIDVHFXULWLHVFODVVDFWLRQWKH
VXEVWDQWLYHDQGSURFHGXUDOOHJDOFKDOOHQJHVLQYROYHGLQWKHState StreetOLWLJDWLRQZHUHDVFRPSOLFDWHGLIQRWPRUH
WKDQDVHFXULWLHVFODVVDFWLRQFDVHEURXJKWXQGHUWKH36/5$7KHUHIRUHWKHDQDO\VLVRIWKHDSSOLFDEOHELOOLQJYHQXH
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VXFFHVVIXOO\QDYLJDWH)HG5&LY3DQGWKHRWKHUSURFHGXUDOKXUGOHVLQFHUWLI\LQJD

QDWLRQDOFODVVLQDQRYHOVXEMHFWDUHD6HFRQGWKHVXFFHVVRIWKHOLWLJDWLRQGHSHQGHGRQ

ILQGLQJFRXQVHOZKRZHUHYHUVHGLQWKHLQWULFDFLHVRIWKHJOREDO);PDUNHWDQGFRXOG

IDFWXDOO\VXSSRUWDPRQHWDU\FODLPIRUUHOLHIIURP6WDWH6WUHHW7KHVDPHZDVWUXHIRUWKH

(5,6$FODLPV

      7XUQLQJWRWKHPHFKDQLFVRIFODVVOLWLJDWLRQFRXQVHOIDFHGVHYHUDOXQLTXHOHJDO

FKDOOHQJHVWKDWUHTXLUHGDVRSKLVWLFDWHGOHJDOVWUDWHJ\MXVWWRNHHSWKHFDVHDIORDW7KH

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WKHRULHVUDLVHGE\FRXQVHOPRVWQRWDEO\WKHDELOLW\WRFHUWLI\DQDWLRQDOFODVVXQGHU0DVV

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XQGHUFRQVXPHUSURWHFWLRQODZILGXFLDU\VWDWXVDQGRWKHULVVXHVDIIHFWLQJFHUWLILFDWLRQRI

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ZHLJKHGLQRQWKHVHWKUHVKROGOHJDOLVVXHVKDGUHDFKHGRXWFRPHVWKDWZHLJKHGDJDLQVWDW

OHDVWWZRRI3ODLQWLIIV¶OHJDOWKHRULHVEUHDFKRIILGXFLDU\GXW\DQGYLRODWLRQRI

0DVVDFKXVHWWVFRQVXPHUSURWHFWLRQODZV+HLPDQQ'HSS>(;@

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SRVVLELOLW\WKDW6WDWH6WUHHWOLNH%21<0HOORQZRXOGILOHPHULWRULRXVFRXQWHUFODLPV

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DJDLQVWWKHLQGLYLGXDOFXVWRPHUIXQGVWRUHFRYHUORVWIXQGV&KLSORFN'HSSS

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New York Mellon Corp.6'1<1RFY'NWInt’l Union of Operating

Engineers, Stationery Engineers Local 39 Pension Fund v. The Bank of New York Mellon

Corp.6'1<1RFY'NWOhio Police and Fire Pension Fund v. The

Bank of New York Mellon Corp.6'1<1RFY'NW)LOLQJFRXQWHUFODLPV

ZRXOGPDUNHGO\VKLIWWKHSDUWLHV¶UHVSHFWLYHEDUJDLQLQJSRVLWLRQV

      7KHQRQOHJDOKXUGOHVUHTXLUHGDQHTXDOLIQRWJUHDWHUOHYHORIVRSKLVWLFDWLRQ

&RXQVHOLQWKLVFDVHIDFHGDIRUPLGDEOHRSSRQHQWLQ6WDWH6WUHHWDQG:LOPHU+DOHDWRS

%RVWRQEDVHGQDWLRQDOGHIHQVHILUP:LOPHU+DOHDGYRFDWHGGRJJHGO\RQEHKDOIRI6WDWH

6WUHHWWKURXJKRXWWKHOLWLJDWLRQDQGPHGLDWLRQ&KLSORFN'HSS

³>'@HIHQVHFRXQVHOPDGHXVZRUNKDUG«´>(;@0LFKDHO7KRUQWRQ'HS

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H[SORLWHGWKHZHDNQHVVHVDQGULVNVRISODLQWLIIV¶FDVHDWHYHU\VWDJH&RPEDWLQJ

VRSKLVWLFDWHGGHIHQVHWDFWLFVUHTXLUHGHTXDOO\VRSKLVWLFDWHGDQGH[SHULHQFHGSODLQWLIIV¶

FRXQVHO3ODLQWLIIV¶FRXQVHOVNLOOIXOO\PDWFKHGGHIHQVHFRXQVHO¶VDUJXPHQWVDGYDQFHG

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FRQWULEXWLRQVWRWKHIDYRUDEOHVHWWOHPHQWUDWKHURQO\DIHZQRWDEOHH[DPSOHVZLOOEH

KLJKOLJKWHG/DZUHQFH6XFKDURZZKROHGWKHPHGLDWLRQHIIRUWVILUVWUDLVHGWKHLVVXHRI

DK\EULGPHGLDWLRQDQGVROGWKHLGHDWRKLVFRXQWHUSDUWVDW:LOPHU+DOHZLWKZKRPKH

KDGDORQJSURIHVVLRQDOUHODWLRQVKLS6XFKDURZ'HSS>(;@

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6HYHUDORWKHUDWWRUQH\VDOVREURXJKWVLJQLILFDQWH[SHULHQFHDQGPHDQLQJIXOZRUNLQJ

UHODWLRQVKLSVWRWKHWDEOH/\QQ6DUNRZKRKDGDORQJVWDQGLQJUHODWLRQVKLSDQGH[WHQVLYH

H[SHULHQFHOLWLJDWLQJQDWLRQDOFDVHVDORQJVLGHWKH'2/VHUYHGDVWKHOLDLVRQWRWKH'2/

DQGZDVXOWLPDWHO\UHVSRQVLEOHIRUVHFXULQJWKH'2/¶VDSSURYDORIWKHVHWWOHPHQWLQ

SULQFLSOHDQHFHVVDU\SUHFRQGLWLRQIRUWKHJOREDOVHWWOHPHQWLQVLVWHGXSRQE\'HIHQGDQW

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GLIIHUHQWNLQGRIH[SHUWLVHWKDWRIKDQGOLQJLQWHUQDOG\QDPLFV7KRUQWRQ'HS

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GHYHORSHGDFRPSUHKHQVLYHXQGHUVWDQGLQJRI);SULFLQJGXULQJOLWLJDWLRQRIWKH

&DOLIRUQLDDFWLRQDVVXPHGDOHDGUROHLQFDOFXODWLQJWKHSRWHQWLDOGDPDJHVRZHGWRWKH

FODVVDQGFUDIWLQJDWKHRU\RIGDPDJHVWRXVHDVOHYHUDJHLQWKHPHGLDWLRQZLWK6WDWH

6WUHHW.UDYLW]'HSS>(;@/HVVHU'HSSS±

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      %XWOLWLJDWLQJDQGXQGHUVWDQGLQJFRPSOH[OHJDOLVVXHVZDVRQO\KDOIWKHEDWWOH

6LPSO\XQGHUVWDQGLQJWKHLQWULFDFLHVRIWKH);PDUNHWUHTXLUHGDJUHDWGHDORI

VRSKLVWLFDWLRQDQGIDPLOLDULW\ZLWK);WUDGLQJSUDFWLFHVQRWFRPPRQO\NQRZQE\OHJDO

SURIHVVLRQDOVHYHQWKRVHZLWKH[SHULHQFHLQVHFXULWLHVDQGILQDQFLDOIUDXGPDWWHUV

*ROGVPLWK'HSSS±>(;@7KHUHZDVDVWHHSOHDUQLQJFXUYH

LQYROYHGLQXQGHUVWDQGLQJWKHPHFKDQLFVRI);WUDGLQJ$WWRUQH\VDW/LHIIDQG7KRUQWRQ

KDGDOUHDG\PDVWHUHGWKHEDVLFVRIWKH);WUDGLQJWKURXJKWKHLUSDUWLFLSDWLRQLQWKH

&DOLIRUQLDqui tamDFWLRQDQGWKHBONY Mellon0'/PDNLQJWKHPDNLQWRVXEMHFW

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PDWWHUH[SHUWVSee,,$DQG%supra$QDGYDQFHGXQGHUVWDQGLQJRIWKH

PHFKDQLFVRIWKH);PDUNHWZHUHQRWMXVWKHOSIXOEXWHVVHQWLDOWRSURYLQJWKHFDVH-XVW

WRDVVHUWDGDPDJHILJXUHGXULQJWKHSOHDGLQJDQGPHGLDWLRQVWDJHVFRXQVHOKDGWR

DQDO\]HWKHGLIIHUHQFHVLQPDUNXSVDSSOLHGE\6WDWH6WUHHWWRLWVLQGLUHFWFXVWRPHUWUDGHV

DVRSSRVHGWRWKHPDUNHWGLIIHUHQWLDOVIRUWKRVHVDPHGD\VDQGWLPHV+RIIPDQ

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ZDVQRHDV\WDVNDQGUHTXLUHGDKLJKOHYHORIFRPSUHKHQVLRQ

            2. Unavailability of Local Counsel

       $VGHVFULEHGDERYHWKHVRSKLVWLFDWLRQRIWKHVXEMHFWPDWWHUQHFHVVLWDWHGFRXQVHO

ZLWKVLJQLILFDQWH[SHULHQFH$IWHUDWKRURXJKUHYLHZLWLVDSSDUHQWWKDWLQWKHORFDO

SODLQWLIIV¶EDUWKHUHZDVQRILUPWKDWSRVVHVVHGDOORIWKHUHTXLVLWHVNLOOVH[SHULHQFHRU

UHVRXUFHVQHFHVVDU\WRFDUU\WKHOLWLJDWLRQIRUZDUGRQLWVRZQ:KLOH7KRUQWRQLVEDVHGLQ

%RVWRQ7KRUQWRQ¶VPDLQFRQWULEXWLRQWRWKHFDVHZDVLQLWVH[SHULHQFHOLWLJDWLQJQDWLRQDO

FODVVDFWLRQV0RUHRYHU7KRUQWRQODFNHGWKHKXPDQDQGILQDQFLDOUHVRXUFHVWREULQJWKLV

DFWLRQRQLWVRZQ+RIIPDQ'HSSS±>(;@

            3. National Scope of Class Action Litigation

       7KHState StreetFDVHZDVQDWLRQDOLQVFRSHLQVHYHUDORWKHUUHVSHFWV7KH

6HWWOHPHQW&ODVVFRPSULVHGRIDOOFXVWRG\DQGWUXVWFXVWRPHUVRI6WDWH6WUHHWLQFOXGLQJ

(5,6$3ODQV*URXS7UXVWVDQG6WDWH6WUHHW¶VGLUHFWWUXVWHHVLQFOXGHGFODVVPHPEHUV

IURPDOORYHUWKHFRXQWU\VXLQJ6WDWH6WUHHWDODUJHFXVWRGLDOEDQNZLWKRIILFHVDURXQGWKH

FRXQWU\DQGLQWKLUW\FRXQWULHVDURXQGWKHZRUOG0RUHRYHUWKHFODVVUHSUHVHQWDWLYHV

ZKRSDUWLFLSDWHGLQWKHOLWLJDWLRQUHVLGHGLQVL[GLIIHUHQWVWDWHV$UNDQVDV3HQQV\OYDQLD

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:DVKLQJWRQ1HZ0H[LFR,OOLQRLVDQG0DU\ODQG&RXQVHOWKHPVHOYHVKDLOHGIURPVL[

GLIIHUHQWFLWLHVLQVL[GLIIHUHQWVWDWHV7KDWPRVWRIWKHFRXQVHOLQYROYHGLQWKHFDVH

ZHUHQRW³ORFDO´WR%RVWRQFRPELQHGZLWKWKHSUHVHQFHRIDGLYHUVHFODVVRISODLQWLIIV

IURPDFURVVWKHFRXQWU\IXUWKHUVXSSRUWVWKHDGRSWLRQRIDQDWLRQDOUDWHDSSURDFK

               4. ERISA Claims

         7KHFDVHIRUQDWLRQDOUDWHVLVHYHQVWURQJHUZKHQFRQVLGHULQJWKHZRUNRI(5,6$

FRXQVHOLQEULQJLQJWKHHenriquez DQGAndoverFRPSODLQWV&RXUWVUHYLHZLQJIHH

SHWLWLRQVLQ(5,6$FDVHVKDYHURXWLQHO\FRQVLGHUHGWKHFRPSDUDEOHUDWHVRI(5,6$

DWWRUQH\VLQRWKHUMXULVGLFWLRQVDQGGHWHUPLQHGWKDW(5,6$FDVHVLQYROYHD³QDWLRQDO

VWDQGDUG´See, e.g., Mogck v. UNUM Life Ins. Co. of America,)6XSSG

6'&DO,QMogck, WKHFRXUWQRWHGWKDWFRXQVHOKDQGOLQJ(5,6$PDWWHUV

RIWHQWDNHRQFRPSOH[XQGHVLUDEOHFDVHVId.(5,6$FRXQVHOPRUHRYHUWHQGWRSUDFWLFH

LQYDULRXVGLVWULFWV$QGDVLVWKHFDVHLQWKHState StreetOLWLJDWLRQ(5,6$FRXQVHO

IUHTXHQWO\KDYHH[WHQVLYHH[SHULHQFHOLWLJDWLQJXQGHUWKH(5,6$VWDWXWHId.

         )XUWKHUGHVSLWHFRXQVHO¶VKDYLQJREWDLQHGDYHU\IDYRUDEOHUHVXOWIRUWKHFODVV

UHSUHVHQWLQJ(5,6$SODQVLQWKHState StreetFDVHZDVQRWZLWKRXWVLJQLILFDQWFKDOOHQJHV

$V(5,6$DQGQRQ(5,6$FRXQVHOUHDGLO\DFNQRZOHGJHGWKURXJKRXWWKHLQYHVWLJDWLRQ

WKHGHILQLWLRQRI³(5,6$IXQGV´ZDVDFRQVWDQWO\HYROYLQJFRQFHSW&KLSORFN

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   &XVWRPHU&ODVV&RXQVHOLQFOXGHG/DEDWRQ6XFKDURZEDVHGLQ1HZ<RUN&LW\ZLWKRIILFHVLQ'HODZDUH
:DVKLQJWRQ'&DQG,OOLQRLV/LHII&DEUDVHUEDVHGLQ6DQ)UDQFLVFRZLWKRIILFHVLQ1DVKYLOOH1HZ<RUN&LW\DQG
6HDWWOHDQG7KRUQWRQ/DZ)LUPEDVHGLQ%RVWRQ(5,6$&RXQVHOLQFOXGHG.HOOHU5RKUEDFNEDVHGLQ6HDWWOHZLWK
RIILFHVLQ2DNODQG1HZ<RUN3KRHQL[6DQWD%DUEDUD&DOLIRUQLDDQG5RQDQ0RQWDQD=XFNHUPDQ6SDHGHUEDVHG
LQ:DVKLQJWRQ'&ZLWKRIILFHVLQ1HZ<RUN&LW\7DPSDDQG%DOWLPRUHDQG0F7LJXH/DZEDVHGLQ
:DVKLQJWRQ'&7ZRRWKHUILUPVDOVRSDUWLFLSDWHGRQEHKDOIRIWKH(5,6$SDUWLFLSDQWV%HLQV$[HOURGDQG
5LFKDUGVRQ3DWULFN%HLQV$[HOURGLVEDVHGLQ:DVKLQJWRQ'&5LFKDUGVRQ3DWULFNLVEDVHGLQ0RXQW3OHDVDQW
6RXWK&DUROLQDEXWPDLQWDLQVDQDWLRQDOOLWLJDWLRQSUDFWLFH

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SURYLGLQJDEDVLVIRUFDOFXODWLQJGDPDJHVZDVVXEMHFWWRFKDQJHWKURXJKRXWWKHSHULRG

RIQHJRWLDWLQJWKHILQDOWHUPVKHHWId. $QGVLPLODUWRWKHATRSFRPSODLQWWKH

HenriquezDQGAndoverFRPSODLQWVZHUHVXEMHFWWRVHYHUDOOHJDODUJXPHQWVWKDWFRXOGEH

UDLVHGLQDQLQHYLWDEOHPRWLRQWRGLVPLVVPRVWQRWDEO\ZKHWKHUDJURXSSODQKDGVWDQGLQJ

WREULQJDEUHDFKRIILGXFLDU\FODLPDJDLQVW6WDWH6WUHHW6DUNR'HSS

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StreetOLWLJDWLRQRYHUFDPHWKHVHFKDOOHQJHVE\GUDZLQJRQVHYHUDOGHFDGHVRIH[SHULHQFH

OLWLJDWLQJFRPSOH[(5,6$FDVHVDFURVVWKHFRXQWU\.HOOHU5RKUEDFNDQG0F7LJXH/DZ

LQSDUWLFXODUKDGUHFHQWO\EHHQLQYROYHGLQWKHBONY MellonFDVHUHSUHVHQWLQJ(5,6$

SDUWLFLSDQWVEULQJLQJVXEVWDQWLDOO\VLPLODUFODLPVWRWKRVHDOOHJHGLQState Street6DUNR

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IDFWKDVUHSUHVHQWHG(5,6$SDUWLFLSDQWVLQPDQ\LQYHVWPHQWFDVHVWKURXJKRXWKLVHQWLUH

FDUHHUId.S

        iv.     Determination of National Rate

       *LYHQRXUGHFLVLRQWKDWQDWLRQDOUDWKHUWKDQUHJLRQDOUDWHVDSSO\WRWKLVFDVHWKH

QH[WTXHVWLRQLVKRZWRGHWHUPLQHWKHDSSURSULDWHQDWLRQDOUDWHLQWKHState StreetFDVH

7KHQDWLRQDOUDWHDSSO\LQJWRWKHState StreetFDVHOLNHDQ\UDWHPXVWEHWHWKHUHGWRWKH

UDWHVW\SLFDOO\FKDUJHGE\FRXQVHOSUDFWLFLQJLQWKHVXEMHFWPDWWHUKHUHFRPSOH[

VHFXULWLHVILQDQFLDOIUDXGOLWLJDWLRQLQWKRVHJHRJUDSKLFPDUNHWVZKHUHVHFXULWLHVDQG

ILQDQFLDOIUDXGOLWLJDWLRQDUHW\SLFDOO\EURXJKW/LNHUHJLRQDOUDWHVQDWLRQDOUDWHVVKRXOG

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EHFRPPHQVXUDWHZLWKWKHOHJDOUDWHVIRUDWWRUQH\VRIFRPSDUDEOHVNLOOH[SHULHQFHDQG

UHSXWDWLRQOLWLJDWLQJVXEVWDQWLDOO\VLPLODUPDWWHUV$SSO\LQJWKHVHSULQFLSOHVZHUHO\RQ

UDWHVFKDUJHGLQFRPSDUDEOHFDVHVDVZHOODVWKRVHUHSRUWHGE\ILUPVLQRXUWDUJHWUHJLRQV

IRUSDUWQHUVDVVRFLDWHVDQGVWDIIDWWRUQH\V%HFDXVHRIDQDSSDUHQWODFNRIGDWDUHSRUWHG

RQ³VWDIIDWWRUQH\´UDWHVDVWRWKHUHDVRQDEOHQHVVRIWKRVHUDWHVZHDUHIXUWKHULQIRUPHG

E\FRXUWVWKDWKDYHZHLJKHGLQRQWKLVLVVXH

      F0DUNHW5DWHVLQ

       :HUHWXUQWRWKHEDVLFSUHPLVHWKDWWKHUHLV³QRXQLYHUVDOUDWH´'XHWRWKHZLGH

UDQJHRIH[SHULHQFHDQGUHSXWDWLRQDPRQJILUPVDQGVLJQLILFDQWGLIIHUHQFHVLQOHJDO

PDUNHWVGLIIHUHQWODZILUPVDQGGLIIHUHQWODZSUDFWLFHVZLWKLQWKRVHILUPVFRPPDQG

GLIIHUHQWUDWHV(YHQIRFXVLQJVROHO\RQWKHQDWLRQDOPDUNHWQRVLQJOHKRXUO\UDWHFDQ

DFFXUDWHO\FRQYH\WKHYDOXHRIDQHQWLUHOHJDOILHOG*LYHQWKHLQKHUHQWFKDOOHQJHV

LQYROYHGLQFDOFXODWLQJDXQLIRUPUDWHWKH6SHFLDO0DVWHUH[DPLQHVHDFKRIWKHILUPV¶

UDWHVIURPWKHSHUVSHFWLYHRIDUHDVRQDEOHUDQJHRIQDWLRQDOUDWHV

              L/HJDO)UDPHZRUN

       ,QDVVHVVLQJWKHUHDVRQDEOHQHVVRIWKHKRXUO\UDWHVOLVWHGRQWKH)HH3HWLWLRQLWLV

LPSRUWDQWWRLGHQWLI\WKHDSSURSULDWHIUDPHZRUN1RWDOOUDWHVEHDUWKHVDPHZHLJKWVRPH

UDWHVE\YLUWXHRIWKHFROOHFWRUVXEMHFWPDWWHURUILHOGDUHPRUHLQIRUPDWLYHLQRXU

DQDO\VLVWKDQRWKHUV:HORRNWKHQWRWKHVRXUFHRIWKHKRXUO\UDWHVUDWKHUWKDQWKHGROODU

DPRXQWVWKHPVHOYHV

       ,QGHFRQVWUXFWLQJWKH)HH3HWLWLRQUDWHVWKH6SHFLDO0DVWHUKDVLGHQWLILHGWZR

WKUHVKROGLVVXHVWKDWLQIRUPDQGGLUHFWWKLVDQDO\VLVILUVWZKDWVXEVWDQWLYHSUDFWLFH

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DUHDVEHVWUHIOHFWWKHOHJDOZRUNSHUIRUPHGLQWKHState Street FDVHDQGVHFRQGZKLFK

JHRJUDSKLFUHJLRQVEHVWLQIRUPDQDWLRQDOUDWHIRUWKDWSUDFWLFHDUHD%H\RQGWKLVHYHQ

ZKHUHFRQVLGHUDWLRQRIWKHSUDFWLFHDUHDDQGJHRJUDSKLFUHJLRQV\LHOGVDUHDVRQDEOH

UDQJHWKH6SHFLDO0DVWHUPXVWLQGHSHQGHQWO\GHFLGHZKDWLIDQ\DGMXVWPHQWVPXVWEH

DSSOLHGWRFRUUHFWIRUWKHELDVHVLQWKHUHSRUWLQJGDWD

                    a) Relevant Practice Area

         :HVWDUWUDWKHUWKDQHQGRXUDQDO\VLVE\QRWLQJWKDWState Street ZKLOHYHQXHGLQ

%RVWRQZDVDFODVVDFWLRQFDVHRIQDWLRQDOVFRSHZLWKFODVVPHPEHUVORFDWHGDOODFURVV

WKHFRXQWU\(YHQDPRQJQDWLRQDOFODVVDFWLRQVWKHState Street FDVHZDVDW\SLFDOLQ

VHYHUDOUHVSHFWV7KHDOOHJHGPDOIHDVDQFHLQWKH);WUDGLQJPDUNHWUHSUHVHQWHGD

³K\EULG´EHWZHHQFRQVXPHUVHFXULWLHVDQG(5,6$EDVHGFODLPV/DEDWRQ¶V-XQH

5HVSRQVHWR6SHFLDO0DVWHU¶V)LUVW6HWRI,QWHUURJDWRULHV1R>(;@,Q

ZKHQWKHWKHRU\IRUWKHState StreetFDVHZDVRULJLQDWHG);WUDGLQJZDVQRWDKHDYLO\

OLWLJDWHGDUHDRIWKHILQDQFLDOVHUYLFHVLQGXVWU\7KRUQWRQ'HSS>(;

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DJHQFLHVUHJXODWLQJWKUHHVHSDUDWHDUHDVRIODZWKH6(&ZKLFKPRQLWRUVVHFXULWLHVWKH

'2/ZKLFKRYHUVHHVWKHODERUPDUNHWDQGZRUNUHODWHGEHQHILWVVXFKDV(5,6$SODQV

DQGWKH'2-ZKLFKHQIRUFHVWKHFULPLQDOFRGH

         *LYHQWKHQRYHOW\RIWKHVXEMHFWPDWWHUDQGWKHIRUPLGDEOHVL]HDQGUHVRXUFHVRI

6WDWH6WUHHWZHILQGWKHState Street FDVHPRVWFRPSDUDEOHWRDODUJHVHFXULWLHVRU

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   See People of the State of California, ex rel. Edmund G. Brown, Jr. v. State Street Corporation, et al.&DO6XSHU
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ILQDQFLDOIUDXGFDVHZKLFKW\SLFDOO\LQYROYHVFRPSOH[ILQDQFLDOGDWDDQGLPSOLFDWHVODUJH

QDWLRQDOFODVVHVUDWKHUWKDQDPRUHURXWLQHFRQVXPHUFODVVDFWLRQFDVH:HGLVWLQJXLVK

EHWZHHQVHFXULWLHVFODVVDFWLRQVRQWKHRQHKDQGDQGPRUHRUGLQDU\FODVVDFWLRQVRQWKH

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UHTXLUHGLQOLWLJDWLQJVHFXULWLHVEDVHGFDVHV

                    b) Relevant Geographic Markets

         ,WLVD[LRPDWLFWKDWWKHQDWLRQDOUDWHLVQRWPHUHO\DQ³DYHUDJH´RIWKHUDWHVFKDUJHG

DFURVVDOOOHJDOPDUNHWVLQWKH8QLWHG6WDWHV:KLOHWKDWDYHUDJHILJXUHKDVVRPHEHDULQJ

ZHGRQRWDGRSWDRQHVL]HILWVDOODSSURDFKKHUH5DWKHUIRURXUSXUSRVHVDQDWLRQDO

UDWHUHSUHVHQWVWKHDSSURSULDWHKRXUO\UDWHIRUFRXQVHOOLWLJDWLQJQDWLRQDODQGKLJKO\

FRPSOH[VHFXULWLHVRUILQDQFLDOIUDXGFDVHVZKHWKHULQDPXOWLGLVWULFWRUFODVVDFWLRQ

OLWLJDWLRQEDVHGRQZKDWILUPVOLWLJDWLQJLQWKDWVSDFHUHDVRQDEO\HDUQLQWKHLUKRPH

PDUNHW%HFDXVHWKHState Street FDVHLVPRVWDFFXUDWHO\YLHZHGDVDFRPSOH[VHFXULWLHV

DQGRUILQDQFLDOIUDXGFODVVDFWLRQZHWXUQQRZWRWKHTXHVWLRQRIwhichOHJDOPDUNHWV

SURYLGHKLJKTXDOLW\VHFXULWLHVOLWLJDWLRQVXFKWKDWWKH\WHQGWRLQIOXHQFHWKHQDWLRQDOUDWH

IRUWKHVHVHUYLFHV


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   :KLOHWKHVL]HRIDODZILUPLVRQHIDFWRUWRFRQVLGHULQGHWHUPLQLQJZKHWKHUWKHUDWHVFKDUJHGE\WKDWILUPDUH
UHDVRQDEOHLWLVQRWGHWHUPLQDWLYHLQRXUDQDO\VLVRIWKHUHDVRQDEOHQHVVRIUDWHVFKDUJHGE\ILUPVLQYROYHGLQWKLV
FDVH$VZDVWKHFDVHLQState StreetILUPVVSHFLDOL]LQJLQSODLQWLIIV¶FODVVDFWLRQFDVHVRIWHQRSHUDWHZLWKDVPDOOHU
DWWRUQH\WHDPWKDQWKDWRIDWUDGLWLRQDOODUJHODZILUP7KLVVXEVHWRISODLQWLIIVLGHILUPVKRZHYHUDUHRIWHQMXVWDV
VRSKLVWLFDWHGDQGFDSDEOHDVWKHLUODUJHILUPDGYHUVDULHVDQGWKXVDUHHQWLWOHGWRWKHVDPHFRPSHQVDWLRQDQGVKRXOG
QRWEHOLPLWHGE\WKHQXPEHURIDWWRUQH\VWKH\HPSOR\)RUWKLVUHDVRQZHFRQVLGHUEXWDUHQRWFRQVWUDLQHGE\WKH
UHVXOWVRIWKH1$/)$VXUYH\IRUZKLFKWKHPDMRULW\RIUHVSRQVHVUHFHLYHGZHUHIURPILUPVZLWKILIW\RUIHZHU
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ILUPVSOD\LQSURWHFWLQJFRQVXPHUVDQGWKHSXEOLFLQWKHVHFRPSOH[DUHDVSODLQWLIIV¶ILUPVDUHHQWLWOHGWRWKHVDPH
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         7KH3ODLQWLIIV¶ILUPVLQWKLVFDVHZHUHH[SHULHQFHGLQODUJHVFDOHOLWLJDWLRQDQG

VSHFLILFDOO\);OLWLJDWLRQDQGZRUNHGRXWRIIRXUPDMRUOHJDOPDUNHWV1HZ<RUN&LW\

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LQWKHVHIRXUOHJDOPDUNHWV

                    c) Survey Design Flaws and Challenges

         $VZLWKDQ\GDWDDQDO\VLVZHPXVWWDNHLQWRFRQVLGHUDWLRQWKHVWDWLVWLFDO

FKDOOHQJHVDQGIODZVLQWKHPHWKRGRORJ\WKURXJKZKLFKWKHGDWDLVFROOHFWHG

        )LUVWDQLPPHGLDWHFKDOOHQJHZHIDFHGLQFRQGXFWLQJRXUUHYLHZZDVWKHOLPLWHG

GDWDXSRQZKLFKWRJURXQGRXUDQDO\VHV'XHWRWKHSURSULHWDU\QDWXUHRIKRXUO\UDWHV

KRXUO\UDWHGDWDGHVLJQDWHGE\RQH¶VORFDWLRQDQGSRVLWLRQZLWKLQDILUPDUHQRWUHDGLO\

DYDLODEOHWRWKHSXEOLFLQJUHDWTXDQWLW\$VDUHVXOWSUDFWLWLRQHUVDQGFRXUWVDOLNHUHO\

KHDYLO\RQLQIRUPDWLRQUHSRUWHGRQORGHVWDUSHWLWLRQVDQGWKHLUHTXLYDOHQWVDQGUDWHV

DFFHSWHGE\FRXUWVLQFRPSDUDEOHDFWLRQV

         6HFRQGZHUHFRJQL]HWKHJUHDWSRWHQWLDOIRUELDVHVDPRQJWKRVHILUPVZKRVHOI

UHSRUWGDWDLQKRXUO\IHHVXUYH\V3UDFWLWLRQHUVZKRWDNHFRQWLQJHQWFDVHVDQGWKHUHIRUH

URXWLQHO\UHO\RQFRXUWVWRDSSURYHWKHLUKRXUO\UDWHVKDYHDVWURQJLQWHUHVWLQUHLQIRUFLQJ

VXEVWDQWLDOUDWHVDQGJLYHQWKHVFDUFLW\RIUHOLDEOHKRXUO\UDWHLQIRUPDWLRQWKHUHPD\EH



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    7KH1DWLRQDO/DZ-RXUQDOVXUYH\GLVFXVVHGinfraSURYLGHVGDWDEDVHGXSRQWKHVWDWHLQZKLFKWKHILUPKDVLWV
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DQLQFHQWLYHIRUODZILUPVSUHVHQWLQJIHHSHWLWLRQVWRDFRXUWWRVXEPLWDUWLILFLDOO\LQIODWHG

UDWHVWRUHLQIRUFHWKHUHDVRQDEOHQHVVRIWKHLURZQUDWHV

           $GGLWLRQDOO\DQGDVDGGUHVVHGHOVHZKHUHLQWKH5HSRUWZHSURFHHGZLWKFDXWLRQ

ZKHQFRQVLGHULQJUDWHVSUHYLRXVO\DSSURYHGLQRWKHUFODVVDFWLRQFDVHV7KRVHUDWHV

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IURPFDVHWRFDVHDUHRIWHQDUWLILFLDOO\VHOHFWHGE\ILUPVDWWKHIHHSHWLWLRQVWDJHEXWDUH

RWKHUZLVHLQVXODWHGIURPWKHVFUXWLQ\RIWKHOHJDOPDUNHW7KDWLVWKH\KDYHEHHQ

DSSURYHGE\MXGJHVUHYLHZLQJWKHORGHVWDUEXWQRWE\DFOLHQWWKDWKDVWKHRSWLRQRI

ORRNLQJHOVHZKHUHIRUOHJDOUHSUHVHQWDWLRQ7KXVVXFKUDWHVPD\EHKLJKHUWKDQWKRVH

FKDUJHGWRDFOLHQWSD\LQJRQDQKRXUO\EDVLVZKRKDVDQLQFHQWLYHWRQHJRWLDWHDORZHU

SULFH

           )LQDOO\HYHQUDWHVELOOHGWRDFOLHQWWKDWSD\VDILUPRQDQKRXUO\EDVLVDUHRIWHQ

QRWFROOHFWHGLQIXOODQGGRQRWUHSUHVHQWWKHUDWHDFWXDOO\UHDOL]HGLQDJLYHQFDVH7KXV

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                 $QDO\VLV

                    a)        Partners and Associates

         7KHORGHVWDUUHSRUWVRI3ODLQWLIIV¶&RXQVHOFKDUJHSDUWQHUVDWKRXUO\UDWHVUDQJLQJ

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         Comparison to other securities/financial fraud cases

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        7KHBONY Mellon FDVHZKLFKRYHUODSSHGZLWKState Street LQWLPHDQGVXEMHFW

PDWWHUZKLFKLQYROYHGVXEVWDQWLDOO\VLPLODUOHJDOFODLPVLQWKH);DUHQDDQGZKLFKZDV

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Countrywide Financial Corp. Securities Litigation1R&90530$1[ &'&DOIn re

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7KHIHHVDSSURYHGE\&RXUWVLQDOPRVWDOOVXFKPDWWHUVLQYROYLQJDFODVVDFWLRQFDVHRQ

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RZQUDWHVDQGWKH&RXUWDQGFOLHQWVFDQSXVKEDFNDVWKH\GHHPQHFHVVDU\,QWKDW

UHJDUGDPRUHWKDQPRGHVWRULQVRPHFDVHVVXEVWDQWLDOHOHYDWLRQLQUDWHVPD\QRWEH

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         National Data: Market-to-Market Comparisons

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        :KLOHLPSRUWDQWIRUGHWHUPLQLQJDEDVHOLQHUDQJHZHGRQRWJRRQWRDQDO\]HHDFK

ILUP¶VUDWHVDJDLQVWWKHUHSRUWHGWUHQGVLQWKHLUJHRJUDSKLFUHJLRQ/RFDOUDWHVSOD\D

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          b) Staff Attorneys

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HYDOXDWHGWKHUHDVRQDEOHQHVVRIVWDIIDWWRUQH\UDWHVDQGLQGRLQJVRKDYHZHLJKHG

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v. Los Angeles Cty. Sheriff's Dep't:/DW&'&DO6HSWKRXUO\UDWHVRIEHWZHHQ
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                  ii. Staff Attorneys’ Rates
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Retirement Sys. V. Lockheed Martin Corp)6XSSG6'1<

see also Matter of Trinity Indus., Inc.)GWK&LU³SULYDWH

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Disk Drive Prod. Antitrust Litig.supra,:/DWDFFHSWLQJVWDIIDQG

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Gilbert v. Abercrombie & Fitch, Co.supra,:/DWreport and

recommendation adopted:/DSSURYLQJUHTXHVWHGKRXUO\UDWHRI

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Trump Univ., LLC:/DW6'&DO$SUUHMHFWLQJFODLPHG

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DQGSHUIRUPHGVXEVWDQWLYHDQGYDOXDEOHZRUNZHOOEH\RQGVLPSOHGRFXPHQWUHYLHZ7KH

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        iii. “Contract” Attorneys

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       )RUWKHVHUHDVRQVWKH6SHFLDO0DVWHUGHFOLQHVWRWUHDWWKHFRQWUDFWDWWRUQH\VDVWKH

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CitigroupIn re Beacon Assocs. Litig1R&LY&0:/

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PRGHO*LYHQWKHFRQVLGHUDEOHHFRQRPLFEHQHILWVUHDOL]HGE\WKRVHILUPVWKDWKLUH

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VXFKDEHQHILWVKRXOGGLVWLQJXLVKWKHFRVWVRIFRQWUDFWDWWRUQH\VIURPWKRVHRIVWDII

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see also Charlebois v. Angels Baseball LP)6XSSG&'&DO

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WKDWERWKFRXUWVDIILUPHGIHHDZDUGVFKDUJLQJFRQWUDFWDWWRUQH\VDWWKHHTXLYDOHQWRI

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Georgia Highway Exp., Inc.)GWK&LUsee also Blum v.

Stenson867KHVHIDFWRUVKDYHOLWWOHLIDQ\DSSOLFDELOLW\WR

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       0LFKDHO%UDGOH\LVDVRORSUDFWLWLRQHUZKRSUDFWLFHVLQ4XLQF\0DVVDFKXVHWWV

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StreetFDVHZRUNLQJXQVXSHUYLVHGIURPKLVRZQRIILFHQRWDW7KRUQWRQ¶VRIILFHV0

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/LHII/DEDWRQRU7KRUQWRQ,QGHHG0LFKDHO%UDGOH\¶VRQO\FRQQHFWLRQZLWKDQ\RI

WKRVHILUPVRXWVLGHWKHState StreetFDVHLVKLVEURWKHUIdDWSS±

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SUHVHQWHGLQState Street%XWDILUPPXVWVWLOOFKDUJHUDWHVLQOLQHZLWKWKRVHRIDQ

DWWRUQH\RI³UHDVRQDEO\FRPSDUDEOHVNLOOH[SHULHQFHDQGUHSXWDWLRQ´Grendel’s Den,

Inc.)GDW

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              1.      Relevant Legal Background and Experience

       'XULQJKLVLQYROYHPHQWLQWKHState StreetFDVHIURPWR0LFKDHO

%UDGOH\RZQHGDQGRSHUDWHGKLVRZQODZILUPEDVHGLQ4XLQF\0DVVDFKXVHWWV3ULRUWR

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$WWRUQH\LQWKH1RUIRON&RXQW\'LVWULFW$WWRUQH\¶V2IILFHWKHQVSHQWDIHZ\HDUVSULRUWR

DVWKHH[HFXWLYHGLUHFWRURIWKH8QGHUJURXQG(FRQRP\7DVN)RUFHDWDVNIRUFH

FKDUJHGZLWKVFUXWLQL]LQJ0DVVDFKXVHWWVHPSOR\PHQWSUDFWLFHVWRLGHQWLI\URXWLQH

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YLRODWRUVRIVWDWHDQGIHGHUDOHPSOR\PHQWDQGZDJHODZVZKHUHKHRYHUVDZLQWHUDJHQF\

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FULPLQDOGHIHQVHSULQFLSDOO\UHSUHVHQWLQJRQWKHSULYDWHVLGHFOLHQWVLQ28,FDVHV

GRPHVWLFYLROHQFHFDVHVDQGRWKHUPDWWHUVLQGLVWULFWFRXUWDQGDVDFRXUWDSSRLQWHG

SXEOLFGHIHQGHUFOLHQWVLQDUDQJHRIFDVHVIURPPLQRUGULYLQJLQIUDFWLRQVWRVHULRXV

IHORQLHVVXFKDVDVVDXOWDQGEDWWHU\ZLWKDGDQJHURXVZHDSRQIdS

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FDVH1RUGLG%UDGOH\¶VZRUNDVDSURVHFXWRURUDVH[HFXWLYHGLUHFWRURIWKH8QGHUJURXQG

(FRQRP\7DVN)RUFHXQLTXHO\TXDOLI\KLPWRVFUXWLQL]HWKHLQWHUQDO);WUDGLQJUHFRUGV

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              2.     Contributions to the State Street Case

        %H\RQGWKLV0LFKDHO%UDGOH\¶VFRQWULEXWLRQVWRWKLVFDVHZHUHGLVWLQFWO\OLPLWHG

ZKHQFRPSDUHGWRWKHVWDIIDWWRUQH\VRIWKHRWKHUWZRILUPV7KHVXSHUILFLDOQDWXUHRI

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FRQGXFWLQJGRFXPHQWUHYLHZRQDIXOOWLPHEDVLVEXWDOVRIURPWKHFRQWUDFWDWWRUQH\V

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             3     AppropriateHourly Rate

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SULQFLSDOO\SDLG%UDGOH\DIODWIHHZLWKRXWUHJDUGWRDFWXDOKRXUVH[SHQGHGRQWKH

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                   i.         Records of Time for the Firms

                   1. Contemporaneity of the Firms’ Records

        &RXUWVLQWKH)LUVW&LUFXLWUHTXLUHWKDWDWWRUQH\VLQWHQGLQJWRVHHNIHHDZDUGV

PDLQWDLQUHDVRQDEO\GHWDLOHGFRQWHPSRUDQHRXVWLPHUHFRUGVWRVXSSRUWDIXWXUHIHH

DSSOLFDWLRQGay Officers Action League)GDW7KHFRQWHPSRUDQHRXV

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VXIILFLHQWO\GHWDLOHGVRWKDWWKHUHDVRQDEOHQHVVRIWKHIHHFODLPHGPD\EHFKDOOHQJHGE\

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Castaneda-Castillo v. Holder)GVW&LU³5HFRUGVWKDWLQFOXGHWKH

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WRPDLQWDLQFRQWHPSRUDQHRXVUHFRUGVFRQWULEXWHGWRLQDFFXUDFLHVDQGGLVFUHSDQFLHVLQUHFRUGVWKDWFDVW³VHULRXV
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EDVLVRIRWKHUVXIILFLHQWO\UHOLDEOHHYLGHQFHGHPRQVWUDWLQJWKHUHDVRQDEOHQHVVRID

UHTXHVWHGIHH

         ,QWKLVFDVHWKH6SHFLDO0DVWHUKDVIRXQGQRHYLGHQFHRIDODFNRI

FRQWHPSRUDQHLW\ZLWKUHVSHFWWRWKHUHFRUGVRI/DEDWRQ/LHIIDQGWKH(5,6$ODZILUPV

$OORIWKHVHILUPVNHSWWUDFNRIDWWRUQH\WLPHHOHFWURQLFDOO\DQGGHSRVLWLRQWHVWLPRQ\

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KRZPXFKWLPHZHZHUHSXWWLQJLQWRWKHFDVH´Id.S

            (a) Thornton’s Records

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IHHFDVHVVXFKDVWKHState StreetFDVH

      <RXJHWFRQWLQJHQF\\RXJHWYHU\VORSS\DERXWLWQRUPDOO\¶FDXVH\RXGRQ¶WKDYH
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                            ii. Reliability and Specificity

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MellonSOHDGLQJVDQGWUDQVFULSWVDQGLQRQHLQVWDQFHDFWXDOO\DWWHQGHGWKHVHWWOHPHQW

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                    (c) Thornton

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7KRUQWRQODZ\HUVZHUHUHDVRQDEOHDQGVXIILFLHQWO\UHOLDEOH

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VHUYHDVFODVVUHSUHVHQWDWLYHLWZDVUHDVRQDEOHIRUWKHILUPVWRUHDFKRXWWRILUPVRWKHU

WKDQ$756DWWKHLQLWLDOVWDJHVRIWKHFDVH)XUWKHUPRUH7KRUQWRQDWWRUQH\VOLNHLWV

&XVWRPHU&ODVVFROOHDJXHVELOOHGUHODWLYHO\IHZKRXUVIRUFRQVXOWLQJDQGRUUHYLHZLQJ

SOHDGLQJVDQGUXOLQJVLQUHODWHG);FDVHVPRVWQRWDEO\LQFRQQHFWLRQZLWKWKHBONY

Mellon FDVHLQZKLFKLWZDVDOVRLQYROYHG6XFKPLQLPDOH[SHQGLWXUHVRIWLPHDUH



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UHDVRQDEOHJLYHQWKHVLJQLILFDQFHRIWKHBONY Mellon GHFLVLRQDVZHOODVWKHVXEVWDQWLYH

DQGSURFHGXUDORYHUODSEHWZHHQWKHWZRFDVHV>(;@

                    (d) Michael Bradley

         :KLOH0LFKDHO%UDGOH\¶VLQYROYHPHQWUDLVHVVHYHUDOTXHVWLRQVIRUH[DPSOHDERXW

WKHYDOXHKHDGGHGWRWKHFDVHDQGWKHUHDVRQDEOHQHVVRIWKHUDWHVFKDUJHGRQKLVEHKDOI

ZHFRQFOXGHWKDWWKHWRWDOWLPH0LFKDHO%UDGOH\VSHQWZRUNLQJRQWKHState Street

GRFXPHQWUHYLHZKRXUVZDVUHDVRQDEOH$VGHVFULEHGHDUOLHU0LFKDHO%UDGOH\

SHUIRUPHGKLVUHYLHZODUJHO\GXULQJRIIKRXUVIURPKLVRZQSULYDWHSUDFWLFHW\SLFDOO\

ELOOLQJEHWZHHQRQHWRWZRRUWZRDQGDKDOIKRXUVSHUGD\RYHUDILIWHHQPRQWKSHULRG

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SHUIRUPHG³'RFXPHQW5HYLHZ´RQHDFKRIWKHVHGD\VSee id +RZHYHUEHFDXVH0LFKDHO

%UDGOH\RQO\UHYLHZHGGRFXPHQWVLQWKH&DWDO\VWV\VWHP³'RFXPHQW5HYLHZ´

DGHTXDWHO\GHVFULEHVWKHWDVNVSHUIRUPHGRQHDFKRIWKRVHGD\V

                    (e) ERISA Firms

         7KHVL[(5,6$ILUPVFROOHFWLYHO\ELOOHGMXVWRYHUKRXUVOHVVWKDQDQ\

VLQJOH&XVWRPHU&ODVVILUP:KLOH5LFKDUGVRQ3DWULFN:HVWEURRN	%ULFNPDQ)HLQEHUJ

&DPSEHOO	=DFNDQGWRVRPHH[WHQW%HLQV$[HOURGKDGDPRUHOLPLWHGUROHWKHYDOXH

FRQWULEXWHGE\WKHRWKHUWKUHH(5,6$ILUPVIDUH[FHHGHGWKHLUVWUDLJKWKRXUWDOO\(DFKRI

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              ,QUHYLHZLQJWKHKDQGZULWWHQDQGHPDLOWLPHUHFRUGVVXEPLWWHGE\0LFKDHO%UDGOH\LQVXSSRUWRIKLV
WLPHWKH6SHFLDO0DVWHUZDVQRWDEOHWRLQGHSHQGHQWO\YHULI\WKHH[DFWWRWDORIKRXUVUHSRUWHGRQWKH)HH
3HWLWLRQ+RZHYHULQUHYLHZLQJWKHGDLO\DQGZHHNO\WRWDOV0LFKDHO%UDGOH\HPDLOHGWR(YDQ+RIIPDQDW7KRUQWRQ
RQDSHULRGLFEDVLVWKH6SHFLDO0DVWHUFRQILUPHGWKDWWKRVHKRXUVWRWDOHGDWOHDVWKRXUV:HILQGDQ\GLIIHUHQFH
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WKHILUPVSOD\HGDVLJQLILFDQWUROH0F7LJXH/DZOHGE\%ULDQ0F7LJXHILOHG

WKHHenriquez &RPSODLQWLQLWLDWLQJWKH(5,6$VXLWDQGUHSUHVHQWHGIRXURIWKHQDPHG

SODLQWLIIV.HOOHU5RKUEDFNOHGE\/\QQ6DUNRILOHGWKHAndover &RPSODLQW

UHSUHVHQWHGWZRRIWKH(5,6$QDPHGSODLQWLIIVDQGHQJDJHGLQH[WHQVLYHGLDORJXHZLWK

WKH'2/=XFNHUPDQ6SDHGHUOHGE\&DUO.UDYLW]DOVRLQWHUIDFHGZLWK'2/

DQGFRQWULEXWHGWRWKH(5,6$VSHFLILFVWUDWHJ\>(;@>(;@>(;@$SDUW

IURPVSHQGLQJDUHDVRQDEOHQXPEHURIKRXUV0F7LJXH/DZ.HOOHU5RKUEDFNDQG

=XFNHUPDQ6SDHGHUDSSURSULDWHO\GHOHJDWHGZRUNDPRQJLWVVHQLRUDQGMXQLRUOHYHO

DWWRUQH\VDQGPDGHEHVWXVHRIWKHLUUHVSHFWLYHVNLOOVHWV

         /LNHWKH&XVWRPHU&ODVVILUPVWKH(5,6$ILUPVDOVRUHFRUGHGWLPHIRU

SHULRGLFDOO\UHYLHZLQJSOHDGLQJVGRFNHWHQWULHVDQGGHFLVLRQVLQUHODWHG);OLWLJDWLRQV

$JDLQVXFKDQH[SHQGLWXUHRIWLPHDQGHIIRUWZDVZDUUDQWHGLQOLJKWRIWKHQRYHOW\RIWKH

);EDVHGOHJDOFODLPVDQGFKDOOHQJHVDQGWKHFRQFXUUHQWQDWXUHRIWKRVHFDVHVZLWKWKH

State Street FDVH,QWKLVLQVWDQFHDWKRURXJKUHYLHZRIFXUUHQWDQGSHQGLQJ);FDVHVZDV

JRRGODZ\HULQJDQGZHGRQRWWDNHLVVXHZLWKWKRVHHQWULHV

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   )RU0F7LJXH/DZ)LUP%ULDQ0F7LJXHDQG-DPHV0RRUHDQG5HJLQD0DUNH\DIWHU$SULOKDQGOHGFDVH
VWUDWHJ\FRQIHUHQFHVZLWKFRFRXQVHODQGVXEVWDQWLYHZRUNRQWKHPHULWVRIWKHXQGHUO\LQJFDVHDVZHOODVDSSURYDO
RIWKHVHWWOHPHQWSee 0F7LJXH/DZ7LPH5HFRUGV>(;@2WKHUDWWRUQH\VDWWKHILUPSDUWLFLSDWHGLQUHVHDUFK
DQGGUDIWLQJHIIRUWVDQG'DYLG%RQGDYDOXDEOHQRQODZ\HUDWWKHILUPFRQGXFWHGLPSRUWDQWUHYLHZRIGRFNHWVDQG
SOHDGLQJVLQRWKHU);OLWLJDWLRQV)RU.HOOHU5RKUEDFN/DXUD*HUEHU'DYLG&RSOH\DQG/\QQ6DUNRKDGWKH
JUHDWHVWLQYROYHPHQWLQILOLQJWKHAndover ComplaintDQGMRLQLQJWKHRWKHUILUPVLQOLWLJDWLQJWKHState Street FDVH
ZLWK&RSOH\KDYLQJJUHDWHVWLQYROYHPHQWGXULQJWKHQHJRWLDWLRQRIWKHWHUPVKHHWDQGILQDOL]DWLRQRIWKHVHWWOHPHQW
DQG*HUEHUH[SHQGLQJWKHPDMRULW\RIKHUKRXUVFRPPXQLFDWLQJZLWKWKHILUP¶VWZRQDPHGUHSUHVHQWDWLYHV0U
6WDQJHODQGDQG7KH$QGRYHU&RPSDQLHVLQWKHHDUO\VWDJHVRIWKHOLWLJDWLRQ>(;@)LQDOO\IRU
=XFNHUPDQ6SDHGHU$GDP)RWLDGHVDQG$IWRQ+RGJHZHUHKHDYLO\LQYROYHGLQUHYLHZLQJGLVFRYHU\DQG
FRRUGLQDWLQJGRFXPHQWUHYLHZDPRQJ(5,6$&RXQVHO'ZLJKW%RVWZLFNWKHILUP¶V&KDLUPDQSDUWLFLSDWHGZLWK
&DUO.UDYLW]LQKDQGOLQJGLVFXVVLRQVZLWKFRFRXQVHODQGRSSRVLQJFRXQVHODQGGHWHUPLQLQJVWUDWHJ\IRUWKHFDVH
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        I'RXEOH&RXQWLQJRI6WDII$WWRUQH\+RXUV

        7KHKRWEXWWRQLVVXHZKLFKWULJJHUHGWKH6SHFLDO0DVWHU¶VLQYHVWLJDWLRQZDVWKH

GRXEOHFRXQWLQJRIVWDIIDWWRUQH\6$KRXUVXQFRYHUHGE\WKHBoston GlobeLQ

1RYHPEHU,QWHUQDOUHYLHZVRIWKHLQGLYLGXDOIHHSHWLWLRQVFRQGXFWHGE\/DEDWRQ

/LHIIDQG7KRUQWRQIROORZLQJWKHGlobeLQTXLU\UHYHDOHGWKDWVWDIIDWWRUQH\VKDGEHHQ

OLVWHGRQERWKWKH7KRUQWRQDQG/DEDWRQORGHVWDUUHSRUWVDQGVL[VWDIIDWWRUQH\VDSSHDUHG

RQERWK7KRUQWRQ¶VDQG/LHII¶VUHSRUWV7KHUHVXOWRIWKHGRXEOHFRXQWLQJZDVD

VLJQLILFDQWRYHUVWDWHPHQWRIWKHFRPELQHGDWWRUQH\WLPHUHSRUWHGLQWKH/RGHVWDU)HH

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RYHUVWDWHGRIWKHUHSRUWHGORGHVWDURIZDVRYHUVWDWHG

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ZDVGLVFORVHGWRWKH&RXUWLQ'DYLG*ROGVPLWK¶V1RYHPEHUOHWWHUId

        i. Causes of the Double-Counting Are Not Explained in Goldsmith’s Letter

        $VWRWKHFDXVHRIWKHGRXEOHFRXQWLQJWKHRQO\H[SODQDWLRQRIIHUHGE\*ROGVPLWK

LQKLVOHWWHUZDVWKDWWKHGRXEOHFRXQWLQJRFFXUUHGGXHWR³LQDGYHUWHQWHUURUV´See

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³HIIRUWVZHUHPDGHWRVKDUHFRVWVDPRQJFRXQVHO´VXFKWKDW7KRUQWRQERUH³ILQDQFLDO

UHVSRQVLELOLW\IRUFHUWDLQ6$VORFDWHGDW/DEDWRQ6XFKDURZ¶VDQG/LHII&DEUDVHU¶V

RIILFHV´id., QRPHQWLRQLVPDGHLQWKHOHWWHURIWKHXQXVXDODJUHHPHQWWR³DOORFDWH´

SDUWLFXODUVWDIIDWWRUQH\VWR7KRUQWRQRURIWKHIDFWWKDW7KRUQWRQGHFLGHGWKDWWKLVFRVW

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   $VSDUWRILWVPDQGDWHWKH6SHFLDO0DVWHUUHYLHZHGYROXPLQRXVGRFXPHQWDWLRQSURGXFHGE\WKHILUPVLQVXSSRUW
RIWKHLUUHVSHFWLYHORGHVWDUILJXUHV7KH6SHFLDO0DVWHUFRQILUPHGWKDWWKHWRWDOKRXUVDQGORGHVWDUFDOFXODWLRQVZHUH
LQIDFWDFFXUDWH

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VKDULQJDUUDQJHPHQWHQWLWOHGLWWRFODLPWKHWLPHELOOHGE\WKHDOORFDWHGVWDIIDWWRUQH\VLQ

LWVRZQORGHVWDU

      ,WLVFOHDUKRZHYHUWKDWVRPHDWWRUQH\VDW/DEDWRQ/LHIIDQG7KRUQWRQ

LQGHSHQGHQWO\DVVXPHGWKDW7KRUQWRQZRXOGFODLPWKH6$WLPHRQLWVORGHVWDUSee e.g

*%UDGOH\'HSS³:HMXVWDVVXPHG,MXVWDVVXPHGZKHUHWKHORFDO

FRXQVHOZHUHRQWKHSDSHUVZH¶UHOLWLJDWLQJWKHFDVHZH¶UHSXWWLQJWKHIHHXSZK\

ZRXOGQ¶WZHSXWWKHSHRSOHXSWKDWZHZHUHSD\LQJIRU"´>(;@5RJHUV'HS

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SHWLWLRQ@7KH\ZHUHSD\LQJIRULWXSIURQW,DVVXPHWKH\ZDQWHGWRJHWSDLGRQWKH

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ZRUNHGE\/DEDWRQRU/LHIIVWDIIDWWRUQH\VDQGWKLVDUUDQJHPHQWZDVVRXQXVXDODQG

RXWVLGHWKHQRUPWKDWKDGWKHUHEHHQDQDJUHHPHQWLWFHUWDLQO\VKRXOGKDYHEHHQ

FDSWXUHGRUUHIOHFWHGLQDIRUPDOFRQWUDFWRUDWOHDVWDQLQIRUPDOZULWLQJ1HLWKHUZDVWKH

FDVHKHUHDQGLWZDVWKLVODFNRIDQH[SOLFLWRUIRUPDOL]HGDJUHHPHQWWRDOORZWKH/DEDWRQ

DQG/LHIIVWDIIDWWRUQH\VWREHLQFOXGHGRQ7KRUQWRQ¶VIHHSHWLWLRQWKDWFRQWULEXWHGJUHDWO\

WRWKHGRXEOHFRXQWLQJRIWKHVWDIIDWWRUQH\WLPH

      'HVSLWHWKLVWKHUHLVVXIILFLHQWHYLGHQFHLQWKHUHFRUGWRILQGWKDWDWOHDVWVRPH

DWWRUQH\VDWERWK/DEDWRQDQG/LHIIEHOLHYHGWKDWWKHVWDIIDWWRUQH\VSDLGIRUDQGDOORFDWHG



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WR7KRUQWRQZRXOGEHLQFOXGHGRQ7KRUQWRQ¶VORGHVWDUSHWLWLRQDQGWKDWWKHLQFOXVLRQRI

WKHVHVDPHVWDIIDWWRUQH\VE\/DEDWRQDQG/LHIIRQWKHLURZQIHHSHWLWLRQVZDVVLPSO\D

PLVWDNHWKDWJUHZRXWRIDFRPELQDWLRQRIGLIIHUHQWFLUFXPVWDQFHV+RZHYHUEHFDXVHWKH

RFFXUUHQFHZDVVRXQXVXDODQGQRQHRIWKLVZDVH[SODLQHGLQWKH*ROGVPLWKOHWWHUWRWKH

&RXUWWKLVVXEMHFWEHDUVH[WHQVLYHH[DPLQDWLRQDQGGLVFXVVLRQ

        ii. The Allocation of Staff Attorneys to Thornton

        7KHVWDWHGSXUSRVHRIWKHVWDIIDWWRUQH\DOORFDWLRQDUUDQJHPHQWZDVWRVKDUHWKH

FRVWDQGULVNEXUGHQVRIWKHOLWLJDWLRQHTXDOO\DPRQJWKHWKUHH&XVWRPHU&ODVVODZILUPV

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/DEDWRQDQG/LHIIHDFKDVVLJQHGILYHVWDIIDWWRUQH\VWR7KRUQWRQVRWKDWHDFKILUPHQGHG

XSEHDULQJWKHFRVWRIDSSUR[LPDWHO\WHQVWDIIDWWRUQH\VQRWRQO\GLGWKLVDUUDQJHPHQW

SURYLGHDPHDQVRIHTXDOL]LQJWKHFRVWVDQGEXUGHQVEXWDOVRDV*DUUHWW%UDGOH\

PDQDJLQJSDUWQHURI7KRUQWRQFDQGLGO\DGPLWWHGLWZDV³WKHEHVWZD\WRMDFNXSWKHORDG

VWDU>VLF@WKHEHVWZD\IRUXV>7KRUQWRQ@WRLQFUHDVHRXUORDGVWDU>VLF@DQGPDNHLW

FRPSDUDEOHWRWKHRWKHUWZRILUPV,ZDVDEVROXWHO\FRQFHUQHGDERXW7KRUQWRQ¶VORDG

VWDU>VLF@YLVjYLVWKHRWKHUWZRILUPV´*%UDGOH\'HSS>(;@


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  $IWHUOHDUQLQJRIWKHGRXEOHFRXQWLQJ&KLSORFNHPDLOHG*ROGVPLWKH[SODLQLQJKRZWKHGRXEOHFRXQWLQJ
RFFXUUHG+LVHPDLOFRQILUPVWKDWWZR/LHIIVWDIIDWWRUQH\V5DFKHO:LQWWHUOHDQG$QQ7HQ(\FN³should not have
been included in [Lieff]’s lodestar at all´DQGWKHQGHVFULEHGKRZWKHLUWLPHDVZHOODVWLPHIRU&KULV-RUGDQDQG
-RQDWKDQ=DXOZDV³LQDGYHUWHQWO\´LQFOXGHGZLWKWKHWLPHRIRWKHU/LHIIUHYLHZHUVEHFDXVH/LHII³QHJOHFWHGWR
H[FOXGHWLPHHQWULHV´IRUDVSHFLILFWLPHSHULRG7/)667&KLSORFNWR*ROGVPLWK>(;@
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KRXUVRIERWK/DEDWRQDQG/LHIIVWDIIDWWRUQH\V³PLVWDNHQO\ZHUH>@UHSRUWHG´LQWKRVHILUPV¶UHVSHFWLYHORGHVWDUV
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        7KHDOORFDWLRQRIVWDIIDWWRUQH\VZDVHIIHFWXDWHGWKURXJKQRUPDOELOOLQJLQYRLFLQJ

SURFHGXUHVZKLFKZDVODUJHO\KDQGOHGE\WKRVHZKRNQHZQRWKLQJRIWKHGHWDLOVRIWKH

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WR.LUWL>'XJDU@WRZRUNRXWZLWKRXUDFFRXQWLQJGHSDUWPHQWFUHDWLQJDQLQYRLFHDQG

VHQGLQJLWRIIWR7KRUQWRQVRWKDWWKRVHKRXUVDUHSURSHUO\DFFRXQWHGIRUDQGSDLGIRU´

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7KRUQWRQPRQWKO\IRUWKHKRXUVZRUNHGE\WKHDOORFDWHGVWDIIDWWRUQH\VZLWKRXW

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VWDIIDWWRUQH\VLQDVLPLODUPDQQHULQDSSUR[LPDWHO\WHQRWKHUFDVHVEXWWKDWWKHVWDII

DWWRUQH\VZRXOGEHOLVWHGRQ/DEDWRQ¶VIHHSHWLWLRQnotRQWKHRWKHUILUPV¶IHHSHWLWLRQV

³QLQHW\SHUFHQWRIWKHWLPH´Id.SS±,QWKHRWKHUWHQSHUFHQWRIWKHFDVHV

WKHVKDUHGVWDIIDWWRUQH\VZRXOGHQWHUWKHLUWLPHGLUHFWO\LQWRWKHRWKHUILUP¶VGDWDEDVH

DQGQHYHUUHSRUWLWWR/DEDWRQKHQFH/DEDWRQGLGQRWOLVWWKHPRQLQLWVIHHSHWLWLRQId.

DWSS±0LFKDHO5RJHUVWHVWLILHGWKDWLWZDVPRUHFRPPRQWRVLPSO\

LQYRLFHWKHRWKHUILUPIRUWKHVKDUHGFRVWVWDIIDWWRUQH\VJHWUHLPEXUVHGIRUWKHFRVWDQG

WKHQDWWKHHQGLIWKHUHZDVDVXFFHVVIXOUHVROXWLRQWRWKHFDVHDOORFDWHDVKDUHRIWKHIHHV

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PLQFKDUJHRI
DFFRXQWLQJUHFRUGVPDUNHWLQJZRUGSURFHVVLQJDOOWKHDGPLQLVWUDWLYHIXQFWLRQVZLWKLQWKHILUP´Id.,S

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WRWKHRWKHUILUPZKLFKUHIOHFWHGZKDWWKDWILUPPLJKWKDYHJRWWHQLILWKDGELOOHG

WKHPVHOYHV5RJHUV'HSSS>(;@6XIILFHLWWRVD\WKDW

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DUWLILFHRI³DOORFDWLQJ´WKHLQGLYLGXDOODZ\HUVWR7KRUQWRQDQG7KRUQWRQSXWWLQJWKRVH

ODZ\HUVRQLWVORGHVWDUUHSRUWDVLIWKHVWDIIDWWRUQH\VZHUH7KRUQWRQ¶VRZQODZ\HUVWKH

GRXEOHFRXQWLQJZRXOGQRWKDYHRFFXUUHG

       iii. Failure to Detect the Double-Counting Error

       $VQRWHG*ROGVPLWK¶V1RYHPEHUOHWWHUPDNHVQRDWWHPSWWRH[SODLQZK\WKH

GRXEOHFRXQWLQJHUURURFFXUUHGQRUZK\LWZDVQRWFDXJKWEHIRUHWKH)HH3HWLWLRQZDV

ILOHG/DEDWRQ/LHIIDQG7KRUQWRQKDGDJUHHGLQ0D\RI³WRH[FKDQJHRQD

TXDUWHUO\EDVLVRXUWKHQFXUUHQWORGHVWDUUHSRUWVVKRZLQJTXDUWHUO\DQGDJJUHJDWHELOOLQJV

LQWKLVPDWWHU´7/)667.HOOHU/HWWHU>(;@7KHUHLVQR

HYLGHQFHKRZHYHUWKDWWKHWKUHHILUPVHYHUIROORZHGWKDWDJUHHPHQW+DGWKH\GRQHVR

WKH³LQDGYHUWHQWPLVWDNH´RIGRXEOHFRXQWLQJZRXOGDOPRVWFHUWDLQO\KDYHEHHQGHWHFWHG

       7KH6SHFLDO0DVWHUILQGVWKDWRQHPDMRUUHDVRQWKDWWKHGRXEOHFRXQWLQJHUURUZDV

QRWGHWHFWHGLV/DEDWRQ¶VFRPSDUWPHQWDOL]DWLRQRILWVOLWLJDWLRQSUDFWLFHZKLFKUHVXOWHGLQ

WKHSUHSDUDWLRQRIWKHIHHSHWLWLRQE\D/DEDWRQSDUWQHU1LFROH=HLVVZKRZDVQRW

LQYROYHGLQWKHOLWLJDWLRQDQGNQHZQRWKLQJRIWKH6$FRVWVKDULQJDUUDQJHPHQWEXWZDV

UHVSRQVLEOHIRUSUHSDULQJWKHVHWWOHPHQWDQGIHHSHWLWLRQGRFXPHQWV=HLVVWHVWLILHGVKH

ZDVQRWLQIRUPHGRIDQ\DJUHHPHQWIRUORDQLQJ/LHIIRU/DEDWRQVWDIIDWWRUQH\VWR

7KRUQWRQDQGWKHUHIRUHGLGQRWKLQJWRYHULI\WKHDFFXUDF\RIDQ\KRXUVVXEPLWWHGE\WKH

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       1RUGLG=HLVVFLUFXODWHDPRQJWKHFODVVILUPVWKHLQGLYLGXDOGHFODUDWLRQVRU

ORGHVWDUUHSRUWV=HLVV'HSSS³,VHQWRXWWKHWHPSODWHWRDOO

WKHILUPVDQGDVNHGWKHPWRFRPSOHWHWKHWHPSODWHVDQGVHQGPHGUDIWV,W¶VQRWWKH

SUDFWLFHWRH[FKDQJHWLPHUHFRUGV>DPRQJWKHILUPV@´>(;@$VDFRQVHTXHQFH

QHLWKHU/LHIIQRUDQ\RIWKH(5,6$ILUPVHYHUVDZ/DEDWRQ¶VRU7KRUQWRQ¶VIHHSHWLWLRQV

SULRUWRWKHLUEHLQJILOHGZLWKWKH&RXUWDQGWKHUHIRUHZHUHQRWLQDSRVLWLRQWRFDWFKWKH

GRXEOHELOOLQJ7KH(5,6$ILUPVGLGQRWXWLOL]HVWDIIDWWRUQH\VLQWKLVFDVHDQGDV

*ROGVPLWKQRWHGLQKLV1RYHPEHUOHWWHUWKH(5,6$ILUPV¶ORGHVWDUVZHUHXQDIIHFWHG

E\WKHGRXEOHFRXQWLQJ

       ,IWKH1RYHPEHUOHWWHUKDGEHHQIXOO\H[SODQDWRU\LWZRXOGKDYHDQGVKRXOG

KDYHSURYLGHGWKH&RXUWZLWKWKHGHWDLOVRIWKHFRVWVKDULQJVWDIIDWWRUQH\DOORFDWLRQ

DJUHHPHQWLQFOXGLQJWKHUHDVRQVZK\WKHGRXEOHFRXQWLQJPLVWDNHZDVQRWFDXJKW

EHIRUHWKH)HH3HWLWLRQZDVILOHG

       iv. Thornton’s Higher Billing Rates for Staff Attorneys Not Explained

       7KH*ROGVPLWKOHWWHUVLPLODUO\GRHVQRWH[SODLQKRZRUZK\WKHKRXUO\UDWHVDW

ZKLFK7KRUQWRQELOOHGWKHVKDUHGFRVWVWDIIDWWRUQH\VZHUHUDWHVhigherWKDQWKHUDWHVDW

ZKLFKWKHVDPHVWDIIDWWRUQH\VZHUHELOOHGE\/DEDWRQDQG/LHII$VLQGLFDWHGDERYH

7KRUQWRQELOOHGDOORIWKHVWDIIDWWRUQH\VRQLWVORGHVWDUUHSRUWDWSHUKRXUSee

7KRUQWRQ/RGHVWDU5HSRUWDW'NW1R>(;@/DEDWRQELOOHGDOOEXWWKUHHRI

WKHVKDUHGFRVWDWWRUQH\VDWUDWHVUDQJLQJIURPWRSHUKRXUPRVWLQWKHWR




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UDQJHIRXURIWKHVL[/LHIIVWDIIDWWRUQH\VZHUHELOOHGDWSHUKRXUWKHRWKHU

WZRZHUHELOOHGDWDKLJKHUUDWHKRXUSee/LHII/RGHVWDU5HSRUWDW'NW1R

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1RYHPEHUOHWWHU*ROGVPLWKVWDWHGWKH\PHUHO\UHPRYHGWKHGXSOLFDWLYHWLPHDQG

³>Z@KHQDJLYHQ6$KDGGLIIHUHQWKRXUO\ELOOLQJUDWHZHUHPRYHGWKHWLPHELOOHGDWWKH

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       0LVUHSUHVHQWDWLRQVLQ7KRUQWRQ)HH3HWLWLRQ

       D/DEDWRQ7HPSODWH,VVXHV

       $VLQGLFDWHGWKHLQGLYLGXDOIHHSHWLWLRQVRIWKH&XVWRPHU&ODVVDQG(5,6$ODZ

ILUPVLQFRUSRUDWHGDQDUUDWLYHSURYLGHGWRWKHPLQD³WHPSODWH´SUHSDUHGE\/DEDWRQ¶V


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VHWWOHPHQWFRXQVHO1LFROH=HLVV6HYHUDOODZILUPVPRGLILHGWKDWWHPSODWHWRSURYLGHWKH

&RXUWZLWKDFFXUDWHLQIRUPDWLRQFRQFHUQLQJWKHLUSDUWLFXODUILUPVSee e.g., 0F7LJXH

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GLGQRWGRVRLQVWHDGLQSHWLWLRQLQJIRUIHHVIRU7KRUQWRQ%UDGOH\DGRSWHGZLWKRXWDQ\

FKDQJHVWKHWHPSODWHSUHSDUHGE\/DEDWRQ8QIRUWXQDWHO\WKHQDUUDWLYHLQ%UDGOH\¶V

VZRUQ'HFODUDWLRQZDVDIILUPDWLYHO\IDOVHDQGPLVOHDGLQJLQDQXPEHURILPSRUWDQW

UHVSHFWVDQGWKHVHPLVOHDGLQJVWDWHPHQWVZHUHDFRQWULEXWLQJFDXVHRIWKHGRXEOH

FRXQWLQJHUURUV

           ,QKLV'HFODUDWLRQLQVXSSRUWRI7KRUQWRQ¶VLQGLYLGXDOIHHSHWLWLRQ*DUUHWW%UDGOH\

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          DPRXQWRIWLPHVSHQWE\HDFKDWWRUQH\DQGSURIHVVLRQDOVXSSRUWVWDIIPHPEHU
          RIP\ILUPZKRZDVLQYROYHGLQWKHSURVHFXWLRQRIWKH&ODVV$FWLRQVDQGWKH
          ORGHVWDUFDOFXODWLRQEDVHGRQP\ILUP¶VFXUUHQWELOOLQJUDWHV)RUSHUVRQQHO
          ZKRDUHQRORQJHUHPSOR\HGE\P\ILUPWKHORGHVWDUFDOFXODWLRQLVEDVHGXSRQ
          WKHELOOLQJUDWHVIRUVXFKSHUVRQQHOLQKLVRUKHUILQDO\HDURIHPSOR\PHQWE\
          P\ILUP7KHVFKHGXOHZDVSUHSDUHGIURPFRQWHPSRUDQHRXVGDLO\WLPHUHFRUGV
          UHJXODUO\SUHSDUHGDQGPDLQWDLQHGE\P\ILUPZKLFKDUHDYDLODEOHDWWKH
          UHTXHVWRIWKH&RXUW7LPHH[SHQGHGLQSUHSDULQJWKLVDSSOLFDWLRQIRUIHHVDQG
          SD\PHQWRIH[SHQVHVKDVQRWEHHQLQFOXGHGLQWKLVUHTXHVW
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          7KHKRXUO\UDWHVIRUWKHDWWRUQH\VDQGSURIHVVLRQDOVXSSRUWVWDIILQP\ILUP
          LQFOXGHGLQ([KLELW$DUHWKHVDPHDVP\ILUP¶VUHJXODUUDWHVFKDUJHGIRUWKHLU
          VHUYLFHZKLFKKDYHEHHQDFFHSWHGLQRWKHUFRPSOH[FODVVDFWLRQV
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           3DUDJUDSKVDQGLPSOLFLWO\LQFRUSRUDWHVRPHRIWKHVHVWDWHPHQWV

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      7KHVHSDUDJUDSKVVWDWH

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      ([KLELW$WR%UDGOH\¶V'HFODUDWLRQLGHQWLILHVVWDIIDWWRUQH\V6$V7KHWRWDO

FRPSHQVDWLRQUHTXHVWHGRQWKH7KRUQWRQSHWLWLRQIRUWKHVHVWDIIDWWRUQH\VLV

i.e.,PRUHWKDQRI7KRUQWRQ¶VWRWDOORGHVWDUDWDQKRXUO\UDWHRIIRUHDFKVWDII

DWWRUQH\UHIHUUHGWRDV³6$V´H[FHSW0LFKDHO%UDGOH\ZKRLVDOVRGHVLJQDWHGDVDQ

³6$´EXWLVELOOHGDW$GGLWLRQDOFRPSHQVDWLRQUHTXHVWHGIRUIRXU7KRUQWRQ

SDUWQHUVDQGRQHDVVRFLDWHWRWDOV

      *DUUHWW%UDGOH\¶V'HFODUDWLRQFRQWDLQVQXPHURXVXQWUXHVWDWHPHQWV

            x Exhibit A is a summary of time spent by attorneys and professional support
               staff members “of my firm.”1RQHRIWKH6$VZHUHHPSOR\HGE\7KRUQWRQ
               +HDULQJ7US>(;@*%UDGOH\'HSSS
               >(;@
       
            x The billing rates for the SAs are “based on my firm’s current billing rates.”
               7KRUQWRQGLGQRWPDLQWDLQ³FXUUHQWELOOLQJUDWHV´IRU6$VRURWKHUDWWRUQH\V
               OLVWHGRQLWVORGHVWDUFDOFXODWLRQLQ([KLELW$+HDULQJ7US
               >(;@*%UDGOH\'HSSS±>(;
               @7KRUQWRQ/DZ)LUP//3¶V-XQH5HVSRQVHVWR6SHFLDO
               0DVWHU¶V)LUVW6HWRI,QWHUURJDWRULHV5HVSRQVH1R>(;@see also
               ([KLELW$WR'NW1R>(;@

            x For personnel “who are no longer employed,” the lodestar is based on
               their rates for the “final year of employment.”$JDLQQRQHRIWKH6$VZHUH
               HPSOR\HGE\7KRUQWRQ+HDULQJ7US>(;@
       
            x The schedule was prepared from “contemporaneous daily time records
               regularly prepared and maintained by my firm.´7KRUQWRQGLGQRWSUHSDUH
               RUPDLQWDLQGDLO\WLPHUHFRUGVRIWKHKRXUVZRUNHGE\WKH6$VOLVWHGRQLWV
       
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      7KHWRWDOQXPEHURIKRXUVH[SHQGHGRQWKLVOLWLJDWLRQE\P\ILUPGXULQJWKH7LPH3HULRGLV
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                PDLQWDLQVXIILFLHQWO\UHOLDEOHFRQWHPSRUDQHRXVWLPHUHFRUGVIRUDOORIWKH
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                /&+%¶VFKDUWZKHUHWKHUHZHUHPHQWLRQVRIGLVFXVVLRQVZLWKHLWKHUµFR
                FRXQVHO¶µWHDP¶RURIFRXUVH0LNH/HVVHUDQGRU037*-%´>(;
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             x The hourly rates “are the same as my firm’s regular rates charged for their
                services.”7KRUQWRQGLGQRWPDLQWDLQ³UHJXODUUDWHV´IRUWKH6$VOLVWHGRQ
                LWVORGHVWDUUHSRUW+HDULQJ7US>(;@
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             x These rates “have been accepted in other complex class actions.”:LWKWKH
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                DWWRUQH\VOLVWHGRQWKHORGHVWDULQFOXGLQJ0LFKDHO%UDGOH\KDGQRWEHHQ
                DFFHSWHGLQRWKHUFRPSOH[FODVVDFWLRQV*%UDGOH\'HSS
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       *DUUHWW%UDGOH\DGPLWWHGERWKLQGHSRVLWLRQDQGGXULQJWKH0DUFK

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/HVVHURIKLVILUPZLWKWKHDVVLVWDQFHRI(YDQ+RIIPDQGUDIWHGKLV'HFODUDWLRQDQGWKH\

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DORQJZLWKRXUDFFRXQWLQJGHSDUWPHQWDQG$QDVWKDVLDSXWLQWKHH[SHQVHVDQGthen

mostly Mike Lesser and then Garrett Bradley, Mike Thornton and myself all reviewed´

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       i. Garrett Bradley’s Declaration Violated Fed. R. Civ. P. 11

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      LWDQDWWRUQH\RUXQUHSUHVHQWHGSDUW\FHUWLILHVWKDWWRWKHEHVWRIWKHSHUVRQ¶V
      NQRZOHGJHLQIRUPDWLRQDQGEHOLHIIRUPHGDIWHUDQLQTXLU\UHDVRQDEOHXQGHUWKH
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H[FHSWLQ³H[FHSWLRQDOFLUFXPVWDQFHV´)HG5&LY3F+HUHWKHUHDUHQRH[FHSWLRQDOFLUFXPVWDQFHV
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RIWKHORGHVWDUDQGDSSURSULDWHO\UHIOHFWVWKHVHULRXVQHVVRIDQXQWUXHVZRUQVWDWHPHQW

PDGHWRDFRXUWE\DQDWWRUQH\LQFRQQHFWLRQZLWKDQDSSOLFDWLRQIRUPLOOLRQVRIGROODUVLQ

DWWRUQH\V¶IHHV

            ii.        Garrett Bradley’s Declaration in Support of TLF’s Fee Request Violates
                       Mass. R. Prof. C. 3.3(a) and 8.4(c)

                     *DUUHWW%UDGOH\¶VIDOVHVWDWHPHQWVLQKLV'HFODUDWLRQDQGKLVIDLOXUHWR

FRUUHFWWKRVHVWDWHPHQWVGHVSLWHKDYLQJKDGQXPHURXVRSSRUWXQLWLHVWRGRVRDOVRYLRODWHV

VHYHUDO0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW

           $VWKH0DVVDFKXVHWWV6XSUHPH-XGLFLDO&RXUWKDVUHFRJQL]HG³>D@QHIIHFWLYH

MXGLFLDOV\VWHPGHSHQGVRQWKHKRQHVW\DQGLQWHJULW\RIODZ\HUVZKRDSSHDUEHIRUHWKHLU

WULEXQDOV´Matter of Finnerty0DVVFLWLQJMatter of Mahlowitz

0DVV$WW¶\'LVFLSOLQH5HS7KH&RXUWIXUWKHUKDVHPSKDWLFDOO\

VWDWHG³>:@HFDQQRWDSSURYHRIDQ\SUDFWLFHLQZKLFKDQDWWRUQH\PLVOHDGVDFRXUW´

Finnerty0DVVDWTXRWLQJMatter of Palmer0DVV1(G

³:HUHZHWRFRQGRQHVXFKFRQGXFWE\DQDWWRUQH\ZKHWKHUDVDOLWLJDQWRUDV

FRXQVHOµWKHLQWHJULW\RIWKHMXGLFLDOSURFHVVZRXOGEHYLWLDWHG¶´Id.SSTXRWLQJ

Matter of Neitlich0DVV

           5XOHRIWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW³VHWVIRUWKWKH

VSHFLDOGXWLHVRIODZ\HUVDVRIILFHUVRIWKHFRXUWWRDYRLGFRQGXFWWKDWXQGHUPLQHVWKH

LQWHJULW\RIWKHDGMXGLFDWLYHSURFHVV´0DVV53URI&&RPPHQW>@5XOH



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      7KLVSURSRVHGVDQFWLRQLVGLVFXVVHGLQVRPHGHWDLOLQWKH5HFRPPHQGDWLRQVVHFWLRQinfra.


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ODZWRDWULEXQDORUIDLOWRFRUUHFWDIDOVHVWDWHPHQWRIPDWHULDOIDFWRUODZSUHYLRXVO\

PDGHWRWKHWULEXQDOE\WKHODZ\HU´0DVV53URI&D5XOHJGHILQHV

³NQRZLQJO\´

      ³.QRZLQJO\´³NQRZQ´RU³NQRZV´GHQRWHVDFWXDONQRZOHGJHRIWKHIDFW
      LQTXHVWLRQ$SHUVRQ¶VNQRZOHGJHPD\EHLQIHUUHGIURPFLUFXPVWDQFHV
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      ,QWKHFRQWH[WRI5XOHDDIDFWLV³PDWHULDO´LIYLHZHGREMHFWLYHO\LW

GLUHFWO\RUFLUFXPVWDQWLDOO\³KDGDUHDVRQDEOHDQGQDWXUDOWHQGHQF\WRLQIOXHQFHDMXGJH¶V

GHWHUPLQDWLRQ´In re Angwafo0DVV+RZHYHULWLVQRWQHFHVVDU\WR

VKRZWKDWWKHVWDWHPHQWRIPDWHULDOIDFWGLGLQIDFWLQIOXHQFHDGHWHUPLQDWLRQE\WKH

MXGJHId.

      7KHSURVFULSWLRQVRI5XOHDDUHHQFRPSDVVHGZLWKLQ5XOHFZKLFK

SURYLGHVWKDWLWLVSURIHVVLRQDOPLVFRQGXFWWRHQJDJHLQDQ\NLQGRIFRQGXFWLQYROYLQJ

GLVKRQHVW\RUPLVUHSUHVHQWDWLRQSee 0DVV53URI&F

      7KHFRQGXFWRI*DUUHWW%UDGOH\GHVFULEHGLQWKHSUHYLRXVVHFWLRQRIWKLV5HSRUWLV

VSHFLILFDOO\WKHNLQGRIFRQGXFW5XOHDDQGFDUHLQWHQGHGWRGHWHU

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³>$@QDVVHUWLRQSXUSRUWLQJWREHRQWKHODZ\HU¶VRZQNQRZOHGJHDVLQDQDIILGDYLWE\WKH

ODZ\HURULQDVWDWHPHQWLQRSHQFRXUWPD\SURSHUO\EHPDGHRQO\ZKHQWKHODZ\HU

knows the assertion is true or believes it to be true on the basis of a reasonably diligent

inquiry.´Id. TXRWLQJ0DVV53URI&&RPPHQW>@HPSKDVLVLQRULJLQDO


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        $VVHWIRUWKDERYH*DUUHWW%UDGOH\PDGHWKHVWDWHPHQWVLQKLVVZRUQ'HFODUDWLRQ

NQRZLQJWKDWWKH\ZHUHIDOVH)XUWKHUKHIDLOHGWRPDNHD³UHDVRQDEO\GLOLJHQWLQTXLU\´

WRDVFHUWDLQWKHWUXWKIXOQHVVRIWKHVWDWHPHQWV

        ,QMatter of Schiff$G5,WKH5KRGH,VODQG6XSUHPH

&RXUWRUGHUHGWKDWDODZ\HUEHVXVSHQGHGIURPWKHSUDFWLFHRIODZIRUDSHULRGRI

HLJKWHHQPRQWKVIRUYLRODWLQJ5XOHRIWKH5KRGH,VODQG5XOHVRI3URIHVVLRQDO&RQGXFW

ZKLFKLVLGHQWLFDOWRWKH0DVVDFKXVHWWV5XOHIRUVXEPLWWLQJDIDOVHDIILGDYLWLQ

VXSSRUWRIDSHWLWLRQIRUDWWRUQH\¶VIHHVWKHVDPHNLQGRIFRQGXFWDV*DUUHWW%UDGOH\

HQJDJHGLQLQWKHState Street FDVH7KH5KRGH,VODQG&RXUW¶VKDQGOLQJRISchiffLQIRUPV

WKH6SHFLDO0DVWHUZLWKUHJDUGWR%UDGOH\¶VIDOVH'HFODUDWLRQLQWKLVPDWWHU

        ,QSchiffWKHDWWRUQH\ILOHGDQDSSOLFDWLRQLQWKH8QLWHG6WDWHV'LVWULFW&RXUWIRU

5KRGH,VODQGIRUDWWRUQH\¶VIHHVDQGFRVWVDVDSUHYDLOLQJSDUW\LQDFLYLODFWLRQSXUVXDQW

WR86&VHHNLQJDQDZDUGRIDWWRUQH\¶VIHHVIRUKHUVHOIDQGRWKHUVLQWKH

DPRXQWRIDQGSD\PHQWRIFRVWVLQWKHDPRXQWRI,QVXSSRUWRI

KHUDSSOLFDWLRQIRUIHHVDQGFRVWV6FKLIIVXEPLWWHGDQDIILGDYLWWKDWVWDWHGLQSHUWLQHQW

SDUW

         ³7KHVXPPDU\RIWLPHDQGFKDUJHVIRUP\VHUYLFHVDWWDFKHGKHUHWRSUHVHQW
         DQDFFXUDWHVWDWHPHQWRIVHUYLFHVSHUIRUPHGLQFRQQHFWLRQZLWKWKLV
         OLWLJDWLRQDQGZDVSUHSDUHGIURPFRQWHPSRUDQHRXVWLPHUHFRUGVDQGZLWK
         UHVSHFWWRVXPVIRUFRVWVDQGH[SHQVHVIURPDFFRXQWLQJUHFRUGV´

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          D$ODZ\HUVKDOOQRWNQRZLQJO\
          PDNHDIDOVHVWDWHPHQWRIIDFWRUODZWRDWULEXQDORUIDLOWRFRUUHFWDIDOVHVWDWHPHQWRIPDWHULDOIDFWRU
         ODZSUHYLRXVO\PDGHWRWKHWULEXQDOE\WKHODZ\HU
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     7KH86'LVWULFW-XGJHZKRKHDUGWKHIHHDSSOLFDWLRQUXOHGWKDWWKLVVWDWHPHQW

FRQWDLQHGLQWKHDWWRUQH\¶VVZRUQDIILGDYLWZDVVLPSO\QRWWUXH7KHELOOLQJVKHHWVVKH

VXEPLWWHGVRXJKWUHLPEXUVHPHQWIRUZRUNXQUHODWHGWRWKHFDVHVRXJKWSD\PHQWIRUWLPH

QRWZRUNHGDQGLQGLFDWHGWKDWSRUWLRQVRIWKRVHUHFRUGVKDGQRWEHHQPDGHIURP

FRQWHPSRUDQHRXVWLPHUHFRUGVId. 6FKLIIFRQFHGHGDVPXFKDGPLWWLQJWKDWWKHVH

VWDWHPHQWVLQVXSSRUWRIKHUIHHDSSOLFDWLRQZDV³not entirely accurate´DQGWKDWVRPH

HQWULHVRQKHUVXPPDU\RIWLPHFKDUJHV³ZHUHQRWVWULFWO\VSHDNLQJGHULYHGIURP

FRQWHPSRUDQHRXVUHFRUGV´IdDW6KHDOVRDFNQRZOHGJHGWKDWVKHKDGDOVRPDGH

HVWLPDWHVUHJDUGLQJFRVWVVKHKDGLQFXUUHGWKDWZHUHQRWGHULYHGIURPDFFRXQWLQJUHFRUGV

Id. DW.

      2QWKHEDVLVRIWKHVHDGPLVVLRQVWKH5KRGH,VODQG%DU¶VGLVFLSOLQDU\ERDUGUHDGLO\

FRQFOXGHGWKDWWKHUHZDVFOHDUDQGFRQYLQFLQJHYLGHQFHWKDW6FKLIIKDGYLRODWHG5XOH

DId7KH5KRGH,VODQG6XSUHPHFRQFXUUHGZLWKWKLVILQGLQJRIWKHERDUG³7KH

UHFRUGGLVFORVHVWKDWUHVSRQGHQWKDGLQGHHGILOHGDIDOVHDIILGDYLWZLWKWKH)HGHUDO&RXUW

LQVXSSRUWRIKHUDSSOLFDWLRQIRUIHHVDQGFRVWV´Id.

      $WKHUGLVFLSOLQDU\KHDULQJ6FKLIIKDGSRLQWHGWRVHYHUDO³PLWLJDWLQJIDFWRUV´

ZKLFKVKHFODLPHGGHPRQVWUDWHGWKDWKHUIDOVHDIILGDYLWVWDWHPHQWVZHUHXQLQWHQWLRQDO

DQGWKHUHIRUHGLGQRWZDUUDQWGLVFLSOLQDU\DFWLRQ$PRQJWKRVHPLWLJDWLQJIDFWRUV

FRQVLGHUHGE\WKHERDUGZHUHWKDW6FKLII³KDGUXVKHGWRSUHSDUHKHUIHHDSSOLFDWLRQWRILOH




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LWZLWKLQWKHWLPHDOORZHGE\WKHFRXUW´DQGLQKHUKDVWHKDGERUURZHG³ERLOHUSODWH

ODQJXDJH´IURPDIRUPVXEPLWWHGE\DFROOHDJXHLQDQXQUHODWHGFDVHId.

      7KH5KRGH,VODQG6XSUHPH&RXUWUHIXVHGWRDFFHSWWKHDWWRUQH\¶VFODLPWKDWKHU

VXEPLVVLRQRIDIDOVHDIILGDYLWZDVLQDGYHUWHQWKROGLQJ³No attorney can sign such an

affidavit without being fully responsible for its contents´Id.HPSKDVLVDGGHG7KH

&RXUWDOVRIRXQGLWVLJQLILFDQWWKDW6FKLII³PDGHQRHIIRUWWRDGYLVHWKHFRXUWRURSSRVLQJ

FRXQVHODERXWWKHLQDFFXUDFLHVFRQWDLQHGLQWKDWDIILGDYLWDWDQ\WLPHGXULQJWKHSHULRGRI

DOPRVWWZR\HDUVGXULQJZKLFKWKHDSSOLFDWLRQZDVSHQGLQJDQGWKDWVKHFRQWLQXHGWR

GHIHQGWKHDFFXUDF\RIKHUDSSOLFDWLRQWKURXJKRXWWKDWWLPH´Id.

      7KHGLVFLSOLQDU\ERDUGKDGUHFRPPHQGHGWKDWIRU6FKLII¶VYLRODWLRQRI5XOH

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GLGQRWILQGDSXEOLFFHQVXUHDVHYHUHHQRXJKSHQDOW\IRUWKHPLVFRQGXFW

        $OWKRXJKZHDFFHSWWKHILQGLQJVRIIDFWPDGHE\WKHERDUGZHGRQRW
        EHOLHYHWKDWWKHLPSRVLWLRQRIDSXEOLFFHQVXUHLVDVXIILFLHQWO\VHYHUH
        UHVSRQVHWRWKHHJUHJLRXVFKDUDFWHURIWKHUHVSRQGHQW¶VFRQGXFW6KH
        VXEPLWWHGDQGVXEVHTXHQWO\GHIHQGHGDIDOVHDIILGDYLWLQVXSSRUWRIKHU
        FODLPVIRUIHHVDQGFRVWVThis affidavit is not mere boilerplate or
        surplusage; rather it is a sworn statement designed to convince the trial
        court that the respondent’s fee application was fair, reasonable, and
        accurate. The respondent knew or should have known that this statement
        was not true. Indeed, her misrepresentations to the court bear a close
        resemblance to an attempt to obtain money under false pretenses.+HU
        WHVWLPRQ\DERXWPLWLJDWLQJFLUFXPVWDQFHVGRHVQRWUHGXFHRUDPHOLRUDWH
        WKHVHULRXVQHVVRIKHUPLVFRQGXFW
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IdDWHPSKDVLVDGGHG
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       7KHUHIRUHLQVWHDGRIFHQVXUHWKH&RXUWRUGHUHGWKDW6FKLIIEHVXVSHQGHGIURPWKH

SUDFWLFHRIODZIRUDWRWDOSHULRGRIHLJKWHHQPRQWKVId.


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      7KHIDFWVLQMatter of Schiff DUHHHULO\VLPLODUWRWKRVHKHUH-XVWOLNH6FKLII¶V

DIILGDYLW*DUUHWW%UDGOH\¶V'HFODUDWLRQKHUHZDVDVZRUQVWDWHPHQWGHVLJQHGWRFRQYLQFH

-XGJH:ROIWKDW7KRUQWRQ¶VIHHSHWLWLRQZDVIDLUUHDVRQDEOHDQGDFFXUDWH)XUWKHUMXVW

OLNH6FKLIIIRUWKHUHDVRQVVWDWHGDERYHLQWKLV5HSRUW%UDGOH\NQHZRUVKRXOGKDYH

NQRZQWKDWKLVVWDWHPHQWVZHUHQRWWUXH$QGMXVWDVZLWK6FKLII%UDGOH\¶VVWDWHPHQWV

ZHUHPDGHLQFRQMXQFWLRQZLWKDQDWWHPSWWRSHUVXDGHDFRXUWWRDZDUGDODUJHVXPRI

PRQH\WRKLVRZQILUP

      7KHUHIRUHWKH6SHFLDO0DVWHUFRQFOXGHVWKDW*DUUHWW%UDGOH\YLRODWHG0DVV5

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      (YHQLILWZHUHWREHGHWHUPLQHGWKDWWKDW%UDGOH\³unNQRZLQJO\´VXEPLWWHGD

IDOVH'HFODUDWLRQWKH6SHFLDO0DVWHUZRXOGQRQHWKHOHVVILQGWKDW%UDGOH\YLRODWHGWKH

0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW

      6LPLODUWR5XOHD¶VLPSRVLWLRQRIDGXW\WRFRUUHFWDIDOVHVWDWHPHQWRI

PDWHULDOIDFWSUHYLRXVO\PDGHWRDWULEXQDO5XOHDUHTXLUHVWKDWDODZ\HUZKR

XQNQRZLQJO\RIIHUVIDOVHHYLGHQFHWRDWULEXQDODQGFRPHVWRNQRZRILWVIDOVLW\PXVW

WDNHUHDVRQDEOHUHPHGLDOPHDVXUHVLIWKHHYLGHQFHLVPDWHULDO0DVV53URI&

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SUHYHQWWKHWULHURIIDFWIURPEHLQJPLVOHGE\IDOVHHYLGHQFH´0DVV53URI&

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      %UDGOH\¶V'HFODUDWLRQLV³HYLGHQFH´LQWKHVHQVHWKDWLWLVLQIRUPDWLRQGHFODUHGWR

EHWUXHDQGXSRQZKLFKWKH&RXUWZDVLQYLWHGWRLVVXHDUXOLQJ

      (YHQLI%UDGOH\GLGQRWNQRZKLV'HFODUDWLRQVWDWHPHQWVZHUHIDOVHZKLFKDV

LQGLFDWHGWKH6SHFLDO0DVWHUGRHVQRWILQGWREHWKHFDVHDVVHWIRUWKsupraKH

FHUWDLQO\ZDVSXWRQQRWLFHDQGVKRXOGKDYHDVFHUWDLQHGWKHVWDWHPHQWVWKHVWDWHPHQWV

ZHUHIDOVHDIWHUWKHBoston GlobeLQTXLUHGDERXWWKHDFFXUDF\RIWKHState Street)HH

3HWLWLRQDWWKHEHJLQQLQJRI1RYHPEHU+HFRXOGKDYHDQGVKRXOGKDYH

GLVFORVHGDQGFRUUHFWHGWKHIDOVHKRRGVLQWKH1RYHPEHUOHWWHUWRWKH&RXUWRU

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Corp. PRIDES Litig.)GG&LUKROGLQJWKDWDORGHVWDUPXOWLSOLHU

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Tyco Intern., Ltd. Multidistrict Litig.,)6XSSGDWDSSO\LQJDORGHVWDU

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QHYHUGLVFORVHGWR$756WKHRWKHUFODVVUHSUHVHQWDWLYHVRUWKHFODVVPHPEHUVVWDQGVLQ

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ILUP%\IDLOLQJWRLQIRUP+RSNLQVRUDQ\RQHDW$756RIWKH&KDUJRLV

$UUDQJHPHQW/DEDWRQGHSULYHGLWVFOLHQWRIWKHRSSRUWXQLW\WRPDNHDUHDVRQDEO\

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         ,QUHDFKLQJWKLVFRQFOXVLRQZHUHO\RQWKHSODLQODQJXDJHRI5XOHHDV

LQWHUSUHWHGE\0DVVDFKXVHWWV¶KLJKHVWFRXUWLQ:KLOH/DEDWRQ¶VH[SHUWVKDYH

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         a. Labaton failed to comply with Rule 1.5(e), as effective February 8, 2011.

         6LQFHLWVDGRSWLRQLQWKH0DVVDFKXVHWWVHWKLFDOUXOHVRQIHHVKDULQJDPRQJ

ODZ\HUVKDYHXQGHUJRQHVHYHUDOUHYLVLRQV,QDWWKHWLPH$756UHWDLQHG/DEDWRQ

WRUHSUHVHQWLWLQWKHState Street FDVH5XOHHUHDG

          ³$GLYLVLRQRIDIHHEHWZHHQODZ\HUVZKRDUHQRWLQWKHVDPHILUPPD\EHPDGH
         RQO\LIDIWHULQIRUPLQJWKHFOLHQWWKDWDGLYLVLRQRIIHHVZLOOEHPDGHWKHFOLHQW
         FRQVHQWVWRWKHMRLQWSDUWLFLSDWLRQDQGWKHWRWDOIHHLVUHDVRQDEOH7KLVOLPLWDWLRQ
         GRHVQRWSURKLELWSD\PHQWWRDIRUPHUSDUWQHURUDVVRFLDWHSXUVXDQWWRDVHSDUDWHRU
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DVVRFLDWHRIKLVODZILUPRUODZRIILFHXQOHVV>@>W@KHFOLHQWFRQVHQWVWRHPSOR\PHQWRIWKHRWKHUODZ\HUDIWHUDIXOO
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5XOHHUHTXLUHGWKDWDQDWWRUQH\GLYLGLQJIHHVLQIRUPWKHFOLHQWWKDWDGLYLVLRQRIIHHVwill EHPDGHDOWKRXJKWKH
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    7KH6SHFLDO0DVWHUUHFRJQL]HVWKDW0DVVDFKXVHWWVLVLQWKHGLVWLQFWPLQRULW\LQWKDWLWSHUPLWVDWWRUQH\VWRUHFHLYH
UHIHUUDOSD\PHQWVGHVSLWHSHUIRUPLQJQRVXEVWDQWLYHZRUNRUDVVXPLQJMRLQWUHVSRQVLELOLW\LQDFDVHLH³EDUH
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FOLHQWHQWHUVLQWRDIHHDJUHHPHQWIRUWKHPDWWHUWKDWDGLYLVLRQRIIHHVZLOOEHPDGHDQGFRQVHQWVWRWKHMRLQW
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$756EHFDPHDFOLHQWLQState Street7KXVDVDQLQLWLDOPDWWHUZHORRNWRWKHSUH

YHUVLRQRI5XOH%XWDV3URIHVVRU*LOOHUVSRLQWVRXWWKH5XOHVRI3URIHVVLRQDO

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PRGLI\WKHWHUPVRIDQRQJRLQJFOLHQWHQJDJHPHQW³PLGVWUHDP´UDWKHUWKDQDVLPSRVLQJ

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SaggeseGHVSLWHDQQRXQFLQJDUHTXLUHPHQWWKDWFRQVHQWWRIHHVKDULQJEHFDSWXUHGLQ

ZULWLQJJRLQJIRUZDUGGLGQRWLPSRVHXSRQ/DEDWRQDGXW\WRLQIRUP$756RU+RSNLQV

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ZDVQRWHJUHJLRXVLQQDWXUHLWLVDYLRODWLRQQRQHWKHOHVVDQGRQHWKDWKDGSRWHQWLDOO\IDU

UHDFKLQJLPSOLFDWLRQVJLYHQ/DEDWRQ¶VREOLJDWLRQVDV&ODVV&RXQVHODQG$756¶V

REOLJDWLRQVDVFODVVUHSUHVHQWDWLYH

        b. Labaton did not adequately inform ATRS about the Chargois Arrangement.

        :LWKWKHHPHUJHQFHRI5XOHHLQWKLVLQYHVWLJDWLRQ/DEDWRQDUJXHVWKDWZKLOH

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VXIILFLHQWO\RQQRWLFHRI&KDUJRLV¶UROHLQWKHState Street FDVH,WUHDFKHVWKLVUHVXOWE\

FRQIODWLQJWKUHHXQUHODWHGH[FKDQJHVEHWZHHQ/DEDWRQDQG$756RULWVUHSUHVHQWDWLYHV

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MRLQWDSSOLFDWLRQRI/DEDWRQDQG&KDUJRLV	+HUURQIRUDQGWKHDFFHSWDQFHRI/DEDWRQ

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LQIRUPKLPDERXWIHHDOORFDWLRQVLQState Street RUDQ\RWKHUFDVHLQZKLFK$756VHUYHG

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only if«WKHUHSUHVHQWDWLYHSDUWLHVZLOOIDLUO\DQGDGHTXDWHO\protect the interests of the class´HPSKDVLVDGGHG
7KHVHFRQFHUQVDUHQRWDVVXDJHGE\+RSNLQV¶EODQNHWVWDWHPHQWWKDW³>L@QKLVYLHZWKLVSD\PHQWKDGQRHIIHFWRQ
WKHLQWHUHVWVRIWKHFODVV´+RSNLQV'HFO>(;@7KHFODVVKDGDULJKWWRNQRZWKDW/HDG&RXQVHOLQWHQGHG
WRDQGGLGSD\PLOOLRQRXWRIVHWWOHPHQWIXQGVWRDSHUVRQZKRSHUIRUPHGQRZRUNLQWKHFDVHDVDUHVXOWRI
/HDG&RXQVHO¶VRZQSUHH[LVWLQJREOLJDWLRQZKHWKHURUQRWWKHSD\PHQWLWVHOIZDVSHUPLWWHGXQGHU0DVVDFKXVHWWV
HWKLFDOUXOHV:HFDQQRWVHHKRZLQOLJKWRIDFOHDUGHUHOLFWLRQRIKLVILGXFLDU\GXWLHVWRWKHFODVV+RSNLQVFDQ
IDLUO\DQGDGHTXDWHO\SURWHFWWKHFODVV¶VLQWHUHVWVPRYLQJIRUZDUG

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DQGRI$756DVDFODVVUHSUHVHQWDWLYHDQGZDVZHOODZDUHRIWKHREOLJDWLRQVWRWKHFODVV

WKDWDUHLQKHUHQWLQWKDWSRVLWLRQ

       :KLOHVKLIWLQJWKHEXUGHQWRDFOLHQWLVLQDSSURSULDWHLQDQ\FDVHLWLVHVSHFLDOO\VR

KHUHZKHUHWKHFOLHQWZDVVHUYLQJLQDILGXFLDU\UROHDQGRZHGHWKLFDOGXWLHVRIKLVRZQWR

WKHFODVVKHUHSUHVHQWHG,QWKLVFRQWH[WDFOLHQWVXFKDV+RSNLQVVSHDNVQRWRQO\IRU

KLPVHOIEXWIRUWKHDEVHQWHHFODVVPHPEHUVDGXW\+RSNLQVFOHDUO\WRRNVHULRXVO\

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       )LQDOO\LQZKDWLVSHUKDSVWKHPRVWFRPSHOOLQJRI/DEDWRQ¶VWKUHHSDUWDUJXPHQW

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$JUHHPHQWDQGVSHFLILFDOO\DVLQJOHWZRZRUGSKUDVHZLWKLQLWVXIILFLHQWO\QRWLILHG

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ORFDORUOLDLVRQFRXQVHOas referral feesRUIRURWKHUVHUYLFHVSHUIRUPHGLQFRQQHFWLRQ

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7KHVHQWHQFHFDQEHUHDGDFFRUGLQJWR/DEDWRQ¶VH[SHUWVDVSHUPLWWLQJIHHDOORFDWLRQ

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       5XOHHFRQWHPSODWHVGLVFORVXUHRIPRUHWKDQMXVWWKHZRUGV³UHIHUUDOIHHV´

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DQGFXUUHQWDQGWKHVLJQLILFDQFHRIFOLHQWFRQVHQWLQD³EDUHUHIHUUDO´VWDWH7KHKLVWRU\

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IHH´DEVHQWVRPHH[SODQDWLRQGRHVQRWVXIILFHIRUWKHQDWXUHRIWKHFRQVHQWUHTXLUHG

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0DVVDFKXVHWWVDQDWWRUQH\LVUHZDUGHGLIQRWHQFRXUDJHGWRUHIHUPDWWHUVWR

VXEVWDQWLDOO\PRUHFDSDEOHFRXQVHOE\PDNLQJDUHIHUULQJDWWRUQH\HOLJLEOHWRHDUQDIHH

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UHSUHVHQWDWLRQRUDJUHHWRWKHDUUDQJHPHQWDVH[SODLQHG6XFKGHFLVLRQVDUHWKHFOLHQW¶V

SUHURJDWLYHDQGWKHFOLHQWPXVWKDYHVXIILFLHQWLQIRUPDWLRQWRNQRZOHGJHDEO\H[HUFLVH

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DVVRFLDWHRIKLVILUPRUODZRIILFHXQOHVV«>W@KHFOLHQWFRQVHQWVWRHPSOR\PHQWRIWKHRWKHUODZ\HUDIWHUDfull
disclosureWKDWDGLYLVLRQRIIHHVZLOOEHPDGH´HPSKDVLVDGGHG>(;@:KLOHWKDWSKUDVHQRORQJHUDSSHDUV
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EXUGHQVRPHIHHVEHFDXVHLWSUHYHQWVODZ\HUVIURP³WHDPLQJXS´ZLWKRWKHUODZ\HUVDQGGLYLGLQJWKHLUIHHVWR
FLUFXPQDYLJDWHWKHUHDVRQDEOHQHVVFKHFNLPSRVHGE\5XOHH2QWKHRWKHUKDQG/DEDWRQFRQVWUXHV5XOHD
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SDLGWRVRPHRQHZKRGRHVQRZRUNRQDFDVHLVH[FHVVLYHE\DQ\GHILQLWLRQRIWKDWZRUGZHPDNHQRILQGLQJZLWK
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PHDQLQJDVLWZRXOGPHDQWKDW$756ZDVJLYLQJSHUPLVVLRQIRUWKHSD\PHQWRIWKLVSUH

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         c. Application of Rule 7.2(b)

         $VHSDUDWHEXWUHODWHGLVVXHDULVLQJRXWRI/DEDWRQ¶VQRQFRPSOLDQFHZLWK5XOH

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    ,QDGGLWLRQWR5XOHEWKHEURDGHUODQJXDJHRI5XOHEDOVRH[HPSWVIURPLWVJHQHUDOSURKLELWLRQ
DJDLQVWSD\PHQWVIRUUHFRPPHQGDWLRQVDQRWKHUFDWHJRU\RIIHHGLYLVLRQDPRQJODZ\HUVWKRVHPDGHSXUVXDQWWR
UHFLSURFDOUHIHUUDODJUHHPHQWVXQGHU5XOHE5XOHESHUPLWVlawyersWRUHFHLYHSD\PHQWIURP
DQRWKHUODZ\HURUQRQODZ\HUSURIHVVLRQDOXQGHUDQRQH[FOXVLYHUHFLSURFDOUHIHUUDODJUHHPHQWRIZKLFKWKHFOLHQWLV
LQIRUPHG³RIWKHH[LVWHQFHDQGQDWXUH´DQGZKHUHSD\PHQWRIIHHVLVQRWRWKHUZLVHSURKLELWHG:KLOHZHUHFRJQL]H
WKDWWKH&KDUJRLV$UUDQJHPHQWGLGQRWLQYROYHDUHFLSURFDOUHIHUUDODUUDQJHPHQWWKHFDUYHRXWLQWKLVVHFWLRQLV
IXUWKHUHYLGHQFHRQWRSRIWKHXQDPELJXRXVODQJXDJHLQ5XOHEWKDW5XOHEDSSOLHVWRODZ\HUVDQG
QRQODZ\HUVDOLNH7RUHDGWKHVHWZRWH[WXDOH[FHSWLRQVRWKHUZLVHLVWRUHQGHUERWKRIWKHPPHDQLQJOHVV

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WKDWWKHWZRSURYLVLRQVDUHXQUHODWHGLQWKHLUYLHZ5XOHEJRYHUQVSD\PHQWVWRD

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³SHUVRQ´DVDFRUSRUDWLRQDQDVVRFLDWLRQDWUXVWDSDUWQHUVKLSDQGDQ\RWKHU

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  $VXVHGWKURXJKRXWWKH5XOHVRI3URIHVVLRQDO&RQGXFW³SHUVRQ´UHIHUVEURDGO\WRDOOLQGLYLGXDOVZKHWKHUD
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H[SODQDWLRQUHDVRQDEO\QHFHVVDU\WRLQIRUPWKHFOLHQWor other personRIWKHPDWHULDODGYDQWDJHVDQGGLVDGYDQWDJHV

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QRWEHFRQVLGHUHGDSHUVRQXQGHUWKHODZWKHRPLVVLRQRIWKHFRPPRQGLFWLRQDU\

PHDQLQJWKDWDSHUVRQLVDKXPDQEHLQJGRHVQRWJLYHXVUHDVRQWRSDXVHSee

Merriam-Webster Dictionary³3HUVRQ´³KXPDQLQGLYLGXDO±VRPHWLPHVXVHGLQ

FRPELQDWLRQHVSHFLDOO\E\WKRVHZKRSUHIHUWRDYRLGPDQLQFRPSRXQGVDSSOLFDEOHWR

ERWKVH[HV´

         %XW/DEDWRQ¶VH[SHUWVVHL]LQJRQWKHVHVHPDQWLFVKRUWFRPLQJVRSLQHWKDW

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³DGYHUWLVLQJ´DVHYLGHQFHWKDW5XOHEKDVQRWKLQJWRGRZLWK³IHHV´WKHVXEMHFWRI

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SDUWLFXODUO\HYLGHQWZKHQUHDGDORQJVLGH5XOHHDVXEVHFWLRQRIWKHUXOHRQ³IHHV´ZKLFKKDVQRWKLQJWRGR
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FDQQRWEHJLYHQWKHHIIHFWRIH[WHQGLQJRUUHVWULFWLQJWKHVFRSHRIWKHDFWPDQLIHVWHGE\XQDPELJXRXVODQJXDJHLQ
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GHJUHHDQGPHPEHUVKLSLQDOHJDOEDUIXOO\LQVXODWHVDODZ\HUIURP5XOHEId.S

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         7KH5XOHVRI3URIHVVLRQDO&RQGXFWWKHPVHOYHVVXJJHVWRWKHUZLVH³1RQODZ\HU´LV

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&RQGXFWDWOHDVWWKLUW\VL[WLPHVE\RXUFRXQWDQGGHVFULEHVDODZ\HU¶VGXWLHVYLVj

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        FHUWLILHGFODVVPD\EHVHWWOHGYROXQWDULO\GLVPLVVHGRUFRPSURPLVHGRQO\ZLWKWKHFRXUW
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        DSSURYDO7KHIROORZLQJSURFHGXUHVDSSO\WRDSURSRVHGVHWWOHPHQWYROXQWDU\GLVPLVVDORU
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        7KHFRXUWPXVWGLUHFWQRWLFHLQDUHDVRQDEOHPDQQHUWRDOOFODVVPHPEHUVZKRZRXOGEHERXQG
        E\WKHSURSRVDO
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        ,IWKHSURSRVDOZRXOGELQGFODVVPHPEHUVWKHFRXUWPD\DSSURYHLWRQO\DIWHUDKHDULQJDQGRQ
        ILQGLQJWKDWLWLVIDLUUHDVRQDEOHDQGDGHTXDWH
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        7KHSDUWLHVVHHNLQJDSSURYDOPXVWILOHDVWDWHPHQWLGHQWLI\LQJDQ\DJUHHPHQWPDGHLQ
        FRQQHFWLRQZLWKWKHSURSRVDO
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        ,IWKHFODVVDFWLRQZDVSUHYLRXVO\FHUWLILHGXQGHU5XOHEWKHFRXUWPD\UHIXVHWR
        DSSURYHDVHWWOHPHQWXQOHVVLWDIIRUGVDQHZRSSRUWXQLW\WRUHTXHVWH[FOXVLRQWRLQGLYLGXDOFODVV
        PHPEHUVZKRKDGDQHDUOLHURSSRUWXQLW\WRUHTXHVWH[FOXVLRQEXWGLGQRWGRVR
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        UHDVRQDEOHDWWRUQH\
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        RIWKLVVXEGLYLVLRQKDWDWLPHWKHFRXUWVHWV1RWLFHRIWKHPRWLRQPXVWEHVHUYHGRQDOOSDUWLHV
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          %\LWVWHUPVZLWKUHVSHFWWRLQIRUPLQJFODVVPHPEHUV5XOHHSUHVFULEHVRQO\

WKDWDQRWLFHRIDVHWWOHPHQWEHSURYLGHGWRFODVVPHPEHUV³LQDUHDVRQDEOHPDQQHU´

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           PDGHE\PRWLRQXQOHVVWKHVXEVWDQWLYHODZUHTXLUHVWKRVHIHHVWREHSURYHGDWWULDODVDQHOHPHQW
           RIGDPDJHV
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           %Timing and Contents of the Motion.8QOHVVDVWDWXWHRUDFRXUWRUGHUSURYLGHVRWKHUZLVHWKH
          PRWLRQPXVW
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           LEHILOHGQRODWHUWKDQGD\VDIWHUWKHHQWU\RIMXGJPHQW
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           LLVSHFLI\WKHMXGJPHQWDQGWKHVWDWXWHUXOHRURWKHUJURXQGVHQWLWOLQJWKHPRYDQWWRWKHDZDUG
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           7KH$GYLVRU\&RPPLWWHH¶VQRWHWRWKHDPHQGPHQWRI5XOHFRQWHPSODWHV

WKDWZKHQDFODVVVHWWOHPHQWLVSURSRVHGIRU5XOHHDSSURYDO³QRWLFHWRFODVV

PHPEHUVDERXWFODVVFRXQVHO¶VIHHPRWLRQZRXOGRUGLQDULO\DFFRPSDQ\WKHQRWLFHWRWKH

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PHDQVWKDWFODVVPHPEHUVPXVWEHJLYHQVXIILFLHQWLQIRUPDWLRQWRGRVRSee 5XEHQVWHLQ

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³FODVVDFWLRQODZVXLWVFROOHFWLYHO\WKHµ&ODVV$FWLRQV¶´Id,WGHILQHVWKH³6HWWOHPHQW

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           $OOFXVWRG\DQGWUXVWFXVWRPHUVRI66%7LQFOXGLQJFXVWRPHUVIRUZKLFK66%7
           VHUYHGDVGLUHFWHGWUXVWHH(5,6$3ODQVDQG*URXS7UXVWVUHIOHFWHGLQ66%7¶V
           UHFRUGVDVKDYLQJD8QLWHG6WDWHVWD[DGGUHVVDWDQ\WLPHGXULQJWKHSHULRGIURP
           -DQXDU\WKURXJK'HFHPEHULQFOXVLYHDQGWKDWH[HFXWHGRQHRU
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       /DEDWRQ6XFKDURZDQG/DZUHQFH6XFKDURZDUHLGHQWLILHGDV³/HDG&RXQVHO´Id.

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&XVWRPHU&RXQVHOZLOODSSO\WRWKH&RXUWIRUDQRUGHUDZDUGLQJDWWRUQH\V¶IHHVLQDQ

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         $OWKRXJK3URIHVVRU5XEHQVWHLQLVLQDJUHHPHQWZLWKWKH6SHFLDO0DVWHUDQG

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         b. Ethical Obligations

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%HFDXVH/DEDWRQ¶VSRVLWLRQLJQRUHVWKHLPSRUWDQWGXWLHVWKHILUPRZHGWRLWVFRFRXQVHO

ILUPVWKH6SHFLDO0DVWHUFUHGLWVQHLWKHURIWKHVHDUJXPHQWV

       /DEDWRQ¶VHYDVLRQRILWVGLVFORVXUHREOLJDWLRQVPDWHULDOO\DIIHFWHGERWKLWVIHOORZ

&XVWRPHU&ODVV&RXQVHODQG(5,6$&RXQVHOHDFKRIZKRPUHOLHGVLJQLILFDQWO\RQ

/DEDWRQLQLWVUROHDV/HDG&RXQVHOE\SUHYHQWLQJWKHPIURPH[HFXWLQJWKHLUown

GXWLHVWRWKH&RXUWWRWKHLUFOLHQWVDQGWRWKHFODVV0RUHRYHU/DEDWRQ¶VIDLOXUHLQLWV

GXWLHVDV/HDG&RXQVHODQGLWVFRQVFLRXVHIIRUWWRFRQFHDOWKHH[LVWHQFHRUWUXHQDWXUHRI

WKH&KDUJRLVREOLJDWLRQSUHYHQWHGWKHFRFRXQVHOILUPVIURPEHLQJIXOO\LQIRUPHGDVWR

WKHIHHDOORFDWLRQDUUDQJHPHQWVWRZKLFKWKH\FRQVHQWHGEDVHGRQPLVLQIRUPDWLRQRU

RXWULJKWPDWHULDORPLVVLRQV/DEDWRQ¶VIDLOXUHVWKXVSUHYHQWHGLWVFRFRXQVHOIURP

FDUU\LQJRXWWKHLURZQREOLJDWLRQVLQWKHOLWLJDWLRQDQGDOVRFDOOLQWRVHULRXVTXHVWLRQWKH

YDOLGLW\RIWKHPXOWLSOHIHHDJUHHPHQWVUHDFKHGEHWZHHQWKHILUPV

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         a. Governing Principles of Fairness and Transparency

         7KRXJKSHUKDSVIDOOLQJVKRUWRILPSRVLQJDWUXHfiduciaryGXW\RQ/DEDWRQLQLWV

UHODWLRQVKLSZLWKLWVFODVVDFWLRQFRFRXQVHOJHQHUDOSULQFLSOHVRIIDLUQHVVDQG

SURIHVVLRQDOUHVSRQVLELOLW\WRZDUGFRFRXQVHODQGWRZDUGWKH&RXUWVWURQJO\VXJJHVWWKDW

/DEDWRQZDVUHTXLUHGWRGLVFORVHWKH&KDUJRLVDJUHHPHQWSeeIn re San Juan Dupont

Plaza Hotel Fire Litigation)GVW&LUQRWLQJWKDWWKHManual for

Complex LitigationFRXQVHOVFRXUWVWRUHPLQGOHDGDWWRUQH\VRI³WKHLUUHVSRQVLELOLW\WRWKH

FRXUWDQGWKHLUREOLJDWLRQWRDFWIDLUO\HIILFLHQWO\DQGHFRQRPLFDOO\LQWKHLQWHUHVWVRIDOO

SDUWLHVDQGWKHLUFRXQVHO´see also Bartle v. Berry0DVV$SS&W

TXRWLQJLamare v. Basbanes,0DVV³,QWKHDEVHQFHRIDQDWWRUQH\

FOLHQWUHODWLRQVKLSDQDWWRUQH\KDVDGXW\RIUHDVRQDEOHFDUHWRDQRQFOLHQWLIWKHDWWRUQH\

NQRZVRUKDVUHDVRQWRNQRZWKHQRQFOLHQWLVUHO\LQJRQWKHDWWRUQH\
VVHUYLFHV

µ+RZHYHUWKHFRXUWZLOOQRWLPSRVHDGXW\RIUHDVRQDEOHFDUHRQDQDWWRUQH\LIVXFKDQ

LQGHSHQGHQWGXW\ZRXOGSRWHQWLDOO\FRQIOLFWZLWKWKHGXW\WKHDWWRUQH\RZHVWRKLVRUKHU

FOLHQW¶´ 


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    :HUHFRJQL]HWKDWDQXPEHURIVWDWHDQGIHGHUDOFRXUWVKDYHGHFOLQHGWRILQGILGXFLDU\GXWLHVbetweenFR
FRXQVHORQSXEOLFSROLF\JURXQGVEHFDXVHVXFKGXWLHVFRXOGFUHDWHSRWHQWLDOFRQIOLFWVZLWKUHVSHFWWRHDFKFRXQVHO¶V
XQGLYLGHGOR\DOW\WRLWVFOLHQWSeee.g.Skepnek v. Roper & Twardowsky, LLC1R±&9±±''&±-32
:/DW'.DQ-XO\GLVFXVVLQJGHFLVLRQVLQ&DOLIRUQLD/RXLVLDQDDQG:DVKLQJWRQDQG
³SUHGLFW>LQJ@WKDWWKH6XSUHPH&RXUWRI1HZ-HUVH\ZRXOGKROGDVDPDWWHURISXEOLFSROLF\WKDWQRILGXFLDU\GXWLHV
H[LVWEHWZHHQFRFRXQVHOIRUORVWSURVSHFWLYHIHHV´Appel v. Schoeman Updike Kaufman Stern & Ascher L.L.P.
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FODLPRQDQDGGLWLRQDOEDVLVWKDW³FRFRXQVHOJHQHUDOO\GRQRWRZHHDFKRWKHUDILGXFLDU\GXW\´6RPHFRXUWV
XVXDOO\LQWKHFRQWH[WRIDIHHGLVSXWHEHWZHHQFRXQVHOKDYHGLVPLVVHGWKHFRQFHSWRIFRXQVHO¶VILGXFLDU\GXW\WR
FRFRXQVHOZLWKUHVSHFWWRHQVXULQJDQGSURWHFWLQJFRFRXQVHO¶VH[SHFWHGIHHVSeee.g.Bartle0DVV$SS&W
DWFROOHFWLQJFDVHVIURPMXULVGLFWLRQVWKDWKDYHUHMHFWHGDGXW\RIFDUHRZHGE\RQHDWWRUQH\WRDQRWKHUWR
SURWHFWDQLQWHUHVWLQDIHHBeck v. Wecht&DOWK³7KHEHWWHUDSSURDFK«LVDEULJKWOLQHUXOH
UHIXVLQJWRUHFRJQL]H>@DILGXFLDU\GXW\´WRFRQGXFWMRLQWUHSUHVHQWDWLRQVLQDZD\WKDWGRHVQ¶WGLPLQLVKH[SHFWHG
IHHV

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        2QH&RXUWLQWKH'LVWULFWRI0DVVDFKXVHWWVFLWLQJWKHManual for Complex

LitigationKDVHODERUDWHGRQWKHGXWLHVRIFRXUWVDQGOLWLJDQWVLQFRPSOH[PXOWLGLVWULFW

OLWLJDWLRQ

              ,QFRPSOH[PXOWLGLVWULFWOLWLJDWLRQFRXUWVDUHHQFRXUDJHGWR

             LQYLWHVXEPLVVLRQVDQGVXJJHVWLRQVIURPDOOFRXQVHODQGFRQGXFWDQ
             LQGHSHQGHQWUHYLHZXVXDOO\DKHDULQJLVDGYLVDEOHWRHQVXUHWKDW
             FRXQVHODSSRLQWHGWROHDGLQJUROHVDUHTXDOLILHGDQGUHVSRQVLEOHWKDW
             WKH\ZLOOIDLUO\DQGDGHTXDWHO\UHSUHVHQWDOORIWKHSDUWLHVRQWKHLU
             VLGHDQGWKDWWKHLUFKDUJHVZLOOEHUHDVRQDEOH&RXQVHOGHVLJQDWHG
             E\WKHFRXUWDOVRDVVXPHDUHVSRQVLELOLW\WRWKHFRXUWDQGDQ
             REOLJDWLRQWRDFWIDLUO\HIILFLHQWO\DQGHFRQRPLFDOO\LQWKHLQWHUHVWV
             RIDOOSDUWLHVDQGSDUWLHV
FRXQVHO
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        Manual for Complex Litigation>(;@

               &RPSOH[OLWLJDWLRQUHTXLUHVSDUWLFXODUO\SURIHVVLRQDOFRQGXFWIURP
       DWWRUQH\VDVMXGJHVDUHHVSHFLDOO\GHSHQGHQWRQWKHDVVLVWDQFHRIFRXQVHOId.
       DW±³&RXQVHOQHHGWRIXOILOOWKHLUREOLJDWLRQVDVDGYRFDWHVLQD
       PDQQHUWKDWZLOOIRVWHUDQGVXVWDLQJRRGZRUNLQJUHODWLRQVDPRQJIHOORZFRXQVHO
       DQGZLWKWKHFRXUW´Id.DW,QDFODVVDFWLRQOHDGFRXQVHOPXVWPHHWD
       GHPDQGLQJVWDQGDUGRIWUXVWZRUWKLQHVVEHFDXVHWKH&RXUWPXVWUHO\RQ
       UHSUHVHQWDWLRQVPDGHE\FRXQVHOSee, e.g., In re Vitamins Antitrust Litig.,
       )6XSSG''&In re Organogenesis Sec. Litig.,)5'
       '0DVV³WRXQGHUVWDQGWKHIDFWVDQGLVVXHVSUHVHQWHGWRLWLQDQ\
       FDVHLQFOXGLQJDFODVVDFWLRQWKHFRXUWPXVWHPSOR\DQGWRVRPHH[WHQWUHO\RQ
       UHSUHVHQWDWLRQVPDGHWRLWE\FRXQVHO´
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In re Pharm. Indus. Average Wholesale Price Litig:/DW±'0DVV

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       7KXVZKLOHDILUP¶VDSSRLQWPHQWDVOHDGFRXQVHOGRHVQRWFUHDWHDWUXHILGXFLDU\

REOLJDWLRQWRFRFRXQVHOWKHUHODWLRQVKLSFUHDWHGLVRQHURRWHGLQWUXVWDQGFRFRXQVHO

PD\UHDVRQDEO\UHO\XSRQDOHYHORIFDQGRUDQGWUXVWZRUWKLQHVVIURPDSSRLQWHGOHDG

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       6LPLODUQRWLRQVRIIDLUQHVVDQGUHVSRQVLELOLW\XQGHUOLHDFRXUW¶VH[HFXWLRQRI³ZHOO

HVWDEOLVKHGFODVVDFWLRQSULQFLSOHVDQGEDVLFMXGLFLDOVWDQGDUGVRIWUDQVSDUHQF\DQG

IDLUQHVV´WKDWUHTXLUHDFRXUW¶VVFUXWLQ\RIWKHDFFXUDF\IDLUQHVVDQGHTXLWDEOH

LPSOLFDWLRQVRIDSURSRVHGIHHDOORFDWLRQDPRQJFRXQVHODIXQGDPHQWDOIXQFWLRQWKDW

GLVFORVXUHRIWKH&KDUJRLV$UUDQJHPHQWZRXOGKDYHSHUPLWWHGWKH&RXUWWRFDUU\RXWLQ

WKHState StreetOLWLJDWLRQSeeIn re: High Sulfur Content Gasoline Products Liability

Litigation)GWK&LUQRWLQJWKHQHHGIRUVXIILFLHQWSURFHGXUHV

DQGRYHUVLJKWVRDVWRGHWHUPLQHWKHDFFXUDF\DQGUHDVRQDEOHQHVVRIDSURSRVHGIHH

DOORFDWLRQLQDFODVVDFWLRQVHWWOHPHQWIRUZKLFKGLVWULFWFRXUWKDGDSSRLQWHGIHH

FRPPLWWHHWRSURSRVHDOORFDWLRQDIIHFWLQJDOORWKHUFRXQVHOsee alsoe.g.5XEHQVWHLQ

'HSDWSSFLWLQJIn Re: High SulfurDQGGLVFXVVLQJQRWLRQVRIWUDQVSDUHQF\LQ

GLVFORVXUHVDPRQJVWFRFRXQVHOLQUHODWLRQWRIHHDOORFDWLRQIn re Nortel Networks

Corp.:/DW6'1<)HE³WKH&RXUWLVDZDUHRIWKH

LPSRUWDQFHRIFRQWUROOLQJDWWRUQH\V
IHHVDQGWKHQHHGWRDGRSWDSSURSULDWHSURFHGXUHVWR

WKDWHQG´$VQRWHGsupraZKLOH/DEDWRQ¶VIDLOXUHWRGLVFORVHWKH&KDUJRLVREOLJDWLRQ

GLUHFWO\WRWKH&RXUWSUHYHQWHGWKH&RXUWIURPH[HFXWLQJLWVJDWHNHHSHUUROHDVDILGXFLDU\

WRWKHFODVVDQGIURPSURSHUO\H[DPLQLQJWKHHTXLW\RIWKHIHHDOORFDWLRQWKHILUP¶V

FRQFHDOPHQWIURPFRFRXQVHOGHVSLWHLWVREOLJDWLRQRIFDQGRUWRZDUGDOOSDUWLHVDQG

SDUWLHV¶FRXQVHOIXUWKHUHQVXUHGWKDWWKH&RXUWZRXOGEHFRQVWUDLQHGIURPGRLQJVR

       b. Interference with Co-Counsel’s Duties to Class Members

       3HUKDSVWKHPRVWVLJQLILFDQWUDPLILFDWLRQRI/DEDWRQ¶VQRQGLVFORVXUHWR(5,6$

&RXQVHODQGOLPLWHGGLVFORVXUHWR/LHIIDQG7KRUQWRQLVWKHSUHFOXVLRQRIWKHVH

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DWWRUQH\VIURPIXOILOOLQJWKHLURZQILGXFLDU\GXWLHVWRWKHLULQGLYLGXDOFOLHQWVDQGWR

DEVHQWFODVVPHPEHUV&RXUWVKDYHORQJUHFRJQL]HGWKHH[LVWHQFHRIILGXFLDU\GXWLHVLI

QRW\HWDIXOODWWRUQH\FOLHQWUHODWLRQVKLSRZHGE\FODVVFRXQVHOWRWKHFODVVSULRUWRWKH

SRLQWRIFODVVFHUWLILFDWLRQ%H\RQGWKLVLWLVZLGHO\DFFHSWHGWKDW³RQFHWKHFRXUW

HQWHUVDQRUGHUFHUWLI\LQJDFODVVDQDWWRUQH\FOLHQWUHODWLRQVKLSDULVHVEHWZHHQDOO

PHPEHUVRIWKHFODVVDQGFODVVFRXQVHO´SeeFulco)6XSSDWTXRWLQJBower

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FODVVPHPEHUVE\WKHWLPHRISUHOLPLQDU\VHWWOHPHQWDSSURYDOLQ$XJXVWRUDWWKH

ODWHVWFODVVFHUWLILFDWLRQDQGXOWLPDWHVHWWOHPHQWDSSURYDO³,WLVZHOOVHWWOHGODZ

UHJDUGOHVVRIMXULVGLFWLRQWKDWDWWRUQH\VRZHWKHLUFOLHQWVDILGXFLDU\GXW\´ZKLFK

³LQFOXGHVXQGLYLGHGOR\DOW\FDQGRUDQGSURYLVLRQRIPDWHULDOLQIRUPDWLRQ´Huber v.

Taylor)GG&LUVXLWE\SXWDWLYHFODVVDJDLQVWFODVVDFWLRQ

SODLQWLIIV¶DWWRUQH\VIRUEUHDFKRIILGXFLDU\GXW\DQGUHODWHGFRXQWVRQEDVLVRI

XQGLVFORVHGFRQIOLFWRILQWHUHVWDQGLPSURSHUGLVFORVXUHRIIXOOWHUPVRIVHWWOHPHQW

RIIHUV

         $VSUHYLRXVO\QRWHGFRFRXQVHOLQODUJHFODVVDFWLRQOLWLJDWLRQshare

UHVSRQVLELOLWLHVWRWKHFOLHQWVDQGWKHFODVV+HUHWKHFRFRXQVHOILUPVUHOLHGKHDYLO\RQ

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    See,e.g.In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig.)GG&LU
³%H\RQGWKHLUHWKLFDOREOLJDWLRQVWRWKHLUFOLHQWVFODVVDWWRUQH\VSXUSRUWLQJWRUHSUHVHQWDFODVVDOVRRZHWKHHQWLUH
FODVVDILGXFLDU\GXW\RQFHWKHFODVVFRPSODLQWLVILOHG´Schick v. Berg:/DW6'1<$SU
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    7KHSUHFLVHFRQWRXUVRIWKHUHODWLRQVKLSLQWKHFODVVDFWLRQFRQWH[WGLIIHULQVRPHUHVSHFWVIURPDWUDGLWLRQDO
DWWRUQH\FOLHQWUHODWLRQVKLS6eeIn re Cmty. Bank of N. Virginia)GG&LUsee also-R\
'HSDWSS³/DEDWRQKDGFHUWDLQGXWLHVWRWKHFODVVDVDZKROHEXWWKH\ZHUHQ
WDFOLHQWOLNHDQLQGLYLGXDO
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/DEDWRQWRHQDEOHWKHPWRHIIHFWLYHO\FDUU\RXWWKHLURZQGXWLHVWRHDFKRIWKHVHJURXSV

:KDWHYHUWKHDOORFDWLRQRIGXWLHVDQGUHVSRQVLELOLWLHVEHWZHHQDWWRUQH\VRUILUPVLQYROYHG

LQDFRFRXQVHOUHSUHVHQWDWLRQHDFKFRXQVHO¶VGXW\RIOR\DOW\WRWKHFOLHQWLVLQKHUHQWO\D

QRQGHOHJDEOHGXW\Id.DWDQGQ:KDWHYHULWVVFRSHFODVVFRXQVHORZHD

ILGXFLDU\GXW\WRWKHFODVVZKLFKUHTXLUHVFODVVFRXQVHOWR³UHIUDLQIURPPLVFRQGXFWDQG

SURVHFXWHWKHFDVHZLWKOR\DOW\WRWKHFODVV´In Re: Sw. Airlines Voucher Litig

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Airlines Voucher Litig.:/WK&LU)HE7RWKHH[WHQWWKDW

/DEDWRQ¶VLQFRPSOHWHGLVFORVXUHVRUFRPSOHWHQRQGLVFORVXUHVDIIHFWHGWKHDELOLW\RI

RWKHUILUPVWRFDUU\RXWWKHLUGXWLHVWRWKHFODVV/DEDWRQIDLOHGLQLWVUHVSRQVLELOLW\DV

/HDG&RXQVHOWRDFWIDLUO\DQGLQWKHLQWHUHVWVRIDOOSDUWLHVDQGDOOFRXQVHOH[DFHUEDWLQJ

WKHILUP¶VIDLOXUHWRIXOILOOLWVRZQREOLJDWLRQVWRWKHFODVV

       7KHVLJQLILFDQWDQGPDOLJQDQWLPSDFWRI/DEDWRQ¶VQRQGLVFORVXUHFDQEHVHHQLQLWV

LQWHQWLRQDOGHFLVLRQWRQRWWHOOWKH(5,6$DWWRUQH\VDERXWWKH&KDUJRLV$UUDQJHPHQWLQ

JHQHUDODQGWKHSURSRVHGSD\PHQWRIPLOOLRQWR&KDUJRLV)LUVWDQGIRUHPRVW

IDLOXUHWRVKDUHWKLVLQIRUPDWLRQSUHYHQWHGWKH(5,6$DWWRUQH\VIURPGLVFORVLQJWKH

SD\PHQWWRWKHLUFODVVUHSUHVHQWDWLYHFOLHQWVDQGDGYLVLQJWKHPDERXWLW/\QQ6DUNR

WHVWLILHGWKDWKDGKHNQRZQDERXWWKH$UUDQJHPHQWKH³DEVROXWHO\´ZRXOGKDYHIHOWDQ

REOLJDWLRQWRGLVFORVHLWWRWKH(5,6$FODVVUHSUHVHQWDWLYHVDQGDGYLVHWKHPDERXWLWDQG

ZRXOGKDYHIHOWWKDWWKHDUUDQJHPHQWFRXOGQRWKDYHEHHQFDUULHGRXWZLWKRXWWKHLU

FRQVHQW6DUNR'HSS>(;@6DUNRDOVRWHVWLILHGWKDWKDGKH

NQRZQRIWKH$UUDQJHPHQWKHZRXOGQRWKDYHDJUHHGWRILOHDMRLQWIHHSHWLWLRQEHFDXVH

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KH³ZRXOGKDYHKDGWRJHWDSSURYDOIURPWKHQDPHGSODLQWLIIVZKRZRXOGQRWKDYH

DJUHHG´IdSS

         -XVWDKDOIVWHSUHPRYHGLQLPSRUWDQFHIURPWKLVLPSDFWLVWKDWWKHQRQGLVFORVXUH

WRWKH(5,6$DWWRUQH\VHQVXUHGWKDWWKH'2/ZDVNHSWLQWKHGDUN$VQRWHGHOVHZKHUH

6WDWH6WUHHWZDVLQVLVWHQWXSRQDIXOO\JOREDOVHWWOHPHQWDFULWLFDOSLHFHRIZKLFKZDV

'2/¶VDJUHHPHQWWRWKHVHWWOHPHQW$VDOODJUHH/\QQ6DUNRZKRKDG'2/¶V

FRQILGHQFHZDVWKHSULPDU\DWWRUQH\QHJRWLDWLQJZLWKWKH'HSDUWPHQW6DUNRWHVWLILHG

WKDWKDGKHEHHQWROGRIWKHSURSRVHG&KDUJRLVSD\PHQWKHZRXOGKDYHEHHQREOLJDWHGWR

WHOOWKH'2/DERXW&KDUJRLVDQGKLV$UUDQJHPHQWZLWK/DEDWRQWKDWWKH'2/OLNHO\

ZRXOGKDYHKDGTXHVWLRQVDERXWWKH$UUDQJHPHQWDQGWKDWWKHHQWLUHVHWWOHPHQWPD\

KDYH³EORZQ>@XS´LIWKRVHTXHVWLRQVDIIHFWHGWKH'2/¶VDSSURYDOZKLFKZDVQHFHVVDU\

IRUWKHJOREDOVHWWOHPHQWIdSS

         7KXVWKHIXOOLPSDFWRIQRWWHOOLQJWKH(5,6$ODZ\HUVDERXW&KDUJRLVLVQRW

WKHRUHWLFDORUDWWHQXDWHG7KLVQRQGLVFORVXUHKDGDGLUHFWDQGSURIRXQGLPSDFWXSRQ

RWKHULPSRUWDQWDFWRUVLQWKHFODVVDFWLRQ

         c. Contractual Implications of Nondisclosure

         $SDUWIURPSULQFLSOHVRIIDLUQHVVDQGWUDQVSDUHQF\WKDWVKRXOGJRYHUQFRQGXFW

EHWZHHQFRFRXQVHOFRXUWVKDYHUHFRJQL]HGWKDWFRQWUDFWSULQFLSOHVPD\DOVRLPSRVH

GXWLHVZLWKLQDFRFRXQVHOUHODWLRQVKLSIUHTXHQWO\LQWKHFRQWH[WRIIHHGLVSXWHVSee



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    )RUH[DPSOHWRVXFFHHGRQDEUHDFKRIFRQWUDFWFODLPRQHPXVWSURYHWKDWWKHSDUWLHVUHDFKHGDYDOLGDQG
ELQGLQJDJUHHPHQWWKDWRQHSDUW\EUHDFKHGWKHWHUPVRIWKHDJUHHPHQWDQGWKDWEUHDFKFDXVHGWKHRWKHUSDUW\
WRVXIIHUGDPDJHVMichelson v. Digital Fin. Servs)GVW&LU

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e.g.Sobran v. Millstein)6XSSG'0DVVLQGLVSXWHRYHUGLYLVLRQ

RIIHHVLQDODUJHFODVVDFWLRQVHWWOHPHQWGLVPLVVLQJFRXQWVRIEUHDFKRIFRQWUDFWEUHDFK

RIILGXFLDU\GXW\DQGTXDQWXPPHUXLWEXWDOORZLQJSURPLVVRU\HVWRSSHOFODLPWR

DGYDQFHVita v. Berman, Devalerio & Pease, LLP0DVV$SS&W±

DIILUPLQJMXU\DZDUGIRUEUHDFKRIFRQWUDFWFODLPVWHPPLQJIURPDQXQSDLG

UHIHUUDOIHHMarks v. Swartz2KLR$SSGORFDOFRXQVHO¶VEUHDFK

RIFRQWUDFWDFWLRQDJDLQVWFRFRXQVHOParker & Waichman v. Napoli1<6G

EUHDFKRIFRQWUDFWUHODWHGWRIHHVSOLWWLQJDJUHHPHQW

         +HUHFRQWUDFWSULQFLSOHVDUHPRVWUHOHYDQWWRWKHHQIRUFHDELOLW\RUYRLGDELOLW\RI

WKHIHHVKDULQJDJUHHPHQWDPRQJ&XVWRPHU&ODVV&RXQVHODQGWKHDJUHHPHQWEHWZHHQ

WKH&XVWRPHU&ODVV&RXQVHODQG(5,6$&RXQVHO³7KHORDGEHDULQJHOHPHQWRID

FRQWUDFWLVWKHPXWXDODVVHQWRIWKHSDUWLHVWRWKHHVVHQWLDOWHUPVRIWKHDJUHHPHQWWKHVR

FDOOHGPHHWLQJRIWKHPLQGV´Enos v. Union Stone, Inc.)GVW&LU

TXRWDWLRQRPLWWHG&RJQL]DQWRIWKHOLPLWDWLRQVRIFRQWUDFWSULQFLSOHVLQWKLVSDUWLFXODU

FRQWH[WRXWVLGHDW\SLFDOGLVSXWHEHWZHHQEDUJDLQLQJSDUWLHVFRQWUDFWSULQFLSOHV

QHYHUWKHOHVVIXUWKHULQIRUPWKH6SHFLDO0DVWHU¶VDVVHVVPHQWRIWKHHTXLWDEOHLPSOLFDWLRQV

RIWKHQRQGLVFORVXUHWRFRFRXQVHODQGFRQVLGHUDWLRQRIDFRXUW¶VILGXFLDU\GXW\WR

VDIHJXDUGFODVVVHWWOHPHQWIXQGVDQGLWVHTXLWDEOHDXWKRULW\WRPRGLI\DQXQIDLUDQG

XQUHDVRQDEOHIHHDOORFDWLRQDPRQJFODVVFRXQVHO

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   :KLOHWKH6SHFLDO0DVWHUUHFRJQL]HVWKDWDFRQWUDFWLVUHQGHUHGYRLGab initioLQOLPLWHGFLUFXPVWDQFHVDFRXUW
PD\RQHTXLWDEOHJURXQGVVHWDVLGHDFRQWUDFWLQYDOLGDWHGE\RPLVVLRQSee e.gCathcart v. Robinson86
³7KHGLIIHUHQFHEHWZHHQWKDWGHJUHHRIXQIDLUQHVVZKLFKZLOOLQGXFHDFRXUWRIHTXLW\WRLQWHUIHUH
DFWLYHO\E\VHWWLQJDVLGHDFRQWUDFWDQGWKDWZKLFKZLOOLQGXFHDFRXUWWRZLWKKROGLWVDLGLVZHOOVHWWOHG,WLVVDLG
WKDWWKHSODLQWLIIPXVWFRPHLQWRFRXUWZLWKFOHDQKDQGVDQGWKDWDGHIHQGDQWPD\UHVLVWDELOOIRUVSHFLILF

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              i.         Misrepresentations and Material Omissions

         ³$FRQWUDFWLVYRLGDEOHDQGWKXVXQHQIRUFHDEOHLIµDSDUW\
VPDQLIHVWDWLRQRI

DVVHQWLVLQGXFHGE\HLWKHUDIUDXGXOHQWRUPDWHULDOPLVUHSUHVHQWDWLRQE\WKHRWKHUSDUW\

XSRQZKLFKWKHUHFLSLHQWLVMXVWLILHGLQUHO\LQJ¶´Rivera v. Centro Medico de Turabo,

Inc.)GVW&LUTXRWLQJRestatement (Second) of Contracts

³0DVVDFKXVHWWVODZUHJDUGLQJIUDXGLQWKHLQGXFHPHQWIROORZVWKHZLGHO\

DFFHSWHGPRGHOVHWIRUWKLQ>WKHRestatement].”Nash v. Trustees of Boston Univ.

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UHOLHYHGRIWKHHIIHFWRIDFRQWUDFWDSDUW\PXVWHVWDEOLVKWKHHOHPHQWVRIFRPPRQODZ

GHFHLWZKLFKLQFOXGH³PLVUHSUHVHQWDWLRQRIDPDWHULDOIDFWPDGHWRLQGXFHDFWLRQDQG

UHDVRQDEOHUHOLDQFHRQWKHIDOVHVWDWHPHQWWRWKHGHWULPHQWRIWKHSHUVRQUHO\LQJ´

Commerce Bank & Tr. Co. v. Hayeck0DVV$SS&WTXRWLQJHogan

v. Riemer, 0DVV$SS&W

         ,QFRQVLGHULQJWKHYDOLGLW\RIWKHIHHVKDULQJDJUHHPHQWEHWZHHQ&XVWRPHU&ODVV

&RXQVHODQG(5,6$&RXQVHOWKH6SHFLDO0DVWHUFRQVLGHUVHYLGHQFHRI


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SHUIRUPDQFHE\VKRZLQJWKDWXQGHUWKHFLUFXPVWDQFHVWKHSODLQWLIILVQRWHQWLWOHGWRWKHUHOLHIKHDVNV2PLVVLRQRU
PLVWDNHLQWKHDJUHHPHQWRUWKDWLWLVXQFRQVFLHQWLRXVRUXQUHDVRQDEOHRUWKDWWKHUHKDVEHHQFRQFHDOPHQW
PLVUHSUHVHQWDWLRQRUDQ\XQIDLUQHVVDUHHQXPHUDWHGDPRQJWKHFDXVHVZKLFKZLOOLQGXFHWKHFRXUWWRUHIXVHLWV
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    SeealsoWamester v. Karl1R±3±0DVV$SS&W0DUFK³7REHVXUHDFRQWUDFW
FDQEHDYRLGHGE\VKRZLQJLWZDVSURFXUHGE\IUDXG´NPS, LLC v. Ambac Assur. Corp.)6XSSG
'0DVV³0DVVDFKXVHWWVODZIROORZVWKH5HVWDWHPHQW
VPRGHOIRUIUDXGLQWKHLQGXFHPHQWµ,IDSDUW\
V
PDQLIHVWDWLRQRIDVVHQWLVLQGXFHGE\HLWKHUDIUDXGXOHQWRUDPDWHULDOPLVUHSUHVHQWDWLRQE\WKHRWKHUSDUW\XSRQ
ZKLFKWKHUHFLSLHQWLVMXVWLILHGLQUHO\LQJWKHFRQWUDFWLVYRLGDEOHE\WKHUHFLSLHQW¶´TXRWLQJNash v. Trustees of
Boston Univ.,)GVW&LU³,QREHGLHQFHWRWKHGHPDQGVRIDODUJHUSXEOLFSROLF\WKHODZORQJ
DJRDEDQGRQHGWKHSRVLWLRQWKDWDFRQWUDFWPXVWEHKHOGVDFUHGUHJDUGOHVVRIWKHIUDXGRIRQHRIWKHSDUWLHVLQ
SURFXULQJLW´Bates v. Southgate0DVV
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PLVUHSUHVHQWDWLRQVDFWXDOO\PDGHWR(5,6$&RXQVHOVXFKWKDWWKHIHHDJUHHPHQWFRXOGEH

VXEMHFWWRUHVFLVVLRQ³0HUHQRQGLVFORVXUHDEVHQWDGXW\WRVSHDNVXFKDVZLWKD

PLVOHDGLQJSDUWLDOGLVFORVXUHJHQHUDOO\ZLOOQRWVXSSRUWDQ\FDXVHRIDFWLRQIRU

PLVUHSUHVHQWDWLRQ´Davis v. Dawson, Inc.)6XSSG'0DVV

DOWHUDWLRQVDQGLQWHUQDOTXRWDWLRQVRPLWWHG+RZHYHU³>D@OWKRXJKPHUHVLOHQFHRU

QRQGLVFORVXUHGRHVQRWFRQVWLWXWHIUDXGLQWKHDEVHQFHRIDGXW\WRVSHDN«VLOHQFHPD\

EHDFWLRQDEOHZKHUHWKHUHODWLRQVKLSRIWKHSDUWLHVFUHDWHVDSDUWLFXODUOHJDORUHTXLWDEOH

REOLJDWLRQWRFRPPXQLFDWHDOOIDFWV´DeMarco v. Granite Sav. Bank0DVV$SS

'LY'LVW&WFLWDWLRQVRPLWWHG

         7KHH[LVWHQFHRIWKH&KDUJRLV$UUDQJHPHQWZDVXQGRXEWHGO\LQIRUPDWLRQPDWHULDO

WRFODVVPHPEHUVXSRQZKLFKFODVVPHPEHUVFRXOGEDVHGHFLVLRQVWRREMHFWWRRURSWRXW

RIWKHSURSRVHGVHWWOHPHQW%XWLWZDVDOVRPDWHULDOWR/DEDWRQ¶VFRFRXQVHOLQWKH

OLWLJDWLRQERWKEHFDXVHWKLVLQIRUPDWLRQZRXOGKDYHHQDEOHGWKRVHILUPVWRGLVFKDUJH



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³GHPDQGLQJVWDQGDUGRIWUXVWZRUWKLQHVV´UHTXLUHGLQLWVUHODWLRQVKLSZLWKFRFRXQVHODQGWKHFRXUWDQGFRFRXQVHO
FDQUHDVRQDEO\H[SHFWDSSURSULDWHFDQGRUDQGWUXVWZRUWKLQHVVIURPOHDGFRXQVHOSeeIn re Pharm. Indus. Average
Wholesale Price Litig:/DW±)XUWKHULOOXPLQDWLQJH[SHFWDWLRQVRIWUXVWZRUWKLQHVVLQWKLV
FRQWH[WWRWKHH[WHQWWKDWDVXIILFLHQWO\LPSRUWDQWUHODWLRQVKLSRIWUXVWFDQEHUHFRJQL]HGEHWZHHQFRFRXQVHODUH
SULQFLSOHVUHFRJQL]HGLQWKHRestatement of ContractsDQGRestatement of TortsVXJJHVWLQJWKDWDPDWHULDORPLVVLRQ
FDQHTXDWHZLWKRIDIDOVHDVVHUWLRQEHWZHHQFHUWDLQSDUWLHVLQOLPLWHGFLUFXPVWDQFHV³$SHUVRQ
VQRQGLVFORVXUHRID
IDFWNQRZQWRKLPLVHTXLYDOHQWWRDQDVVHUWLRQWKDWWKHIDFWGRHVQRWH[LVW«ZKHUHWKHRWKHUSHUVRQLVHQWLWOHGWR
NQRZWKHIDFWEHFDXVHRIDUHODWLRQRIWUXVWDQGFRQILGHQFHEHWZHHQWKHP´Restatement (Second) of Contracts
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FRQILGHQFHWRWKHRWKHUDVWRJLYHWKHRWKHUWKHULJKWWRH[SHFWGLVFORVXUH´IdFRPPHQWI³2QHZKRIDLOVWR
GLVFORVHWRDQRWKHUDIDFWWKDWKHNQRZVPD\MXVWLILDEO\LQGXFHWKHRWKHUWRDFWRUUHIUDLQIURPDFWLQJLQDEXVLQHVV
WUDQVDFWLRQLVVXEMHFWWRWKHVDPHOLDELOLW\WRWKHRWKHUDVWKRXJKKHKDGUHSUHVHQWHGWKHQRQH[LVWHQFHRIWKHPDWWHU
WKDWKHKDVIDLOHGWRGLVFORVHLIEXWRQO\LIKHLVXQGHUDGXW\WRWKHRWKHUWRH[HUFLVHUHDVRQDEOHFDUHWRGLVFORVHWKH
PDWWHULQTXHVWLRQRestatement (Second) of Torts³2QHSDUW\WRDEXVLQHVVWUDQVDFWLRQLVXQGHUD
GXW\WRH[HUFLVHUHDVRQDEOHFDUHWRGLVFORVHWRWKHRWKHUEHIRUHWKHWUDQVDFWLRQLVFRQVXPPDWHG«PDWWHUVNQRZQWR
KLPWKDWWKHRWKHULVHQWLWOHGWRNQRZEHFDXVHRIDILGXFLDU\RURWKHUVLPLODUUHODWLRQRIWUXVWDQGFRQILGHQFHEHWZHHQ
WKHP´IdVXEVHFWLRQD

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WKHLUILGXFLDU\GXWLHVWRZDUGWKHFODVVDQGEHFDXVHLWZRXOGKDYHDIIHFWHGWKHQHJRWLDWLRQ

RIWKHIHHDOORFDWLRQDJUHHPHQWVDPRQJFRXQVHO

       +HUHLWEHDUVUHHPSKDVL]LQJWKDWWKH&KDUJRLVSD\PHQWJUHZRXWRIDSUHH[LVWLQJ

REOLJDWLRQWKDWZDV/DEDWRQ¶VDORQHDQGWKDWE\VDWLVI\LQJWKLVREOLJDWLRQIURPFODVV

IXQGV/DEDWRQZDVHIIHFWLYHO\KDYLQJWKHFODVVDQGLWVFRFRXQVHOVKRXOGHUDVKDUHRILWV

RZQVHSDUDWHREOLJDWLRQ7KLVIDFWDORQHFUHDWHVDQHQKDQFHGGXW\XSRQ/DEDWRQQRWRQO\

WRGLVFORVHWKH&KDUJRLV$UUDQJHPHQWDQGSD\PHQWWRFRFRXQVHOEXWWRHQVXUHLWV

GLVFORVXUHWRWKHFODVVWKHFOLHQWDQGWKH&RXUW7KLVJRHVWRWKHKHDUWRI/DEDWRQ¶V

REOLJDWLRQVDV/HDG&RXQVHO

       /DEDWRQZDV/HDG&RXQVHODQGRWKHUFRXQVHOFRXOGEHH[SHFWHGWRUHO\XSRQLWV

DWWRUQH\VWRIXOO\GLVFORVHDOOPDWHULDOIDFWVQHFHVVDU\IRUFRFRXQVHOWRPDNHDQLQIRUPHG

GHFLVLRQRQLVVXHVUHODWLQJWRWKHIHHDOORFDWLRQDJUHHPHQWV7KRXJKODFNLQJDILGXFLDU\

UHODWLRQVKLSWKHH[SHFWDWLRQRIWUXVWDQGFRQILGHQFHEHWZHHQFRFRXQVHOUHQGHUHGWKHIHH

DOORFDWLRQQHJRWLDWLRQVGLVWLQFWIURPWUDGLWLRQDODUP¶VOHQJWKEDUJDLQLQJEHWZHHQ

FRQWUDFWLQJSDUWLHV7KHH[LVWHQFHRIWKHPLOOLRQSD\PHQWEDVHGXSRQDSUHH[LVWLQJ

REOLJDWLRQWRDODZ\HUZKRQHYHUDSSHDUHGLQWKHFDVHGLGQRZRUNRQWKHFDVHDQGZDV

KLGGHQIURPWKH&RXUWDQGDOOSDUWLFLSDQWVLQWKHFDVHZDVDPDWHULDOIDFWWKDWZRXOG

FOHDUO\KDYHLQIRUPHG(5,6$&RXQVHO¶VGHFLVLRQDERXWWKHIHHDOORFDWLRQDJUHHPHQW

/DEDWRQNQHZWKDW(5,6$&RXQVHOZDVXQLQIRUPHGDERXWWKH&KDUJRLV$UUDQJHPHQW

DQG/DEDWRQZDVDZDUHWKDWWKHLQIRUPDWLRQZRXOGEHPDWHULDOWR(5,6$&RXQVHOHYHQ

ORQJDIWHUWKHLQLWLDOIHHDOORFDWLRQDJUHHPHQWDVHYLGHQFHGE\/DUU\6XFKDURZ¶V

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Case 1:11-cv-10230-MLW Document 224 *SEALED*                             Filed 05/14/18 Page 300 of 377



OHWWHUVEHVHQWWRFODVVFRFRXQVHODQGWR(5,6$&RXQVHOQRWLQJ³>L@QVKRUWQRUHDVRQ

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DOORFDWLRQDJUHHPHQWLQHDFKRIWKHPZRXOGQRWKDYHDJUHHGWRWKHVLJQWKH

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Corp. Pick-Up Truck Fuel Tank Prods)GDW³5XOHHLPSRVHVRQWKHWULDO

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Teleprompter Corp., )5'6'1<LQWHUQDOFLWDWLRQVRPLWWHG

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WRSURWHFWWKHFODVVIURPDQHQRUPRXVSD\PHQWIRUZKLFKWKHFODVVUHFHLYHGQRYDOXHDQG

RIZKLFKWKHFODVVUHSUHVHQWDWLYHVZHUHQHYHULQIRUPHG,QDYHU\UHDOVHQVHWKLVFUHDWHG

DSRWHQWLDOFRQIOLFWEHWZHHQ/DEDWRQDQGWKHFODVVDFRQIOLFWWKH&RXUWFRXOGQRWSURWHFW

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       a. Rule 23 Requirements

       :HEHJLQZLWKWKHIDFWWKDWIXOODQGDFFXUDWHGLVFORVXUHWRWKHFRXUWLVWKH

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         EXWgiven the broader language covering agreements “made in connection with
         the [settlement] proposal,” agreements beyond the settlement agreement itself --
         such as any agreements about fees -- may also fall within the purview of Rule
         23(e). Courts generally do not read Rule 23(e)’s disclosure requirement as
         requiring disclosure of fee agreements among counsel on the ground that such
         agreements do not necessarily affect the class’s interests. There may be some
         cases where this reasoning is incorrect, as some agreements among counsel would
         impact settlement terms and hence should be disclosed to the class. . . . Moreover,
         there is little obvious downside from transparency so not only should courts order
         disclosure of fee agreements under Rule 54(d)(2), but settling parties should also
         readily provide them under Rule 23(e) in any case. 

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        b. Failure to Disclose the Chargois Agreement in the Fee Petition

                  i. Sucharow’s and Labaton’s Obligations Under Fed. R. Civ. P. 11



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                   (iv) any agreement required to be identified under Rule 23(e)(3);DQG
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      ,QGHFLGLQJWKHDPRXQWRIIHHVWRDZDUGFODVVFRXQVHODQGWRZKRPWRDZDUG

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&RXUWLQLWVGLVFUHWLRQPLJKWDZDUGIURPWKHFODVVUHFRYHU\DQGWKHEDVLVIRUWKHFODLP

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PXFKRIWKHVHWWOHPHQWIXQGVVKRXOGJRWRFRXQVHODQGZKLFKFRXQVHODQGKRZPXFK

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PDGHWKDWGHFLVLRQthere was no fee to divide.´*LOOHUV6XSS5HSRUWS>(;@

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&RXUWKRZHYHUQHYHUKDGDQRSSRUWXQLW\WRPDNHWKDWGHFLVLRQEHFDXVHRIWKHPDWHULDO

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      1. Omission of a Material Fact is Sanctionable under Fed. R. Civ. P. 11.

      5XOHDSSOLHVERWKWRGLVFORVXUHVDQGRPLVVLRQVSee In re Ronco, Inc.)G

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PRUHPLVOHDGLQJWKDQDQDEVROXWHO\IDOVHUHSUHVHQWDWLRQ´see also Gurman v. Metro

Housing and Redevelopment Auth.,)6XSSG'0LQQ ³>$@V

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                 ii. Violation of Mass. R. Prof. C. 3.3

        6HSDUDWHDQGDSDUWIURPDQ\RIWKHLPSHUDWLYHVRIWKH)HGHUDO5XOHVRI&LYLO

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FRQFHUQWKDW3DLQHILOLQJDQDIILGDYLWVWDWLQJ6WDWH6WUHHW¶VDSSURYDORIWKHIHHUHTXHVW³FRXOGGUDZDELJREMHFWLRQ
DQGVXJJHVWFROOXVLRQ´DQGLWFRXOGGUDZWKHDWWHQWLRQRI-XGJH:ROIZKRKDGVSHFLILFDOO\QRWHGKLVFRQFHUQDERXW
WKHDGYHUVDU\V\VWHPEUHDNLQJGRZQLQWKHIHHFRQWH[WDWWKHSUHOLPLQDU\DSSURYDOKHDULQJ7/)667
HPDLOH[FKDQJHEHWZHHQ*DUUHWW%UDGOH\'DYLG*ROGVPLWK0LFKDHO6XFKDURZDQGRWKHUVDWWKH7KRUQWRQ
DQG/DEDWRQILUPV>(;@

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         0RUHRYHUDV3URIHVVRU*LOOHUVQRWHVWKLVLVQRWDVLWXDWLRQZKHUHGLVFORVXUHWRWKH

&RXUWZRXOGKDYHKDUPHGDFOLHQWRUZDLYHGDSULYLOHJH,ILWZHUHDODZ\HUPLJKW

VRPHWLPHVEHDEOHFUHGLEO\WRUHVROYHUHDOGRXEWVDVWRGLVFORVXUHLQIDYRURIWKHFOLHQW

+HUH³GLVFORVXUHFRXOGRQO\benefitWKHFOLHQWWKHFODVVE\JLYLQJWKH&RXUWDQGWKH

FODVVPHPEHUVWKHRSSRUWXQLW\WRFRQVLGHUWKH&KDUJRLV$UUDQJHPHQW,QGHHGLWLVKDUG

WRXQGHUVWDQGZKDWFRXQWHUYDLOLQJLQWHUHVWVFRXOGKDYHMXVWLILHGQRQGLVFORVXUH7RZKRP

GLG/DEDWRQRZHDFRPSHWLQJGXW\QRWWRGLVFORVH"´*LOOHUV6XSS5HSRUWS>(;

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         )RUDOORIWKHVHUHDVRQVWKH6SHFLDO0DVWHUFRQFOXGHVWKDW6XFKDURZGHOLEHUDWHO\

FRQFHDOHGWKH&KDUJRLV$UUDQJHPHQWIURPWKH&RXUWDQGWKHUHE\GHQLHGWKH&RXUWWKH

RSSRUWXQLW\WRPHDQLQJIXOO\FDUU\RXWLWVILGXFLDU\UROHDQGJDWHNHHSLQJIXQFWLRQWR

SURWHFWWKHLQWHUHVWVRIWKHFODVV6XFKDURZ¶VFRQFHDOPHQWRIWKLVYHU\UHOHYDQW

LQIRUPDWLRQYLRODWHG0DVVDFKXVHWWV5XOHRI3URIHVVLRQDO&RQGXFW

               iii. Violation of the General Duty of Candor to the Court

         $V3URIHVVRU*LOOHUVQRWHVLQDUJXLQJWKDW5XOHVDQGZHUHWKHVROHVRXUFHV

RILWVGXW\WRWKH&RXUWDQGWKDW&RPPHQW$GRHVQRWOLWHUDOO\DSSO\/DEDWRQ

VXERUGLQDWHVDQ\GXW\LWVODZ\HUVPD\KDYHKDGDVRIILFHUVRIWKH&RXUW:KLOH³WKH

SKUDVHµFDQGRUWRWKH&RXUW¶LVQRWDQXQERXQGHGVRXUFHRIGXW\HQWLUHO\XQWHWKHUHGWR

UXOHVFXVWRPRUFDVHODZWKHZRUGµFDQGRU¶VKRXOGDWOHDVWJXLGHDODZ\HU¶V

XQGHUVWDQGLQJRIKLVRUKHUGXWLHVDVRIILFHUVRIWKHFRXUW´*LOOHUV¶6XSS5HSRUWS

>(;@7KLVEURDGGXW\RIFDQGRUZDVUHFRJQL]HGE\WKH)LUVW&LUFXLWLQPearson v.

FirstNH Mtg Corp.)GVW&LU,QDGGLWLRQWRILQGLQJWKDWWKH

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FRXUWIRXQGKHDOVRYLRODWHGKLVJHQHUDOGXW\RIFDQGRUWRWKHFRXUWWKDWH[LVWVLQ

FRQQHFWLRQZLWKDQDWWRUQH\¶VUROHDVDQRIILFHURIWKHFRXUW

              +HUH$WWRUQH\*DQQRQPDGHDQDIILUPDWLYHPLVUHSUHVHQWDWLRQWRWKHFRXUW
      ZKLFKGLGQRWFRPSRUWZLWKKLVGXW\RIFDQGRUSeee.g.,1+53&D
      FRPPHQW³7KHUHDUHFLUFXPVWDQFHVZKHUHIDLOXUHWRPDNHDGLVFORVXUHLVWKH
      HTXLYDOHQWRIDQDIILUPDWLYHPLVUHSUHVHQWDWLRQ´In re Tri–Cran,%5DW
      ³µ6LQFHDWWRUQH\VDUHRIILFHUVRIWKHFRXUWWKHLUFRQGXFWLIGLVKRQHVWZRXOG
      FRQVWLWXWHIUDXGRQWKHFRXUW¶´FLWDWLRQRPLWWHGcf. Burns v. Windsor Ins.
      Co.,)GWK&LU³(YHU\ODZ\HULVDQRIILFHURIWKHFRXUW
      >DQG@KHDOZD\VKDVDGXW\RIFDQGRUWRWKHWULEXQDO´United States v. Shaffer
      Equip. Co.,)GWK&LU³>$@JHQHUDOGXW\RIFDQGRUWRWKH
      FRXUWH[LVWVLQFRQQHFWLRQZLWKDQDWWRUQH\
VUROHDVDQRIILFHURIWKHFRXUW´cf.
      also Erickson v. Newmar Corp.,)GWK&LU³>,@WLVWK>H@
      FRXUWZKLFKLVDXWKRUL]HGWRVXSHUYLVHWKHFRQGXFWRIWKHPHPEHUVRILWVEDU
      >DQGKDV@DUHVSRQVLELOLW\WRPDLQWDLQSXEOLFFRQILGHQFHLQWKHOHJDOSURIHVVLRQ´
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       $VLQGLFDWHGPearsonFLWHVDPRQJRWKHUFDVHVWKH)RXUWK&LUFXLW¶VGHFLVLRQLQ

Shaffer EquipmentWRUHFRJQL]HD³JHQHUDOGXW\RIFDQGRUWRWKHFRXUW´ ,QSchaffer, WKH

JRYHUQPHQWIDLOHGWRGLVFORVHIDOVHWHVWLPRQ\DWWKHGHSRVLWLRQRILWVH[SHUWZLWQHVVLQD

FLYLOHQYLURQPHQWDOFDVHDQGWKHQPRYHGIRUVXPPDU\MXGJPHQWZLWKRXWUHO\LQJRQKLV

RSLQLRQ7KHJRYHUQPHQWFODLPHGWKDWLWKDGQRWYLRODWHGWKHWHUPVRI:HVW9LUJLQLD¶V

5XOH7KH'LVWULFW&RXUWGLVPLVVHGWKHJRYHUQPHQW¶VFDVHEHFDXVHRILWV

QRQGLVFORVXUHFLWLQJERWK5XOHDQGWKHJHQHUDOGXW\RIFDQGRUWRWKH&RXUW7KH

JRYHUQPHQWDSSHDOHG7KH)RXUWK&LUFXLWZURWHWKDWWKHSURIHVVLRQDOFRQGXFWUXOHVDUH

QRWWKHVROHVRXUFHRIDODZ\HU¶VGXW\RIFDQGRU


              ,WDSSHDUVWKDWWKHGLVWULFWFRXUWLQILQGLQJWKDWWKHJRYHUQPHQW¶VDWWRUQH\V
       YLRODWHGDGXW\RIFDQGRUWRWKHFRXUWDSSOLHGWKHJHQHUDOGXW\RIFDQGRULPSRVHG

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      RQDOODWWRUQH\VDVRIILFHUVRIWKHFRXUWDVZHOODVWKHGXW\RIFDQGRUGHILQHGE\
      5XOH$OWKRXJKWKHFRXUWUHIHUUHGWR5XOHLWDOVRGHVFULEHGWKHGXW\RI
      FDQGRUPRUHEURDGO\DVWKDWGXW\DWWHQGDQWWRWKHDWWRUQH\¶VUROHDVDQRIILFHURI
      WKHFRXUWZLWKD³FRQWLQXLQJGXW\WRLQIRUPWKH&RXUWRIDQ\GHYHORSPHQWZKLFK
      PD\FRQFHLYDEO\DIIHFWWKHRXWFRPHRIOLWLJDWLRQ´,WFRQFOXGHG³7KXVDWWRUQH\V
      DUHH[SHFWHGWREULQJGLUHFWO\EHIRUHWKH&RXUWDOOWKRVHFRQGLWLRQVDQG
      FLUFXPVWDQFHVZKLFKDUHUHOHYDQWLQDJLYHQFDVH´,QLWVEULHIWKHJRYHUQPHQWGLG
      QRWDGGUHVVWKHH[LVWHQFHQDWXUHDQGVFRSHRIDQ\JHQHUDOGXW\RIFDQGRUDQG
      ZKHWKHULWVDWWRUQH\VYLRODWHGWKDWGXW\1HYHUWKHOHVVZHDUHFRQILGHQWWKDWD
      JHQHUDOGXW\RIFDQGRUWRWKHFRXUWH[LVWVLQFRQQHFWLRQZLWKDQDWWRUQH\¶VUROHDV
      DQRIILFHURIWKHFRXUW
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              2XUDGYHUVDU\V\VWHPIRUWKHUHVROXWLRQRIGLVSXWHVUHVWVRQWKHXQVKDNDEOH
      IRXQGDWLRQWKDWWUXWKLVWKHREMHFWRIWKHV\VWHP¶VSURFHVVZKLFKLVGHVLJQHGIRUWKH
      SXUSRVHRIGLVSHQVLQJMXVWLFH+RZHYHUEHFDXVHQRRQHKDVDQH[FOXVLYHLQVLJKW
      LQWRWUXWKWKHSURFHVVGHSHQGVRQWKHDGYHUVDULDOSUHVHQWDWLRQRIHYLGHQFH
      SUHFHGHQWDQGFXVWRPDQGDUJXPHQWWRUHDVRQHGFRQFOXVLRQVDOOGLUHFWHGZLWK
      XQZDYHULQJHIIRUWWRZKDWLQJRRGIDLWKLVEHOLHYHGWREHWUXHRQPDWWHUVPDWHULDO
      WRWKHGLVSRVLWLRQ(YHQWKHVOLJKWHVWDFFRPPRGDWLRQRIGHFHLWRUDODFNRIFDQGRU
      LQDQ\PDWHULDOUHVSHFWTXLFNO\HURGHVWKHYDOLGLW\RIWKHSURFHVV$VVRRQDVWKH
      SURFHVVIDOWHUVLQWKDWUHVSHFWWKHSHRSOHDUHWKHQMXVWLILHGLQDEDQGRQLQJVXSSRUW
      IRUWKHV\VWHPLQIDYRURIRQHZKHUHKRQHVW\LVSUHHPLQHQWLQWHUQDOFLWDWLRQV
      RPLWWHG
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United States v. Shaffer Equip. Co.,)GWK&LU        

         $V3URIHVVRU*LOOHUVREVHUYHGWKHVHFDVHVHVWDEOLVKWKDWODZ\HUVKDYHDGXW\RI

FDQGRUWRWKHFRXUWWKDWJRHVEH\RQGWKHWH[WRI5XOH*LOOHUV6XSS5HSRUWS

7KH6SHFLDO0DVWHUDJUHHV)XUWKHULWLVQRWRQO\0U6XFKDURZWKDWRZHGDGXW\RI

FDQGRUWRWKH&RXUW5DWKHUDOORWKHU&ODVV&RXQVHOZKRNQHZDERXW/DEDWRQ¶V

DJUHHPHQWWRSD\'DPRQ&KDUJRLVPLOOLRQRXWRIFODVVIXQGVIRUGRLQJQRZRUNRQ




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   )XUWKHUGLVWLQJXLVKLQJGXWLHVXQGHU5XOHIURPWKHGXW\RIFDQGRUWKHShaffer FRXUWZURWH³:KLOH5XOH
DUWLFXODWHVWKHGXW\RIFDQGRUWRWKHWULEXQDODVDQHFHVVDU\SURWHFWLRQRIWKHGHFLVLRQPDNLQJSURFHVVDQG5XOH
DUWLFXODWHVDQDQDORJRXVGXW\WRRSSRVLQJODZ\HUVQHLWKHURIWKHVHUXOHVQRUWKHHQWLUH&RGHRI3URIHVVLRQDO
5HVSRQVLELOLW\GLVSODFHVWKHEURDGHUJHQHUDOGXW\RIFDQGRUDQGJRRGIDLWKUHTXLUHGWRSURWHFWWKHLQWHJULW\RIWKH
HQWLUHMXGLFLDOSURFHVV´Shaffer Equipment)GDWLQWHUQDOFLWDWLRQRPLWWHG

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WKHState StreetFDVHKDGDGXW\WRGLVFORVHWKDWDUUDQJHPHQWWRWKH&RXUWWRHQVXUHWKDW

WKH&RXUWPHWLWVILGXFLDU\REOLJDWLRQVWRWKHFODVV

       $WWKH1RYHPEHUKHDULQJRQWKH0RWLRQIRU)LQDO$SSURYDORI6HWWOHPHQW

DQG/HDG&RXQVHO¶V0RWLRQIRUDQ$ZDUGRI$WWRUQH\V¶)HHVDQG3D\PHQWRI6HUYLFH

$ZDUGV'DYLG*ROGVPLWKRI/DEDWRQDFFRPSDQLHGE\1LFROH=HLVV/DEDWRQ¶V

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+HDULQJ7U'NWSS>(;@*ROGVPLWKDUJXHGWKHPRWLRQV

EHIRUH-XGJH:ROI'DQ&KLSORFNRI/LHII&DEUDVHUDQG&DUO.UDYLW]RI=XFNHUPDQ

6SDHGHUDOVRDWWHQGHGWKHKHDULQJSee idSS*DUUHWW%UDGOH\DQG0LFKDHO

7KRUQWRQRI7KRUQWRQDOVRZHUHLQDWWHQGDQFHSee*%UDGOH\'HSSS

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WRGD\´-XGJH:ROIDSSURYHGWKHPLOOLRQJURVVVHWWOHPHQWDQGDSSURYHGD

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ZDVVDLGE\*ROGVPLWKDWWKHKHDULQJGLGQRWLQIRUPWKH&RXUWRIDOOPDWHULDOIDFWVQHHGHG

WRPDNHDIXOO\LQIRUPHGGHFLVLRQ

       *ROGVPLWKWHVWLILHGKHSHUVRQDOO\GLGQRWOHDUQRIKLVILUP¶VIHHDUUDQJHPHQWZLWK

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SUHVHQWHGWKDWZRXOGGLVFUHGLW*ROGVPLWKRQWKLV'XHWRWKHFRPSDUWPHQWDOL]DWLRQRILWV

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OLPLWHGWR6XFKDURZDQGWKHILUP¶V³UHODWLRQVKLSSDUWQHUV´(ULF%HOILDQG&KULVWRSKHU

.HOOHU*ROGVPLWKZKRZDVQRWD³UHODWLRQVKLSSDUWQHU´EXWUDWKHUDOLWLJDWRUZDVQRW

LQIRUPHGDERXW&KDUJRLVRUWKH&KDUJRLV$UUDQJHPHQW1RUGLG1LFROH=HLVVWKH

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         &DUO.UDYLW]RQHRIWKH(5,6$&RXQVHODWWHQGHGWKHKHDULQJEXWDVGLVFXVVHGLQ

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RIWKH&KDUJRLV$UUDQJHPHQWEXWZDVOHGWREHOLHYHWKDW&KDUJRLVVHUYHGDV³ORFDO

FRXQVHO´QRWWKDWKHZDVEHLQJSDLGIRUGRLQJQRZRUNRQWKHFDVH

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DQGWKHUHE\GHQLHGWKH&RXUWWKHRSSRUWXQLW\WRPHDQLQJIXOO\FDUU\RXWLWVILGXFLDU\UROH

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SURYLGHGZLWKFRSLHVRI6XFKDURZ¶V2PQLEXV'HFODUDWLRQDQGDOOWKHRWKHUVPDOOIHHGHFODUDWLRQVDQGH[KLELWVDQG
VKRXOGKDYHNQRZQXSRQUHDGLQJLWWKDWWKHSD\PHQWRIPLOOLRQWR&KDUJRLVZDVQRWPHQWLRQHGLQDQ\RIWKHIHH
SHWLWLRQGRFXPHQWV:KLOHFHUWDLQO\WKHREOLJDWLRQWRGLVFORVHWKH&KDUJRLV$UUDQJHPHQWIHOOSULPDULO\XSRQ
/DEDWRQWKHRSSRUWXQLW\ZDVSUHVHQWHGIRU%UDGOH\ZKRDWWKLVWLPHZDVDOVR2I&RXQVHOWR/DEDWRQWRH[HUFLVH
KLVGXW\RIFDQGRUDVDQRIILFHURIWKH&RXUWWREULQJWKLVRPLVVLRQWRWKH&RXUW¶VDWWHQWLRQEXWKHGLGQRWGRVR
+RZHYHULWVHHPVVRPHZKDWRIDVWUHWFKWRKROG%UDGOH\UHVSRQVLEOHIRUYLRODWLQJDGXW\RIFDQGRUWRWKH&RXUWIRU
QRWVSHDNLQJXSDERXWDQRPLVVLRQLQDQRWKHUODZ\HU¶VGHFODUDWLRQ

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       7KHUHPHGLHVIRUWKLVFRQGXFWDUHDGGUHVVHGLQWKH5HFRPPHQGDWLRQVVHFWLRQ

EHORZ

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                                    ,QWURGXFWLRQ

       %H\RQGWKHLQYHVWLJDWLRQDQGDQDO\VLVRIWKHP\ULDGLUUHJXODULWLHVLQWKHDWWRUQH\V¶

IHHVSHWLWLRQVDQGWKHIHHDSSURYDOSURFHVVRXWOLQHGLQWKHSUHYLRXVVHFWLRQVWKHPRVW

FKDOOHQJLQJ\HWLPSRUWDQWDVSHFWRIWKLVDVVLJQPHQWKDVEHHQWRGHWHUPLQHIRU

UHFRPPHQGDWLRQWRWKH&RXUWDSSURSULDWHDQGSURSRUWLRQDWHUHPHGLHVDQGVDQFWLRQVWKDW

IDLUO\EXWDGHTXDWHO\EDODQFHWKHLQWHUHVWVRIWKHFODVVWKHODZILUPVWKHOHJDOSURIHVVLRQ

WKHSXEOLFDQGWKHLQVWLWXWLRQDOQHHGVRIWKH-XGLFLDU\WRHQDEOHMXGJHVWRSHUIRUPWKHLU

FULWLFDOILGXFLDU\REOLJDWLRQVLQFODVVDFWLRQV$UULYLQJDWDSSURSULDWHUHGUHVVLVQRWD

VLPSOHRUVWUDLJKWIRUZDUGWDVNERWKEHFDXVHWKHODZLQDQXPEHURIWKHUHOHYDQWDUHDVLV

QRWHQWLUHO\FOHDUDQGSUHFLVHZLWKDWWLPHVDUJXDEO\FRQIOLFWLQJUHTXLUHPHQWVRIWKH

)HGHUDO5XOHVRI&LYLO3URFHGXUHWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFWDQG

VWDWHDQGIHGHUDOFDVHODZ±DQGWKHIDFWWKDWWKHTXHVWLRQDEOHFRQGXFWRIVRPHEXWQRW

DOORIWKHODZ\HUVDQGODZILUPVVSDQVWKHVSHFWUXPIURPFOHDUDQGXQTXHVWLRQDEOH

PLVFRQGXFWRQWKHRQHKDQGWR³JUH\DUHD´DFWLYLW\WKDWVNDWHVDORQJWKHHGJHVRI

PLVFRQGXFWDQGUDLVHVWKHVSHFWHURIDWOHDVWVKDUSSUDFWLFHEXWLVSHUKDSVQRWFOHDUO\

GHILQHGDVRXWVLGHWKHERXQGVRIWKHUXOHVDQGWKHODZ

       &RPSOLFDWLQJWKLVSLHFHRIWKHDVVLJQPHQWLVWKHQHHGWRZHLJKLQWKHEDODQFHRI

DSSURSULDWHDQGSURSRUWLRQDWHUHGUHVVWKHWUXO\ODXGDEOHUHVXOWDFKLHYHGE\WKHODZ\HUV

IRUWKHLUFOLHQWVWKHFODVVPHPEHUVWKURXJKWKHLUGHGLFDWHGDQGKLJKO\VNLOOHGKDUGZRUN

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DQGSURIHVVLRQDODFXPHQLQDFDVHZKLFKSRVHGUHDOULVNVDQGWKHXQFHUWDLQW\RISHUKDSV

QHYHUDFKLHYLQJDQ\DZDUGIRUWKHFODVVRUDQ\IHHDWDOOIRUWKHPVHOYHV$VQRWHGLQWKLV

5HSRUW¶V,QWURGXFWLRQSHUKDSVWKHPRVWODPHQWDEOHDVSHFWRIWKLVLQYHVWLJDWLRQLVWKDWWKH

RXWVWDQGLQJUHVXOWDFKLHYHGIRUWKHFODVVKDVEHFRPHWDLQWHGE\WKHTXHVWLRQDEOHFRQGXFW

GHVFULEHGLQWKHVHSDJHV

       ,QUHFRPPHQGLQJDSSURSULDWHUHPHGLHVDQGUHGUHVVIRUWKHYDULRXVVKDGHVRI

FRQGXFWGLVFRYHUHGLQWKLVLQYHVWLJDWLRQWKH6SHFLDO0DVWHUKDVDWWHPSWHGWRVWULNHD

EDODQFHWKDWUHFRJQL]HVDQGDGGUHVVHVERWKWKHVHULRXVDQGVXVWDLQHGHWKLFDOYLRODWLRQV

DQGTXDVLYLRODWLRQVUDLVHGE\WKHFRQGXFWRIVRPHRIWKHODZ\HUVZLWKWKHH[FHOOHQW

UHVXOWDFKLHYHGWKDWQRWRQO\SURYLGHGDVXEVWDQWLDOUHFRYHU\WRWKHFODVVIRUWKH

WURXEOHVRPHFRQGXFWRIWKHGHIHQGDQWLQWKHPDLQFDVHEXWZKLFKLQWKHSURFHVVDOVR

VKLQHGDOLJKWXSRQDKHUHWRIRUHKLGGHQFRUQHURIDEXVHVLQWKHWUDGLQJZRUOGZKLFKZLOO

OLNHO\EHQHILWWKHJHQHUDOWUDGLQJSXEOLF

       :KLOHRWKHUVPD\GLVDJUHHWKH6SHFLDO0DVWHUEHOLHYHVWKDWWKHUHPHGLHVDQG

VDQFWLRQVUHFRPPHQGHGKHUHHIIHFWWRWKHH[WHQWSRVVLEOHDIDLUOHJDODQGHTXLWDEOH

EDODQFHRIWKHVRPHWLPHVFRQIOLFWLQJODZDQGLQWHUHVWVGLVFXVVHGLQWKHVHSDJHV

       $IWHUDEULHIRYHUYLHZWKHUHFRPPHQGDWLRQVIRUOHJDOILQGLQJVUHPHGLHVDQG

VDQFWLRQVLQWKLVVHFWLRQDUHVHWRXWDVWKH\UHODWHWRWKHYDULRXVGXWLHVDQGREOLJDWLRQVWKH

ODZ\HUVLQWKLVFDVHKDGWRWKHLUFOLHQWVWRWKHFODVVWRRWKHUFRXQVHOLQWKHFDVHDQGODVW

EXWE\QRPHDQVOHDVWWRWKH&RXUW7KLVVHFWLRQHQGVZLWKDEULHIGLVFXVVLRQRIOHVVRQV

ZKLFKFDQEHOHDUQHGIURPWKLVLQYHVWLJDWLRQDQG³EHVWSUDFWLFHV´JRLQJIRUZDUGIRU

ODZ\HUVDQGFRXUWVLQODUJHFRPSOH[FODVVDFWLRQV

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                             5HFRPPHQGHG/HJDO)LQGLQJV

       $VGHVFULEHGLQVRPHGHWDLOLQWKHERG\RIWKLV5HSRUWWKHTXHVWLRQDEOHFRQGXFW

EUHDNVGRZQURXJKO\LQWRWZRVHSDUDWHEXWEURDGO\UHODWHGDUHDVDOOXQGHUWKHODUJHU

UXEULFRIZKDWVKRXOGKDYHEHHQLQFOXGHGLQWKHIHHSHWLWLRQVDQGGLVFORVHGWRWKHFOLHQWV

WKHFODVVFRFRXQVHODQGWKH&RXUW±WKH&KDUJRLV$UUDQJHPHQWDQGSD\PHQW±DQGZKDW

VKRXOGQRWKDYHEHHQLQFOXGHGLQWKHIHHSHWLWLRQVRI/DEDWRQ/LHIIDQG7KRUQWRQ±WKH

GRXEOHFRXQWHGKRXUVRIWKHVWDIIDWWRUQH\VDQGWKHFRQWUDFWDWWRUQH\V%HFDXVHWKHUHKDV

DOUHDG\EHHQH[WHQVLYHGLVFXVVLRQRIWKHXQGHUO\LQJIDFWXDOUHFRUGDQGDSSOLFDEOHODZLQ

WKHSUHYLRXVVHFWLRQVRIWKLV5HSRUWDORQJZLWKWKHDWWHQGDQWILQGLQJVDQGFRQFOXVLRQV

WKHVHDUHDVZLOOEHUHYLVLWHGRQO\LQVXPPDU\IDVKLRQDVQHFHVVDU\WRSURYLGHFRQWH[WIRU

WKHUHFRPPHQGDWLRQVRIOHJDOILQGLQJVUHPHGLHVDQGRUVDQFWLRQV

       $VDEURDGSURSRVLWLRQZKHUHYLRODWLRQVDUHPLQRURUFORVHFDOOVXQGHUWKHODZRU

DSSOLFDEOHUXOHVRISURIHVVLRQDOFRQGXFWWKH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKHVHEH

DGGUHVVHGZLWKUHPHGLHVDVRSSRVHGWRIRUPDOGLVFLSOLQDU\VDQFWLRQVRURWKHUDFWLRQ

7KHFDYHDWWRWKLVLVWKDWEHFDXVHVRPHRIWKHFRQGXFWWKDWPD\KDYHSUHVHQWHGFORVHOHJDO

TXHVWLRQVRUUHVXOWHGIURPWUXHLQDGYHUWHQFHRUVORSSLQHVVQRQHWKHOHVVKDGDSURIRXQG

LPSDFWXSRQWKHFODVVRURWKHUFRXQVHODQGWKH&RXUW¶VDELOLW\WRSHUIRUPLWVILGXFLDU\

REOLJDWLRQVWRWKHFODVVWKHUHGUHVVUHFRPPHQGHGDOWKRXJKLQWHQGHGWREHUHPHGLDOLQ

QDWXUHLVQRQHWKHOHVVVXEVWDQWLDO$VWRWKHVHFDWHJRULHVRIFRQGXFWDOWKRXJK

SURIHVVLRQDOGLVFLSOLQHLVQRWZDUUDQWHGVRPHRIWKHUHPHGLHVUHFRPPHQGHGZLOOEH

VWURQJPHGLFLQHIRUWKHVXEMHFWODZILUPV



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       $QRWKHUFODVVRIFRQGXFWWKDWLVERWKLQWHQWLRQDODQGDFOHDUYLRODWLRQRIWKHODZ

DQGUXOHVRISURIHVVLRQDOFRQGXFWDVZHOODVLPSDFWIXOUHTXLUHVPRUHULJRURXVUHGUHVV

LQFOXGLQJDUHFRPPHQGDWLRQRISURIHVVLRQDOGLVFLSOLQH

       )LQDOO\DVWRWZRODZILUPV/DEDWRQDQG7KRUQWRQEHFDXVHWKHFRQGXFW

GLVFRYHUHGLQWKLVLQYHVWLJDWLRQZDVHQGHPLFDQGWKHUHVXOWRISHUYDVLYHSUDFWLFHVZLWKLQ

WKHUHVSHFWLYHILUPVDUHPHG\PRUHSURSK\ODFWLFDQGIXWXUHOHDQLQJLQQDWXUHLV

DSSURSULDWH

      5HFRPPHQGHG/HJDO)LQGLQJVIRU%UHDFKRI'XWLHVWRWKH&OLHQW$756

       ,WLVHVWDEOLVKHGZLWKRXWFRQWHVWWKDWDIWHUDWWRUQH\'DPRQ&KDUJRLVKHOSHG

/DEDWRQVHFXUH$756DVDFOLHQWLQLWLDOO\WRKHOSPRQLWRU$756¶SRUWIROLRVRPHWLPHLQ

RUZHOOEHIRUHWKHLQFHSWLRQRIWKH6WDWH6WUHHWFDVH/DEDWRQDJUHHGWRSD\

DWWRUQH\&KDUJRLVWZHQW\SHUFHQWRIHYHU\IHH/DEDWRQUHFHLYHGIRUFDVHVLQZKLFK

/DEDWRQVHUYHGDVOHDGRUFROHDGFODVVFRXQVHODQG$756VHUYHGDVDFODVV

UHSUHVHQWDWLYH$OWKRXJKWKLVDJUHHPHQWZDVQHYHUVXFFHVVIXOO\UHGXFHGWRDVLJQHG

ZULWLQJLWLVDOVRXQGLVSXWHGWKDW/DEDWRQQHYHULQIRUPHGDQ\RQHDW$756DERXWWKLV

REOLJDWLRQWR&KDUJRLVLQWKH6WDWH6WUHHWOLWLJDWLRQRUDWDQ\RWKHUWLPHLQFOXGLQJLQWKH

HLJKWRWKHUFDVHVLQZKLFK&KDUJRLVZDVSDLG,QIDFWDVGLVFXVVHGLQWKH)LQGLQJVRI

)DFWVDQG&RQFOXVLRQVRI/DZVHFWLRQVODZ\HUVDW/DEDWRQZHUHDWSDLQVWRHQVXUHWKDW

*HRUJH+RSNLQV([HFXWLYH'LUHFWRURI$756GLGQRWILQGRXWDERXWWKH&KDUJRLV

$UUDQJHPHQWDQGLQWHQWLRQDOO\NHSWWKLVLQIRUPDWLRQIURPKLP

       7KHPRVWGLVWXUELQJDVSHFWRIZKDWZDVOHDUQHGGXULQJWKHHQWLUHLQYHVWLJDWLRQLV

WKHSHUYDVLYHVHFUHF\DQGFRQFHDOPHQWWKDWDWWHQGHG/DEDWRQ¶VUHODWLRQVKLSZLWK

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&KDUJRLV$VGLVFXVVHGLQGHWDLOLQWKHRWKHUVHFWLRQVRIWKLVUHSRUWDQGEHORZLQWKLV

VHFWLRQQRWRQO\GLG/DEDWRQQRWWHOOWKHFOLHQWLQLWVUROHDV/HDG&RXQVHOLWGLGQRWWHOO

WKHFODVVWKH(5,6$DWWRUQH\VRUWKH&RXUWDQ\WKLQJDERXWWKH&KDUJRLV$UUDQJHPHQW

%H\RQGWKLVZKHQWKH\VRXJKWWRKDYH/LHIIDQG7KRUQWRQVKDUHLQWKHREOLJDWLRQWR

&KDUJRLVE\VSOLWWLQJHTXDOO\WKHPLOOLRQSD\PHQWWRKLPWKH\WROGWKHPRQO\D

SRUWLRQRIWKHVWRU\OHDGLQJWKHPWREHOLHYHWKDW&KDUJRLVZDVORFDOFRXQVHODQG

SHUIRUPLQJZRUNRIYDOXHLQWKHFDVH+RZHYHUIRUWKHUHDVRQVVHWRXWLQWKHSUHYLRXV

VHFWLRQVWKH6SHFLDO0DVWHUEHOLHYHVWKDW*DUUHWW%UDGOH\±ZKRZDVZHDULQJWKHWZR

KDWVRIPDQDJLQJSDUWQHUDW7KRUQWRQDQG2I&RXQVHODW/DEDWRQNQHZDWOHDVWWKHPRVW

LPSRUWDQWSDUWVRIWKHZKROHVWRU\RIWKH&KDUJRLV$UUDQJHPHQWDQGWKDW%UDGOH\¶V

WHVWLPRQ\WRWKHFRQWUDU\LVVLPSO\QRWFUHGLEOH

       'HVSLWHDOORIWKLVKRZHYHUWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW

UHJDUGLQJZKDWPXVWEHGLVFORVHGWRDFOLHQWDQGKRZDQGZKHQDVWKH\DSSO\WR

WKHVHIDFWVDUHQRWDVFOHDUDVRQHPLJKWKRSH$VVHWRXWLQWKH&RQFOXVLRQVRI/DZ

DERYHWKH6SHFLDO0DVWHUKDVIRXQGWKDWWKH/DEDWRQODZ\HUVWHFKQLFDOO\YLRODWHG5XOH

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UHWHQWLRQOHWWHULQWKLVFDVHDQGLQIRUPHGE\D0DVVDFKXVHWWV6XSUHPH-XGLFLDO&RXUW

GHFLVLRQSaggese v. Kelly0DVVUHTXLULQJGLVFORVXUHRIDIHH

VKDULQJDJUHHPHQWWRWKHFOLHQWEHIRUHWKHUHIHUUDOLVPDGHDQGREWDLQLQJWKHFOLHQW¶V

FRQVHQWLQZULWLQJ7KH6-&¶VGHFLVLRQZDVRIFRXUVHWKHODZRIWKHMXULVGLFWLRQDQGLW

LVD[LRPDWLFWKDWODZ\HUVDUHKHOGWRNQRZWKHODZ+RZHYHUWKHUXOHDQQRXQFHGLQ

SaggeseZDVQRWHQDFWHGLQWRWKH5XOHVRI3URIHVVLRQDO&RQGXFWXQWLO0DUFK

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MXVWDIWHUWKHUHWHQWLRQOHWWHULQWKLVFDVHZDVVLJQHGDQGHYHQWKHGHFLVLRQLQSaggeseDQG

WKHDPHQGHG5XOHGRQRWPDNHFOHDUWKHGHJUHHRILQIRUPDWLRQWKDWODZ\HUVPXVWSURYLGH

WRFOLHQWVFRQFHUQLQJDIHHVKDULQJDJUHHPHQWVRWKDWWKHFOLHQWPD\PDNHDQLQIRUPHG

GHFLVLRQEHIRUHJLYLQJFRQVHQW

       7KHUHWHQWLRQOHWWHUVLJQHG)HEUXDU\LQWKLVFDVHSHUPLWWHG/DEDWRQWR

DOORFDWHIHHVWRRWKHUDWWRUQH\V³ZKRVHUYHDVORFDORUOLDLVRQFRXQVHODVUHIHUUDOIHHVRU

IRURWKHUVHUYLFHVSHUIRUPHGLQFRQQHFWLRQZLWKWKHOLWLJDWLRQ´7KLVZDVWKHRQO\QRWLFH

WR$756WKDWWKHUHPLJKWEHDUHIHUUDOIHHLQWKH6WDWH6WUHHWFDVHDOWKRXJK+RSNLQVZDV

WROGDERXWWKHGLYLVLRQRIIHHVZLWK/LHIIDQG7KRUQWRQ/DEDWRQ¶VH[SHUWVRQWKLVSRLQW

3URIHVVRUV*UHHQ-R\DQG:HQGHOERWKLQWKHLUUHSRUWVDQGLQWKHLUGHSRVLWLRQVVD\WKDW

WKLVZDVVXIILFLHQWQRWLFHWRWKHFOLHQW±WKDWWKH5XOHUHTXLUHVRQO\WKDW$756KDYHEHHQ

WROGWKDWDGLYLVLRQRIIHHPD\EHPDGHZLWKQRREOLJDWLRQZKDWVRHYHUWRGLVFORVHGHWDLOV

RUWKHLGHQWLW\RIZKRZDVUHFHLYLQJWKHIHHRUKRZPXFKLWZRXOGEH,QPDNLQJWKLV

SRLQWWKH\REVHUYHWKDW0DVVDFKXVHWWVKDVDPRUHOHQLHQWGLYLVLRQRIIHHUXOHWKDQPRVW

RWKHUVWDWHVLQFOXGLQJWKDWLWSHUPLWV³EDUHUHIHUUDOV´WREHSDLGWRODZ\HUVZKRSHUIRUP

QRZRUNRQDFDVHDQGQHYHUDSSHDULQWKHFDVH7KH\DOVRDUJXHWKDWQHLWKHUSagesseQRU

WKHUXOHLQHIIHFWDWWKHWLPHQRUWKHVXEVHTXHQWUXOHVSHFLI\WKHQDWXUHRUDPRXQWRI

LQIRUPDWLRQDFOLHQWPXVWEHJLYHQDERXWDIHHGLYLVLRQQRULVWKHQDWXUHRIWKHFRQVHQW

UHTXLUHGIURPWKHFOLHQWVSHOOHGRXW7KH\DOVRSRLQWRXWWKDW+RSNLQVLQVWUXFWHG

/DEDWRQ¶V(ULF%HOILWKDWKHGLGQRWZDQWWRNQRZDERXWDQ\GLYLVLRQRIIHHVDQGWKDWLI

KHZDQWHGWRNQRZDERXWDGLYLVLRQRIIHHVKHZRXOGDVN/DEDWRQ¶VH[SHUWVDOVRSRLQW

RXWWKDWHYHQLIWKHUHZDVDWHFKQLFDOIDLOXUHWRFRPSO\ZLWK5XOHHWKHUHZDVDWOHDVW

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DQHIIRUWWRFRPSO\WKURXJKWKHUHWHQWLRQOHWWHUDQGVXFK³LPSHUIHFWFRPSOLDQFH´GRHVQRW

PHULWDILQGLQJRIDYLRODWLRQRIWKH5XOH$VWRDQ\GLIIHUHQFHVEHWZHHQWKHFRPSOLDQFH

UHTXLUHGXQGHUSagesseDQGWKH5XOHLQHIIHFWDWWKHWLPHRIWKHUHWHQWLRQOHWWHU/DEDWRQ¶V

H[SHUWVSRLQWRXWWKDWDODZ\HULQ0DVVDFKXVHWWVKDVQHYHUEHHQGLVFLSOLQHGIRUQRW

IROORZLQJDQ6-&GHFLVLRQWKDWKDVQRWEHHQFRGLILHGLQWKH5XOHVRI3URIHVVLRQDO

&RQGXFW

       7KH6SHFLDO0DVWHU¶VH[SHUW3URIHVVRU*LOOHUVGLVDJUHHVZLWK/DEDWRQ¶VH[SHUWV

SRLQWLQJWRDUDIWRIRWKHUHYLGHQFHLQGLFDWLQJ/DEDWRQQHYHULQWHQGHGWRFRPSO\ZLWKWKH

5XOHWKDWWKH&KDUJRLV$UUDQJHPHQWZDVQRWDWUXHGLYLVLRQRIIHHDJUHHPHQWEHFDXVHLW

ZDVQHYHUIRUPDOL]HGDQGGLGQRWFRPSO\ZLWKWKHGLYLVLRQRIIHHUXOHVLQHYHU\

MXULVGLFWLRQ$756DQG/DEDWRQGLGEXVLQHVVDQGWKDWXQGHUWKHFLUFXPVWDQFHVWKHIDFW

WKDWWKHFOLHQWZDVWROGQRWKLQJDERXWWKH&KDUJRLV$UUDQJHPHQWPHDQWWKDWWKHFOLHQWKDG

LQVXIILFLHQWLQIRUPDWLRQXSRQZKLFKWRJLYHFRQVHQWLQWKLVFDVH±WKHWURXEOLQJSRVLWLRQ

RIWKHFODVVUHSUHVHQWDWLYH¶V([HFXWLYH'LUHFWRU*HRUJH+RSNLQVWKDWKHLQVWUXFWHG

/DEDWRQDWWRUQH\VWKDWKHGLGQRWZDQWWRNQRZDERXWIHHDOORFDWLRQVDPRQJFRXQVHOWR

WKHFRQWUDU\QRWZLWKVWDQGLQJ

       $VGHVFULEHGLQWKH&RQFOXVLRQVRI/DZWKH6SHFLDO0DVWHUEHOLHYHVWKDWWKH

UHTXLUHPHQWVRI5XOHHZHUHQRWFRPSOLHGZLWKDQGWKDWJLYHQDOORIWKH

FLUFXPVWDQFHVKHUHSDUWLFXODUO\WKDW$756ZRXOGEHDFWLQJDVFODVVUHSUHVHQWDWLYH

ZLWKDOORIWKHREOLJDWLRQVWRWKHFODVVWKDWZRXOGHQWDLO/DEDWRQVKRXOGKDYHDWOHDVW

LQIRUPHG+RSNLQVDQG$756RIWKHDJUHHPHQWLWKDGZLWK&KDUJRLVDQGWKHIDFWWKDWLI

WKHUHZDVDVXFFHVVIXOUHVXOWKHZRXOGEHUHFHLYLQJDVXEVWDQWLDOSRUWLRQRIWKHIHH

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%H\RQGWKLVLWLVVLJQLILFDQWWKDWWKH³IHH´RZHGWR&KDUJRLVZDV/DEDWRQ¶VRZQ

REOLJDWLRQWKDWDURVHRXWRIDSUHH[LVWLQJDJUHHPHQWZLWK&KDUJRLV,WZDVXQUHODWHGWR

WKHState StreetFDVH,QWKLVVHQVHWKHSD\PHQWWR&KDUJRLVFDQKDUGO\EHVDLGWREHD

³UHIHUUDOIHH´

        1HYHUWKHOHVVWKH6SHFLDO0DVWHUDFNQRZOHGJHVWKDWJLYHQ0DVVDFKXVHWWV¶XQLTXH

UXOHVDQGKLVWRU\RQIHHGLYLVLRQDQGWKHIDFWWKDW+RSNLQVWROG%HOILKHGLGQRWZDQWWR

NQRZDERXWIHHGLYLVLRQVWKLVLVDFORVHFDVHPDGHFORVHUE\WKHIDFWWKDWDSSDUHQWO\

ODZ\HUVLQ0DVVDFKXVHWWVDUHQRWGLVFLSOLQHGIRUQRWFRPSO\LQJZLWKUXOHVDQQRXQFHGE\

FRXUWVEXWQRWFRGLILHGLQWRWKH5XOHVRI3URIHVVLRQDO&RQGXFW

       $OWKRXJKWKH6SHFLDO0DVWHUEHOLHYHVWKDW/DEDWRQKDGDSURIHVVLRQDOREOLJDWLRQWR

WHOOLWVFOLHQW$756DFODVVUHSUHVHQWDWLYHWKHVDOLHQWGHWDLOVRIWKH&KDUJRLV

$UUDQJHPHQWVRWKDWWKHFOLHQWFRXOGPDNHDQLQIRUPHGGHWHUPLQDWLRQRIZKHWKHUWRJLYH

FRQVHQWDQGKRZWKLVPLJKWLPSDFWLWVREOLJDWLRQVDVFODVVUHSUHVHQWDWLYHUDWKHUWKDQ

LQWHQWLRQDOO\NHHSLQJWKHLQIRUPDWLRQIURPWKHFOLHQWWKHLQWHUVHFWLRQRIWKHODZDQGWKH

IDFWVKHUHGRQRWULVHWRWKHOHYHORIUHTXLULQJGLVFLSOLQDU\DFWLRQ7KHREOLJDWLRQVWRWKH

FOLHQWDQGWKHWLPLQJRIWKHPZHUHVLPSO\WRRXQFOHDUDWWKHWLPHWRPHULWWKHLPSRVLWLRQ

RISURIHVVLRQDOGLVFLSOLQHRUDQ\NLQGRIGLVFLSOLQDU\VDQFWLRQ

       &ORVHO\UHODWHGWRWKHLVVXHVVXUURXQGLQJ5XOHHDUHTXHVWLRQVRIZKHWKHU

/DEDWRQYLRODWHG5XOHEWKHUXOHIRUELGGLQJDODZ\HUIURPJLYLQJ³DQ\WKLQJRIYDOXH

WRDSHUVRQIRUUHFRPPHQGLQJWKHODZ\HU¶VVHUYLFHV´7KHUHDVRQ5XOHHLV

LPSOLFDWHGLQWKLVGLVFXVVLRQLVWKDWVXEVHFWLRQRI5XOHELQFOXGHVDQH[FHSWLRQWR

WKHSURKLELWLRQRISDLGUHFRPPHQGDWLRQVIRUYDOLGGLYLVLRQRIIHHDJUHHPHQWVXQGHU5XOH

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HLWLVSHUPLVVLEOHWRSD\DODZ\HUIRUUHFRPPHQGLQJDQRWKHUODZ\HUZLWKRXW

LPSOLFDWLQJ5XOHE¶VSURVFULSWLRQV

       $VQRWHG3URIHVVRU*LOOHUVEHOLHYHVWKDWWKHUHZDVQRWFRPSOLDQFHZLWK5XOH

HDQGWKHUHIRUHJRHVRQWRDQDO\]HZKHWKHUWKH&KDUJRLV$UUDQJHPHQWDQGWKH

KLVWRU\RIKRZWKH$UUDQJHPHQWEHJDQFRQVWLWXWHDYLRODWLRQRI5XOHE+HEHOLHYHV

WKDWWKHUHZDVDYLRODWLRQ&RQWUDU\WRWKHRSLQLRQVRIWZRRI/DEDWRQ¶VH[SHUWV:HQGHO

DQG/LHEHUPDQZKREHOLHYHWKDW5XOHEGRHVQRWDSSO\WRODZ\HUVDWDOOEHFDXVHD

ODZ\HULVQRWD³SHUVRQ´IRUSXUSRVHVRIWKH5XOH3URIHVVRU*LOOHUVRSLQHVWKDW

SD\PHQWVE\DODZ\HUWRDQRWKHUODZ\HUIRUUHFRPPHQGDWLRQVWKDWGRQRWFRPSO\ZLWK

5XOHHDUHZLWKLQWKHSURVFULSWLRQVRI5XOHE,QRWKHUZRUGV3URIHVVRU*LOOHUV

EHOLHYHVWKDWDODZ\HULVD³SHUVRQ´XQGHUWKH5XOH3URIHVVRU*LOOHUVFRPPRQVHQVLFDOO\

SRLQWVRXWWKDWLIWKHZRUG³SHUVRQ´ZDVLQWHQGHGWRH[FOXGHODZ\HUVIURPLWVDPELWWKHUH

ZRXOGEHQRQHHGIRUWKHH[FHSWLRQLQ5XOHEIRUIHHDJUHHPHQWVWKDWGLYLGHIHHV

EHWZHHQlawyers. %H\RQGWKLVWKH5XOHRULWVFRPPHQWXVHWKHZRUG³QRQODZ\HU´ILYH

WLPHVDQGLIWKHGUDIWHUVRIWKH5XOHZLVKHGWROLPLWWKHFDWHJRU\RIFRYHUHGSHUVRQVWR

QRQODZ\HUVWKH\ZRXOGKDYHXVHGWKHZRUGQRQODZ\HUUDWKHUWKDQSHUVRQ7KXVWKH

SXUSRVHRIXVLQJWKHZRUG³SHUVRQ´ZDVWRPDNHFOHDUWKH5XOHFRYHUHGERWKODZ\HUVDQG

QRQODZ\HUV

       )XUWKHU/DEDWRQ¶VH[SHUWVVD\WKDWWKHHQWLUHKLVWRU\RIWKH5XOHZDVGLUHFWHG

WRZDUGDGYHUWLVLQJDQGVROLFLWDWLRQIRUODZ\HUVE\WRXWVWD[LGULYHUVDQGRWKHUQRQ

ODZ\HUVDQGZDVQRWLQWHQGHGWRFRYHUUHFRPPHQGDWLRQVE\DODZ\HUWRRWKHUVIRUWKH

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VHUYLFHVRIDQRWKHUODZ\HU7KHUHIRUHDVQRWHGWKH\UHDVRQDODZ\HULVQRWD³SHUVRQ´

ZLWKLQWKHPHDQLQJRIWKH5XOH7ZRH[SHUWV-R\DQG*UHHQRSLQHIXUWKHUWKDWEHFDXVH

WKH5XOHFRYHUVRQO\WKH³UHFRPPHQGLQJ´RIDODZ\HU¶VVHUYLFHVDQGZKDW&KDUJRLVGLG

ZDVWRLQWURGXFH/DEDWRQWR$756DQGIDFLOLWDWHDUHODWLRQVKLSWKH&KDUJRLV

$UUDQJHPHQWLVQRWWKHSURGXFWRID³UHFRPPHQGDWLRQ´DQGWKHUHIRUHFRYHUHGXQGHUWKH

5XOH)LQDOO\DQGPRUHSHUVXDVLYHO\DWOHDVWRQHRI/DEDWRQ¶VH[SHUWV3URIHVVRU*UHHQ

SRLQWHGRXWWKDWDODZ\HUKDVQHYHUEHHQGLVFLSOLQHGLQ0DVVDFKXVHWWVXQGHU5XOHE

DQGWKHUHDUHQRFDVHVLQ0DVVDFKXVHWWVRULQIDFWLQDQ\MXULVGLFWLRQLQWKHFRXQWU\

WKDWKDYHHYHUEHHQEURXJKWDJDLQVWDODZ\HUIRUDYLRODWLRQRI5XOHE

       ,QWKH&RQFOXVLRQVRI/DZVHFWLRQWKH6SHFLDO0DVWHUILQGVWKDW3URIHVVRU*LOOHUV

KDVWKHVWURQJHUDUJXPHQWRQWKLVSRLQWDVDVWULFWPDWWHURIODZDQGVWDWXWRU\

FRQVWUXFWLRQ,QUHDFKLQJWKLVGHFLVLRQLWUHVRQDWHVZLWKWKH6SHFLDO0DVWHUWKDWWKH5XOH

FUHDWHVDVSHFLILFH[FHSWLRQIRUYDOLGIHHGLYLVLRQVEHWZHHQODZ\HUVDQGLIODZ\HUVZHUH

QRWLQWHQGHGWREHFRYHUHGE\WKH5XOHWKLVH[FHSWLRQZRXOGEHXQQHFHVVDU\:KHQRQH

RI/DEDWRQ¶VH[SHUWV*UHHQZDVTXHVWLRQHGDERXWWKLVKHVLPSO\VDLGWKHODQJXDJHZDV

³VXUSOXVDJH´DQRWKHUH[SHUW/LHEHUPDQVDLGLWZDV³UHGXQGDQW´7KH6SHFLDO0DVWHU

FDQQRWDFFHSWWKHVHUDWKHUIDFLOHH[SODQDWLRQVRQHPXVWSUHVXPHWKDWGUDIWHUVRIODZV

PHDQZKDWWKH\VD\DQGGRQRWDGRUQVWDWXWHVUHJXODWLRQVDQGUXOHVZLWKXQQHFHVVDU\

ODQJXDJHDQGILQGVWKDW5XOHEFRYHUVUHFRPPHQGDWLRQVPDGHE\ODZ\HUVIRUWKH

VHUYLFHVRIRWKHUODZ\HUVXQOHVVWKHUHLVFRPSOLDQFHZLWK5XOHH)XUWKHUDIWHUD

FDUHIXOUHYLHZRIWKHUHFRUGWKH6SHFLDO0DVWHULVSHUVXDGHGWKDWWKHHQWLUHRULJLQDQG

QDWXUHRIWKH&KDUJRLV$UUDQJHPHQWILWHDVLO\ZLWKLQWKHDPELWRI5XOHEDQG

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WKHUHIRUHWKHSD\PHQWVE\/DEDWRQWR&KDUJRLVIRUKLVUHFRPPHQGLQJRI/DEDWRQDWWKH

LQFHSWLRQRIWKH/DEDWRQ$756UHODWLRQVKLSIDOOVZLWKLQ5XOHE¶VSURVFULSWLRQV

7KHUHIRUHEHFDXVHDVGLVFXVVHGWKHIHHGLYLVLRQDJUHHPHQWGLGQRWFRPSO\ZLWK5XOH

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       +RZHYHUWKLVGRHVQRWHQGWKHGLVFXVVLRQDVLWEHJVWKHTXHVWLRQRIZKHWKHU

SURIHVVLRQDOGLVFLSOLQHLVPHULWHGWRDGGUHVVWKHFRQGXFW7KH6SHFLDO0DVWHUFRQFOXGHV

WKDWLWGRHVQRWIRUVHYHUDOUHDVRQV)LUVWDVQRWHGWKHTXHVWLRQRIFRPSOLDQFHZLWK5XOH

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WKHUHZDVFRPSOLDQFHZLWKWKDW5XOHWKHUHZDVQRYLRODWLRQRI5XOHE%HFDXVHWKH

YLRODWLRQRI5XOHHIRXQGKHUHGRHVQRWPHULWSURIHVVLRQDOGLVFLSOLQHLWZRXOGEH

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WKH6SHFLDO0DVWHULVVWUXFNE\WKHIDFWWKDWDSSDUHQWO\QRGLVFLSOLQDU\ERG\RUFRXUWLQ

0DVVDFKXVHWWVRULQGHHGLQWKHUHVWRIWKHFRXQWU\KDVHYHULPSRVHGGLVFLSOLQHRU

VDQFWLRQVXSRQDODZ\HUIRUSD\LQJDQRWKHUODZ\HUXQGHU5XOHE

       $OWKRXJK3URIHVVRU*LOOHUVDQDO\VLVDQGRSLQLRQPDNHVDEVROXWHVHQVHWKLVJRHVWR

WKHTXHVWLRQRIQRWLFHWRWKHSUDFWLFLQJEDU3HUKDSVJRLQJIRUZDUGLIWKH&RXUWDGRSWV

3URIHVVRU*LOOHUV¶DQGWKH6SHFLDO0DVWHU¶VYLHZVRQWKLV5XOHWKHSUDFWLFLQJSURIHVVLRQ

ZLOOEHRQQRWLFHWKDWEDUHUHFRPPHQGDWLRQVWKDWDUHQRWPDGHSXUVXDQWWRDYDOLG

GLYLVLRQRIIHHDJUHHPHQWXQGHU5XOHHFRXOGVXEMHFWODZ\HUVWRGLVFLSOLQHXQGHU

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DSSURSULDWHWRLPSRVHSURIHVVLRQDOGLVFLSOLQHLQWKHVHFLUFXPVWDQFHV$FFRUGLQJO\QR

SURIHVVLRQDOGLVFLSOLQHRUVDQFWLRQVLVZDUUDQWHGKHUHDQGQRQHLVUHFRPPHQGHG

       %XWHYHQWKLVGRHVQRWHQGWKHPDWWHU:KHWKHUWKHFRQGXFWKHUHPHULWV

SURIHVVLRQDOGLVFLSOLQHRUVDQFWLRQXQGHUWKH5XOHVRI3URIHVVLRQDO&RQGXFWLWLV

QRQHWKHOHVVVKDUSSUDFWLFHDQGUHTXLUHVUHGUHVVDQGUHPHGLDODFWLRQ7KHLQWHQWLRQDODQG

SHUYDVLYHZLWKKROGLQJRIWKHKLVWRU\DQGGHWDLOVRIWKH&KDUJRLV$UUDQJHPHQWIURP

*HRUJH+RSNLQVDQG$756DQGHYHU\RWKHUDFWRULQWKHFDVHFRPELQHGZLWKWKH

EODWDQWO\FRPPHUFLDOQDWXUHRIWKHUHODWLRQVKLSDWWKHLQFHSWLRQRIWKHUHODWLRQVKLSDQG

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FOLHQWVHHPVPRUHOLNHWKHSD\PHQWRIDILQGHU¶VIHHZLWKDUHVXOWLQJIORDWLQJOLHQRQDOO

VXEVHTXHQWFDVHVWKDQDWUXHSURIHVVLRQDOUHODWLRQVKLSLQWHQGHGIRUWKHJRRGRIWKHFOLHQW

RUIRUWKDWPDWWHUWKHSXEOLF7KHVHFUHWLYHQHVVWKDWVXUURXQGHGWKH&KDUJRLV

$UUDQJHPHQWRQO\H[DFHUEDWHVLWVXQVHHPOLQHVV

       /DEDWRQ¶VFRQGXFWLQQRWGLVFORVLQJWKH&KDUJRLV$UUDQJHPHQWWRWKHFOLHQWDQG

REWDLQLQJHIIHFWLYHFRQVHQWPHULWVVRPHUHPHGLDODFWLRQ7KLVUHPHG\ZLOOEHLPSRVHGDV

SDUWRIWKHODUJHUUHPHG\IRU/DEDWRQ¶VQRQGLVFORVXUHWRRWKHULPSRUWDQWDFWRUVKHUHIURP

ZKRPWKH&KDUJRLV$UUDQJHPHQWZDVLQWHQWLRQDOO\KLGGHQLQFOXGLQJWKH(5,6$ODZ\HUV

WKHFODVVZKRDVGLVFXVVHGDUHDOVR/DEDWRQ¶VFOLHQWVDQGWKH&RXUWDQGZLOOEH

GLVFXVVHGVHSDUDWHO\

           5HFRPPHQGHG/HJDO)LQGLQJVDVWR%UHDFKHVRI'XWLHVWRWKH&ODVV

       %HIRUHPRYLQJWRDVSHFLILFGLVFXVVLRQRIWKHLPSOLFDWLRQVRI/DEDWRQ¶VIDLOXUHWR

SURYLGHLQIRUPDWLRQDQGQRWLFHWRWKHFODVVDERXWWKH&KDUJRLV$UUDQJHPHQWDQG

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PLOOLRQSD\PHQWLWEHDUVQRWLQJWKDWLQDOORI/DEDWRQ¶VOHJDOLVWLFDUJXPHQWVDJDLQVWDQ\

QRWLFHUHTXLUHPHQWLWQHYHUHYHQJLYHVDQRGWRZKDWZRXOGEHLQWKHEHVWLQWHUHVWVRIWKH

FODVVPHPEHUVQRUGRHVLWLQDQ\ZD\DFNQRZOHGJHWKDWLQNHHSLQJWKLVLQIRUPDWLRQIURP

WKHFODVV/DEDWRQLQLWVUROHDV/HDG&RXQVHOPD\KDYHGHSULYHGWKHFODVVPHPEHUVRI

WKHLUIXQGDPHQWDOULJKWWRFRQWUROWKHRXWFRPHRIWKHLUFDVHE\H[HUFLVLQJULJKWVWKDWFDQ

RQO\KDYHUHDOPHDQLQJLIWKH\DUHLQIRUPHGRIWKHQHFHVVDU\LQIRUPDWLRQXSRQZKLFKWR

PDNHDGHFLVLRQ7KLVUHOLDQFHRQIRUPDOLVWLFDQGOHJDOLVWLFGHIHQVHVWRWKHLUFRQGXFW

DOWKRXJKLWLVFHUWDLQO\/DEDWRQ¶VULJKWWRGRVRLVDWURXEOLQJUHVSRQVHIURPRQHRIWKH

QDWLRQ¶VOHDGLQJSODLQWLIIVFODVVDFWLRQODZILUPVLQZKRPFRXQWOHVVFODVVPHPEHUVKDYH

SODFHGWKHLUWUXVWDQGFRQILGHQFH

       ,QDGGLWLRQWRQRWGLVFORVLQJWKH&KDUJRLV$UUDQJHPHQWWR$756WKHFODVV

UHSUHVHQWDWLYH/DEDWRQGLGQRWGLVFORVHLWWRWKHFODVVLWVHOILQWKH1RWLFHRI3HQGHQF\RI

&ODVV$FWLRQDIWHUWKHFODVVZDVFHUWLILHGLQ$XJXVWRIRURQLWVFODVVDFWLRQZHEVLWH

ZKHUHWKHIHHSHWLWLRQZDVSRVWHGLQ6HSWHPEHUQRUDWDQ\RWKHUWLPH7KLVIDFWUDLVHV

RQHRIWKHPRVWFKDOOHQJLQJDQGWDQJOHGPL[HGTXHVWLRQVRIODZDQGIDFWLQWKH

LQYHVWLJDWLRQDVWKHLVVXHRIZKHWKHU/DEDWRQKDGDGXW\WRGLVFORVHWKH&KDUJRLV

$UUDQJHPHQWDQGUHVXOWLQJSD\PHQWWRWKHFODVVDWOHDVWDVRIWKHWLPHWKHFODVVZDV

FHUWLILHGLVWKHVXEMHFWRIPXFKXQFHUWDLQW\DPRQJFRXUWVODZ\HUVDQGDFDGHPLFVDQG

ERWKWKHJRYHUQLQJ)HGHUDO5XOHVRI&LYLO3URFHGXUHDQGHWKLFVUXOHVDJDLQSURYLGHQR

FOHDUDQVZHURQWKHIDFWVKHUH$PRQJRWKHUUHDVRQVIRUWKLVFRPSOH[LW\DUHWKHIDFWVWKDW

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DIIHFWVHWWOHPHQWXQGHU5XOHHEXWDOVRWKDWWKHFHUWLILHGFODVVLVDFOLHQWDWOHDVW

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       %H\RQGWKLVWKHQDWXUHRIWKHFHUWLILHGFODVVKHUHSUHVHQWVIXUWKHUIDFWXDODQGOHJDO

QXDQFHVEHFDXVHWKHFHUWLILHGFODVVLQFOXGHGFODVVPHPEHUVZKLFKRYHUODSSHGEHWZHHQ

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PHPEHUVKLSWKHOHJDOFODLPVEURXJKWLQWKHFXVWRPHUFODVVFDVHZHUHJURXQGHGLQVWDWH

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FHUWLILHGVHWWOHPHQWFODVV$VQRWHG$756([HFXWLYH'LUHFWRU*HRUJH+RSNLQVZDVQRW

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DVDFOLHQWDQGWKDWFODVVFRXQVHOGLGQRWKDYHDQHWKLFDOGXW\WRLQIRUPWKHFODVVRIWKH

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$756DVWKHFODVVUHSUHVHQWDWLYHDQG/DEDWRQDVFODVVFRXQVHOWRIXOILOOWKHLUILGXFLDU\

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       %XW$756GLGQRWNQRZDERXW&KDUJRLVEHFDXVH/DEDWRQGLGQRWWHOOLWDQG

/DEDWRQGLGQRWLQGHSHQGHQWO\SXWWKH&KDUJRLVSD\PHQWLQIRUPDWLRQLQWKHFODVVQRWLFH

RURQLWVFODVVZHEVLWH1RUGLG/DEDWRQGLVFORVHWRWKH(5,6$&RXQVHODQ\WKLQJDERXW

&KDUJRLVVRWKDWWKH\FRXOGLQIRUPWKHLUFODVVUHSUHVHQWDWLYHFOLHQWVDQG/DEDWRQGLGQRW

IXOO\GLVFORVHWKH&KDUJRLV$UUDQJHPHQWDQGUHVXOWLQJSD\PHQWWRWKHRWKHUFXVWRPHU

FODVVODZ\HUV/LHIIDQG7KRUQWRQVRWKDWWKH\FRXOGKDYHZHLJKHGLQRQWKHTXHVWLRQRI

ZKHWKHUWRSURYLGHQRWLFHWRWKHFODVVPHPEHUV

       *LYHQWKHWUXHDQGFRPSOHWHFLUFXPVWDQFHVKHUHWKH6SHFLDO0DVWHUILQGVWKDWWKH

&KDUJRLVSD\PHQWZRXOGKDYHEHHQPDWHULDOLQIRUPDWLRQXSRQZKLFKDWOHDVWVRPHRIWKH

FODVVPHPEHUVPD\KDYHEDVHGDGHFLVLRQWRHLWKHUREMHFWRURSWRXW,QQRWGLVFORVLQJWKH

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UHSUHVHQWDWLYHVWKH6SHFLDO0DVWHUILQGVWKDW/DEDWRQDV/HDG&RXQVHOIRUWKHFODVVIDLOHG

WRPHHWLWVILGXFLDU\GXWLHVWRWKHFODVVPHPEHUVDVFOLHQWV,QUHDFKLQJWKLVILQGLQJWKH

6SHFLDO0DVWHUFRQVLGHUVSDUWLFXODUO\VLJQLILFDQWQRWVLPSO\WKHVL]HRIWKH&KDUJRLV

SD\PHQWLWVHOIRUHYHQWKHIDFWVWKDW&KDUJRLVGLGQRZRUNDQGFRQWULEXWHGQRYDOXHWR

WKHFDVHEXWDOVRWKDWWKH&KDUJRLVSD\PHQWREOLJDWLRQSUHFHGHGWKHState StreetFDVHDQG

ZDV/DEDWRQ¶VREOLJDWLRQDORQHDQGKDGQRFRQQHFWLRQWRWKHUHVXOWDFKLHYHGLQWKHFDVH

       +RZHYHUJLYHQWKHODFNRIFODULW\DQGGLIIHUHQFHVRIRSLQLRQDQGWKHSRVVLEOH

FRQIOLFWVEHWZHHQFODVVFRXQVHO¶VOHJDOREOLJDWLRQVXQGHUWKH)HGHUDO5XOHVRI&LYLO

3URFHGXUHDQGWKHDSSOLFDEOH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFWWKH6SHFLDO

0DVWHUPXVWDJDLQVWRSVKRUWRIUHFRPPHQGLQJWRWKH&RXUWWKDWSURIHVVLRQDOGLVFLSOLQDU\

VDQFWLRQVRURWKHUIRUPDODFWLRQEHLPSRVHGXSRQ/DEDWRQDWWRUQH\V$OWKRXJKWKH

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TXHVWLRQVDUHVLPSO\WRRFORVHWRPHULWIRUPDOGLVFLSOLQHZLWKDOORIWKHSRWHQWLDOO\KDUVK

SURIHVVLRQDOUDPLILFDWLRQVDQGFRQVHTXHQFHVWKDWPD\DWWHQGWRVXFKDFWLRQ+RZHYHUWKH

IDFWUHPDLQVWKDWWKHFODVVPHPEHUVZHUHGHSULYHGRILPSRUWDQWDQGPDWHULDOLQIRUPDWLRQ

DQGWKH6SHFLDO0DVWHUILQGVWKDWWKHIDLOXUHWRSURYLGHVXIILFLHQWLQIRUPDWLRQWRWKHFODVV

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SD\PHQWWR&KDUJRLVRUWRREMHFWRUWRRSWRXWRIWKHVHWWOHPHQWUHTXLUHVVLJQLILFDQW

UHPHGLDOPHDVXUHVWRFRUUHFWWKLVVHULRXVIODZLQWKHQRWLFHSURFHVV

       7KHDSSURSULDWHUHPHGLHVIRUWKLVFRQGXFWZLOOEHDGGUHVVHGVHSDUDWHO\

           5HFRPPHQGHG/HJDO)LQGLQJVIRU%UHDFKRI'XWLHVWR&R&RXQVHO



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       ,QLWVUROHDV/HDG&RXQVHO/DEDWRQIDLOHGLQLWVGXWLHVRIIDLUQHVVWUXVWZRUWKLQHVV

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       7KHEUHDFKHVRIGXW\WRLWVFRFRXQVHOVSULQJIURPWZRVHSDUDWHEXWUHODWHG

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DQGHFRQRPLFDOO\LQWKHLQWHUHVWVRIDOOSDUWLHVDQGSDUWLHV¶FRXQVHOIn re Pharm. Indus.

Average Wholesale List Price Litig., :/DWTXRWLQJManual for

Complex LitigationDWWKHG$OWKRXJKFRXUWVJHQHUDOO\GRQRWILQGD

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GHPDQGLQJVWDQGDUGRIWUXVWZRUWKLQHVVEHFDXVHWKH&RXUWPXVWUHO\RQUHSUHVHQWDWLRQV

PDGHE\FRXQVHO´Id.%\WKLVUHVSRQVLELOLW\OHDGFRXQVHOVKRXOGEHH[SHFWHGWRGHDO

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UHVSRQVLELOLWLHVWRFODVVPHPEHUVDQGEHIXOO\LQIRUPHGWKHPVHOYHVDVWKH\PDNH

GHFLVLRQVDERXWWKHLURZQIHHDOORFDWLRQV%\IDLOLQJWRGLVFORVHWKH&KDUJRLV

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/DEDWRQDQGWKHRWKHUFXVWRPHUFODVVFRXQVHO

       $VHFRQGEXWUHODWHGIDLOXUHDULVHVXQGHUVHWWOHGSULQFLSOHVRIFRQWUDFWODZ$SDUW

IURPWKHSULQFLSOHVRIIDLUQHVVDQGWUXVWZRUWKLQHVVWKDWDFFRPSDQLHG/DEDWRQ¶VUROHDV

/HDG&RXQVHOFRXUWVKDYHUHFRJQL]HGWKDWFRQWUDFWSULQFLSOHVDOVRLPSRVHGXWLHVZLWKLQD

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SUHFOXGHG(5,6$FRXQVHOIURPIXOO\LQIRUPLQJWKHLUFOLHQWVLWSUHYHQWHGWKHPIURP

PDNLQJIXOO\LQIRUPHGGHFLVLRQVDERXWWKHLURZQIHHDOORFDWLRQVLQWKHLUQHJRWLDWLRQVZLWK

WKHFXVWRPHUFODVVFRXQVHO+HUHFRQWH[WLVLPSRUWDQW7KHPLOOLRQSD\PHQWWR

&KDUJRLVZKRSHUIRUPHGQRZRUNDQGQHYHUDSSHDUHGLQWKHFDVHZDVFRQVLGHUDEO\

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       7KDWWKLVRPLVVLRQE\/DEDWRQZDVPDWHULDOLVERUQHRXWE\/\QQ6DUNR¶V

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(YHQORQJDIWHUWKHIHHDOORFDWLRQDJUHHPHQWEHWZHHQWKHFXVWRPHUFODVVDQG(5,6$

DWWRUQH\VZDVPDGH/DEDWRQZDVDWSDLQVWRPDNHVXUHWKH(5,6$DWWRUQH\VVWLOOGLGQRW

NQRZDERXWWKH&KDUJRLVSD\PHQW,QDQHPDLODERXWWKHFODZEDFNOHWWHULQ1RYHPEHU

/DUU\6XFKDURZGLUHFWHGWKDWVHSDUDWHOHWWHUVEHVHQWWRFXVWRPHUFODVVFRXQVHODQG

(5,6$FRXQVHOVD\LQJ³1HHGWZROHWWHUVZLWKEUHDNGRZQ(5,6$MXVWJHWVVHQWWR

(5,6$FRXQVHOZLWKSHUFHQWRIIWKHWRSDQGWKHQDWKLUGHDFK&ODVVFRFRXQVHOJHW

RQHZLWK(5,6$SHUFHQWRIIWKHWRS'DPRQ¶VSHUFHQWDJHDOVRRIIWKHWRSDQGHDFKRI

FODVVFRFRXQVHOVSOLWZLWKWKHSHUFHQWDJHVDJUHHGWRIn short, no reason for ERISA to

see Damon’s split. They only need to see their 10 percent and then split three ways.” 

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JRYHUQPHQWDODJHQF\WKDWKDGRYHUVLJKWUHVSRQVLELOLW\IRU(5,6$SODQV&DUO.UDYLW]ZDV

DOVRLQYROYHGZLWKQHJRWLDWLQJZLWK'2/'HIHQGDQW6WDWH6WUHHWZDVLQVLVWLQJRQDIXOO\

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       %H\RQGWKLVDVVHWRXWLQWKH)LQGLQJVRI)DFWWKH6HWWOHPHQW$JUHHPHQW

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WKUHHFXVWRPHUFODVVILUPVWHVWLILHGWKDWKHZDVOHGWREHOLHYHWKDW&KDUJRLVZDV

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SULQFLSOHVUHTXLUHWKDWWKHUHVSHFWLYHDJUHHPHQWVEHYRLGHGDQGWKDWWKHSDUWLHV¶ULJKWVEH

DGMXVWHG7KHVHFRQWUDFWSULQFLSOHVQRWRQO\VWDQGRQWKHLURZQEXWDOVRLQIRUPDFRXUW¶V

HTXLWDEOHDXWKRULW\DQGJLYHQWKHIDFWXDOXQGHUOD\PHQWKHUHDFRXUWFRXOGEHH[SHFWHGWR

UHIRUPDFRQWUDFWWRPHHWWKHSDUWLHV¶UHDVRQDEOHH[SHFWDWLRQV7KXVWRWKHH[WHQWSXUH

FRQWUDFWODZSULQFLSOHVPD\QRWVXSSO\DFRPSOHWHOHJDOUHPHG\HTXLWDEOHSULQFLSOHVGR

       ,QRUGHUWRDFKLHYHDMXVWUHVXOWWKH6SHFLDO0DVWHUUHFRPPHQGVDWKUHHIROG

ILQGLQJWKDWLQDJUHHLQJWRWKHIHHDOORFDWLRQWKH(5,6$DWWRUQH\VZHUHPDWHULDOO\

PLVOHGE\WKHRPLVVLRQRIWKH&KDUJRLVSD\PHQWDQGLWVKLVWRU\DQGWKDWWKHLUVKDUHRI

WKHIHHDZDUGVKRXOGEHLQFUHDVHGEHFDXVHLWKDVEHHQZHOOHVWDEOLVKHGEH\RQGDQ\

TXHVWLRQLQWKLVLQYHVWLJDWLRQWKDWWKH(5,6$DWWRUQH\VERUHQRUHVSRQVLELOLW\IRUHLWKHU

WKHGRXEOHFRXQWLQJRQWKHFXVWRPHUFODVVILUPV¶ORGHVWDUSHWLWLRQVRUWKHSD\PHQWWR

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&KDUJRLVDQGLQIDFWZHUHLQWHQWLRQDOO\NHSWLQWKHGDUNDERXWWKHSD\PHQWWR

&KDUJRLVE\/DEDWRQWKH(5,6$DWWRUQH\VVKRXOGUHFHLYHUHLPEXUVHPHQWIRUKDYLQJ

EHHQGUDJJHGLQWRWKLVLQYHVWLJDWLRQWKURXJKQRIDXOWRIWKHLURZQDQGLQYLHZRIDOO

RIWKHKLVWRU\UHFRXQWHGKHUHLQWKH6SHFLDO0DVWHUUHFRPPHQGVWKDWDQ\REOLJDWLRQVWKH

(5,6$DWWRUQH\VPD\KDYHKDGWR/DEDWRQXQGHUWKHFODZEDFNOHWWHUEHDEURJDWHGDQG

WKDWWKHFODZEDFNOHWWHUEHGHFODUHGYRLGDVWRWKH(5,6$DWWRUQH\V

       $VWR/LHIIWKHDSSURSULDWHUHVROXWLRQLVPRUHFRPSOLFDWHG2QWKHRQHKDQG

/LHIIDJUHHGWRVKDUHLQWKH&KDUJRLVSD\PHQWDQGDWOHDVWNQHZDERXW&KDUJRLVDOEHLW

QRWWKHIXOOVWDWHRIDIIDLUV2QWKHRWKHUKDQGWKH6SHFLDO0DVWHUEHOLHYHVWKDW/LHIIZDV

PLVOHGLQWRDJUHHLQJWRVKDUHLQWKH&KDUJRLVSD\PHQW2UGLQDULO\VRPHUHFRPSHQVH

ZRXOGEHLQRUGHUIRUWKLV+RZHYHUDWRUDODUJXPHQW/LHII¶VFRXQVHODQGWKHILUP¶V

*HQHUDO&RXQVHO5LFKDUG+HLPDQQZKHQDVNHGZKDWLIDQ\UHOLHIKHZDVVHHNLQJ

LQGLFDWHGKHZDVQRWORRNLQJIRUDQ\UHSD\PHQW+RZHYHU%RE/LHIIZKRZDVSUHVHQW

DWWKHRUDODUJXPHQWEXWDSSDUHQWO\LVQRORQJHUDPHPEHURIWKHILUPWKRXJKWWKHUH

VKRXOGEHDSD\PHQWEDFNWRWKH/LHIIILUP,QYLHZRIDOORIWKHVHIDFWRUVWKH6SHFLDO

0DVWHUEHOLHYHVWKDWWKHIDLUHVWUHVXOWIRUWKH/LHIIILUPZRXOGEHIRULWWREHUHOLHYHGRILWV

REOLJDWLRQVWR/DEDWRQXQGHUWKHFODZEDFNOHWWHUDVWR&KDUJRLVEXWQRPRUH+RZHYHU

DVDGGUHVVHGLQWKHVHFWLRQRQUHPHGLHVIRUWKHGRXEOHFRXQWLQJ/LHII¶VRZQHPDLOVDQG

WKHGHSRVLWLRQWHVWLPRQ\RILWVODZ\HUVLQGLFDWHWKDW/LHIIVKDUHVUHVSRQVLELOLW\IRUWKH

LQDGYHUWHQWPLVWDNHDQGWKDWSDUWRIWKHUHPHGLHVZLOOEHGHDOWZLWKVHSDUDWHO\

       7KH7KRUQWRQILUPSUHVHQWVDQHYHQFORVHUPRUHFRPSOLFDWHGTXHVWLRQ$OWKRXJK

WKHHYLGHQFHVXSSRUWV0LNH7KRUQWRQ¶VWHVWLPRQ\WKDWKHWRREHOLHYHGWKDW&KDUJRLVZDV

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VHUYLQJDV/DEDWRQ¶VORFDOFRXQVHODQGSURYLGLQJVRPHVHUYLFH*DUUHWW%UDGOH\¶V

WHVWLPRQ\WRWKHVDPHHIIHFWVLPSO\FDQQRWEHFUHGLWHG$VWKH6SHFLDO0DVWHUKDVIRXQG

HOVHZKHUHDQGIRUWKHUHDVRQVVHWIRUWK*DUUHWW%UDGOH\NQHZPRVWLIQRWDOORIWKH

KLVWRU\EHKLQGWKH&KDUJRLVSD\PHQWDQGNQHZKHSHUIRUPHGQRZRUNRQWKHFDVH%XW

*DUUHW%UDGOH\ZDVDOVRVHUYLQJDV2I&RXQVHOWR/DEDWRQ

       ,QWKHHQGWKHUHVSRQVLELOLW\IRU&KDUJRLVPXVWEH/DEDWRQ¶VDORQH7KH\LQLWLDWHG

WKHUHODWLRQVKLSZLWK&KDUJRLVEHQHILWWHGIURPLWRYHUWKH\HDUVDQGWKH\PDGHWKH

GHFLVLRQWRFRQFHDOLWIURPWKHFOLHQWWKHFODVVFRFRXQVHODQGWKH&RXUW$FFRUGLQJO\

WKH\PXVWEHDUWKHFRVWVRIWKHUHPHG\RFFDVLRQHGE\WKHQRQGLVFORVXUHRIWKH&KDUJRLV

$UUDQJHPHQWDQGSD\PHQW

       7KHSUHFLVHUHPHGLHVIRUWKLVFRQGXFWZLOOEHVHWIRUWKVHSDUDWHO\

            5HFRPPHQGHG/HJDO)LQGLQJVIRU%UHDFKRI'XWLHVWRWKH&RXUW

       3UHYLRXVVHFWLRQVRIWKHVH5HFRPPHQGDWLRQVKDYHGHWDLOHG/DEDWRQ¶VIDLOXUHVLQ

LQIRUPLQJLWVFOLHQW$756WKHFODVVDQGLWVFRFRXQVHORIWKH&KDUJRLV$UUDQJHPHQW

+RZHYHU/DEDWRQ¶VIDLOXUHWRGLVFORVHWKH&KDUJRLV$UUDQJHPHQWDQGSD\PHQWWRWKH

&RXUWLVSHUKDSVWKHPRVWVHULRXVDQGIDUUHDFKLQJRIDOORILWVEUHDFKHVRIGXW\:LWKLQ

WKHIUDPHZRUNRIRXUFODVVDFWLRQV\VWHP&RXUWVKDYHDILGXFLDU\GXW\WRWKHFODVV

PHPEHUVDQGVHUYHDVWKHILQDOJXDUGLDQVRIFODVVPHPEHUV¶ULJKWV3DUWLFXODUO\DWWKH

VHWWOHPHQWDSSURYDOVWDJHFODVVFRXQVHOPXVWDVVLVWWKH&RXUWLQSHUIRUPLQJWKDW

REOLJDWLRQWRWKHFODVVE\SURYLGLQJLWZLWKDOORIWKHLQIRUPDWLRQQHFHVVDU\WRGLVFKDUJH

LWVILGXFLDU\UHVSRQVLELOLWLHV



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       $V/HDG&RXQVHOKHUH/DEDWRQKDGDOHJDODQGHWKLFDOGXW\WRSURYLGHWKH&RXUW

ZLWKDOOWKHLQIRUPDWLRQLWQHHGHGWRPDNHDQLQIRUPHGGHFLVLRQDVWRWKHDZDUGRI

DWWRUQH\V¶IHHVRXWRIWKH6WDWH6WUHHWVHWWOHPHQWIXQG7KLVLQFOXGHGGLVFORVXUHRIWKH

LGHQWLW\RIDOODWWRUQH\VLQFOXGLQJ'DPRQ&KDUJRLVZKRZRXOGEHVKDULQJLQWKH

DZDUGDQGZKDWWKHVKDUHRIHDFKDWWRUQH\ZRXOGEH/DEDWRQKDGDGXW\XQGHUWKH

)HGHUDO5XOHVRI&LYLO3URFHGXUHDQGWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW

DVZHOODVXQGHUIHGHUDOFDVHODZWRDOORZWKH&RXUWWRFRQGXFWWKLVHVVHQWLDOUROHLQ

SURWHFWLQJFODVVPHPEHUV,QIDLOLQJWRGLVFORVHWKH&KDUJRLV$UUDQJHPHQWWRWKH&RXUW

/DEDWRQEUHDFKHGWKLVGXW\

       7KH)HGHUDO5XOHVRI&LYLO3URFHGXUHPDQGDWHIXOODQGDFFXUDWHGLVFORVXUHVWRWKH

&RXUWLQFOXGLQJ)HG5&LY3H¶VUHTXLUHPHQWWKDWWKHVHWWOHPHQWEH³IDLU

UHDVRQDEOHDQGDGHTXDWH´)HG5&LY3HDQGWKHJXDUDQWHHWKDWFODVVPHPEHUV

KDYHWKHULJKWWRREMHFWWRWKHVHWWOHPHQWDQGWRDVHWWOHPHQWUHODWHGIHHSHWLWLRQ)HG5

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REMHFWWRDIHHPRWLRQDOVRPHDQVWKDWFODVVPHPEHUVPXVWEHJLYHQVXIILFLHQW

LQIRUPDWLRQWRGRVR8QIRUWXQDWHO\E\QRWGLVFORVLQJWRWKH&RXUWWKDWPLOOLRQRI

WKHVHWWOHPHQWIXQGVZRXOGEHSDLGWRDQDWWRUQH\ZKRGLGQRZRUNRQWKH6WDWH6WUHHW

FDVH/DEDWRQGHSULYHGWKH&RXUWRILQIRUPDWLRQLWQHHGHGWRGLVFKDUJHLWVILGXFLDU\

REOLJDWLRQVWRSURWHFWWKHFODVV¶VLQWHUHVWV

       3URIHVVRU:LOOLDP5XEHQVWHLQKDVRSLQHGLQWKLVFDVHWKDW5XOHKE\LWV

LQFRUSRUDWLRQRIWKHSURFHGXUHVIRUPDNLQJDFODLPIRUDWWRUQH\V¶IHHVXQGHU)HG5&LY

3SODFHVWKHEXUGHQRQWKH&RXUWWRRUGHUGLVFORVXUHRIDIHHDJUHHPHQWVXFKDVWKH

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&KDUJRLV$UUDQJHPHQWDQGDEVHQWVXFKDFRXUWRUGHUWKDWGLVFORVXUHLVQRWUHTXLUHG

3URIHVVRU5XEHQVWHLQSODFHVWKHHQWLUHEODPHIRUWKHQRQGLVFORVXUHRIWKH&KDUJRLV

SD\PHQWLQWKLVFDVHXSRQWKH&RXUWEHFDXVHLWIDLOHGWRVSHFLILFDOO\LQTXLUHDERXWIHH

DJUHHPHQWVXQGHUO\LQJFODVVFRXQVHO¶VFODLPIRUDQDZDUGRIIHHV

       +RZHYHUVHSDUDWHDQGDSDUWIURP5XOHKDQGLWVLQFRUSRUDWLRQRI5XOH

SURFHGXUHVIRUPDNLQJDFODLPIRUDWWRUQH\V¶IHHV)HG5&LY3HUHTXLUHVWKDW

³SDUWLHVVHHNLQJDSSURYDORIDFODVVDFWLRQVHWWOHPHQWPXVWILOHDVWDWHPHQWLGHQWLI\LQJ

DQ\DJUHHPHQWPDGHLQFRQQHFWLRQZLWKWKHSURSRVDO´$VH[SODLQHGLQWKHManual of

Complex LitigationWKLVSURYLVLRQUHTXLUHVGLVFORVXUHRIDJUHHPHQWVWKDWPD\DIIHFWWKH

LQWHUHVWVRIWKHFODVVPHPEHUVE\DOORFDWLQJPRQH\WKDWWKH\PD\KDYHUHFHLYHG

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       ,QKLVWUHDWLVH3URIHVVRU5XEHQVWHLQDOVRUHFRJQL]HGFRXQVHO¶VLQGHSHQGHQW

REOLJDWLRQRIGLVFORVXUHXQGHU5XOHH6HFWLRQRIRubenstein and Newberg

on Class ActionsHQWLWOHG³)HHSURFHGXUHVDWDFODVVDFWLRQ¶VFRQFOXVLRQ'LVFORVXUHRI

IHHUHODWHGDJUHHPHQWVUHTXLUHPHQW´ILUVWVSHDNVWRWKHREYLRXVUHTXLUHPHQWWRGLVFORVH

DQ\DJUHHPHQWVDVWRIHHVZKHQVRRUGHUHGE\WKHFRXUW7KH6HFWLRQJRHVRQWR

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              >,@QDGGLWLRQWR5XOH¶VGLVFORVXUHUHTXLUHPHQWV5XOHHJRYHUQLQJ
       FODVVDFWLRQsettlementQRWfeeDSSURYDOVWDWHVWKDW³>W@KHSDUWLHVVHHNLQJ
       DSSURYDOPXVWILOHDVWDWHPHQWLGHQWLI\LQJDQ\DJUHHPHQWPDGHLQFRQQHFWLRQZLWK
       WKH>VHWWOHPHQW@SURSRVDO´HPSKDVLVLQRULJLQDOIRRWQRWHRPLWWHG 
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             $OWKRXJK5XOHHUHIHUHQFHVWKHVHWWOHPHQWDJUHHPHQWLWVHOI

3URIHVVRU5XEHQVWHLQKLPVHOIREVHUYHGWKDW

               JLYHQWKHEURDGHUODQJXDJHFRYHULQJDJUHHPHQWV³PDGHLQFRQQHFWLRQZLWK
       WKH>VHWWOHPHQW@SURSRVDO´DJUHHPHQWVEH\RQGWKHVHWWOHPHQWDJUHHPHQWLWVHOI
       VXFKDVDQ\DJUHHPHQWVDERXWIHHVPD\DOVRIDOOZLWKLQWKHSXUYLHZRI5XOH
       H&RXUWVJHQHUDOO\GRQRWUHDG5XOHH¶VGLVFORVXUHUHTXLUHPHQWDV
       UHTXLULQJGLVFORVXUHRIIHHDJUHHPHQWVDPRQJFRXQVHORQWKHJURXQGWKDWVXFK
       DJUHHPHQWVGRQRWQHFHVVDULO\DIIHFWWKHFODVV¶VLQWHUHVWVThere may be some cases
       where this reasoning is incorrect, as some agreements among counsel would
       impact settlement terms and hence should be disclosed to the class…Moreover,
       there is little obvious downside from transparency so not only should courts order
       disclosure of fee agreements under Rule 54(d)(2), but settling parties should also
       readily provide them under Rule 23(e) in any case. HPSKDVLVDGGHG
               
       Id.

       7KH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKH&RXUWILQGWKDWWKLVZDVVXFKDFDVH

:LWKLWVEXUGHQVKLIWLQJRI/DEDWRQ¶VRZQSUHH[LVWLQJILQDQFLDOREOLJDWLRQWR&KDUJRLVWR

WKHFODVVDQGFRFRXQVHOWKH&KDUJRLV$UUDQJHPHQWDIIHFWHGWKHFODVV¶VLQWHUHVWVLQWKLV

FDVHDVLW³DOORFDWHVPRQH\WKDWWKHFODVVPHPEHUVPD\KDYHUHFHLYHGHOVHZKHUH´LHWR

'DPRQ&KDUJRLV7KHUHZDVDQXQGLVFORVHGDJUHHPHQWWRSD\PLOOLRQRXWRIWKH

VHWWOHPHQWIXQGVIXQGVWKDWFRXOGRWKHUZLVHEHDOORFDWHGWRWKHFODVVPHPEHUVWRDQ

DWWRUQH\ZKRGLGQRZRUNRQWKHFDVHZKDWVRHYHU$VSUHYLRXVO\QRWHGWKHREOLJDWLRQWR

&KDUJRLVZDV/DEDWRQ¶VDQG/DEDWRQ¶VDORQHDQGWKHSD\PHQWWRKLPZLWKRXWGLVFORVLQJ

LWWRWKH&RXUWVLJQLILFDQWO\DQGDGYHUVHO\LPSDFWHGWKH&RXUW¶VDELOLW\WRSURWHFWWKH

FODVVIURPDQHQRUPRXVSD\PHQWIRUZKLFKWKHFODVVUHFHLYHGQRYDOXHDQGRIZKLFKWKH

FODVVUHSUHVHQWDWLYHVZHUHQHYHULQIRUPHG7KLVFUHDWHGDSRWHQWLDOFRQIOLFWEHWZHHQ

/DEDWRQDQGWKHFODVVDFRQIOLFWWKH&RXUWFRXOGQRWSURWHFWWKHFODVVDJDLQVWEHFDXVHLW

ZDVKLGGHQIURPWKH&RXUW

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       ,QRUGHUWRDVVLVWWKH&RXUWLQSHUIRUPLQJLWVILGXFLDU\IXQFWLRQWRSURWHFWWKH

LQWHUHVWVRIWKHFODVV/DEDWRQZDVREOLJDWHGWRGLVFORVHWRWKH&RXUWLWVSUHH[LVWLQJ

DJUHHPHQWWRSD\&KDUJRLVWKLVVXEVWDQWLDODPRXQWRIWKHVHWWOHPHQWIXQG7KH6SHFLDO

0DVWHUILQGVWKDWJLYHQWKHIDFWVKHUH/DEDWRQ¶VIDLOXUHWRGRVRZDVLQGHURJDWLRQRIWKH

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6SHFLDO0DVWHULVIXUWKHUWURXEOHGE\ZKDWFDQRQO\EHFRQVWUXHGDVPLVOHDGLQJ

VWDWHPHQWVLQLWVGHFODUDWLRQVHHNLQJDIHHDZDUG$VSDUWRIKLV/HDG&RXQVHOREOLJDWLRQ

LQWKLVFDVH/DZUHQFH6XFKDURZRI/DEDWRQILOHGD³'HFODUDWLRQLQ6XSSRUWRI3ODLQWLII¶V

$VVHQWHG7R0RWLRQIRU)LQDO$SSURYDORIWKH3URSRVHG&ODVV6HWWOHPHQWDQG3ODQRI

$OORFDWLRQDQG)LQDO&HUWLILFDWLRQRI6HWWOHPHQW&ODVVDQG/HDG&RXQVHO¶V0RWLRQIRU

$ZDUGRI$WWRUQH\)HHV´See'NW1R>(;@,QWKDW2PQLEXV'HFODUDWLRQLQ

WZRVHSDUDWHSODFHVDWIRRWQRWHVDQG6XFKDURZSXUSRUWVWRLGHQWLI\DOORI³3ODLQWLIIV¶

&RXQVHO´,QIRRWQRWH6XFKDURZLGHQWLILHVDV³3ODLQWLIIV¶&RXQVHO´KLVRZQILUP

/DEDWRQ6XFKDURZDQG³WKH7KRUQWRQ/DZ)LUP//3³7/)´/LHII&DEUDVHU+HLPDQQ

	%HUQVWHLQ//3³/LHII&DEUDVHU´.HOOHU5RKUEDFN//3³.HOOHU5RKUEDFN´

0F7LJXH/DZ//3³0F7LJXH/DZ´DQG=XFNHUPDQ6SDHGHU//3³=XFNHUPDQ

6SDHGHU´´idQRWHS,QIRRWQRWH6XFKDURZLGHQWLILHV/DEDWRQ6XFKDURZ

7KRUQWRQ/LHII&DEUDVHU.HOOHU5RKUEDFN0F7LJXH/DZ=XFNHUPDQ6SDHGHUDVZHOO

DV%HLQV$[HOURG3&ZKLFKSDUWQHUHGZLWK0F7LJXH/DZDQG=XFNHUPDQ6SDHGHULQ

UHSUHVHQWLQJWKH+HQULTXH]SODLQWLIIV5LFKDUGVRQ3DWULFN:HVWEURRN	%ULFNPDQ//&

IRUPHUFRFRXQVHOIRU+HQULTXH]SODLQWLIIVDQG)HLQEHUJ&DPSEHOO	=DFN3&ORFDO

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FRXQVHOIRU0F7LJXH/DZLQWKH$QGRYHUDFWLRQIdQRWHS,Q.HOOHU5RKUEDFN¶V

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       ,QGHFLGLQJWKHDPRXQWRIIHHWRDZDUGFODVVFRXQVHODQGWRZKRPWRDZDUGLW

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FRXQVHODQGKRZPXFKVKRXOGJRWRWKHFODVV$V3URIHVVRU*LOOHUVREVHUYHG³4XLWH

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       UHPHGLDOPHDVXUHVLQFOXGLQJLIQHFHVVDU\GLVFORVXUHWRWKHWULEXQDO
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       &RPPHQWWR5XOHPDNHVFOHDUWKDWDQDWWRUQH\¶VIDLOXUHWRPDNHDGLVFORVXUH

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              :KHQDGYHUVDULHVSUHVHQWDMRLQWSHWLWLRQWRDWULEXQDOVXFKDVDMRLQW
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       DGYHUVDULDOFKDUDFWHUDQGLQVRPHUHVSHFWVWDNHVRQWKHIRUPRIDQex parte
       SURFHHGLQJ7KHODZ\HUVSUHVHQWLQJVXFKDMRLQWSHWLWLRQWKXVKDYHWKHVDPHGXWLHV
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       )RUDOORIWKHVHUHDVRQVWKH6SHFLDO0DVWHUUHFRPPHQGVWKH&RXUWILQGWKDW

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GHQLHGWKH&RXUWWKHRSSRUWXQLW\WRPHDQLQJIXOO\FDUU\RXWLWVILGXFLDU\UROHDQG

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       ,QDGGLWLRQWR5XOHRIWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFWWKHUH

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QRWHGE\3URIHVVRU*LOOHUVZKLOH³WKHSKUDVHµFDQGRUWRWKH&RXUW¶LVQRWDQXQERXQGHG

VRXUFHRIGXW\HQWLUHO\XQWHWKHUHGWRUXOHVFXVWRPRUFDVHODZWKHZRUGµFDQGRU¶

VKRXOGDWOHDVWJXLGHDODZ\HU¶VXQGHUVWDQGLQJRIKLVRUKHUGXWLHVDVRIILFHUVRIWKH

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DQ\PDWHULDOUHVSHFWTXLFNO\HURGHVWKHYDOLGLW\RIWKHSURFHVV´

       ,WLVIRUDOORIWKHVHUHDVRQVWKDWWKH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKURXJKKLV

IDLOXUHWRGLVFORVHWKHPLOOLRQ&KDUJRLV$UUDQJHPHQWWKH&RXUWILQGWKDW6XFKDURZ

YLRODWHGKLVGXW\RIFDQGRUDVDQRIILFHURIWKHFRXUWDQGWKHUHE\GHQLHGWKH&RXUWWKH

RSSRUWXQLW\WRPHDQLQJIXOO\FDUU\RXWLWVILGXFLDU\UROHDQGJDWHNHHSLQJIXQFWLRQWR

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VROHUHVSRQVLELOLW\IRUWKHQRQGLVFORVXUHDQGLQIDFWWKHFRQFHDOPHQWRIWKH

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FRQGXFWLGHQWLILHGLQWKLV5HSRUWLWLVDSSURSULDWHWRSURYLGHDSUHDPEOHDVFRQWH[W2QH

RIWKHPRVWWURXEOLQJHOHPHQWVRIWKH&KDUJRLVDVSHFWRIWKHLQYHVWLJDWLRQKDVEHHQ

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FRQGXFW7KHUHKDVEHHQQRDFFHSWDQFHRIUHVSRQVLELOLW\IRUWKHFDOFXODWLQJDQGVHFUHWLYH

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UHVSRQVLELOLWLHVWRWKHFODVV7KLVDSSURDFKLVDVGLVDSSRLQWLQJDVLWLVLQGLFDWLYHRIWKH

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       7KHUHPHGLHVDQGVDQFWLRQVUHFRPPHQGHGKHUHZLOOEHGHOLQHDWHGDVWKH\UHODWHWR

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FXVWRPHUFODVVODZILUPVDQWLFLSDWHGWKDW7KRUQWRQZRXOGSXWWKHVWDIIDWWRUQH\VRQLWV

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WRWKHFRXUWMXVWDVKDSSHQHGKHUH7KHVDPHFRVWVKDULQJFRXOGHDVLO\KDYHEHHQ

DFKLHYHGE\DVLPSOHDJUHHPHQWWRVKDUHFRVWVLQVRPHHTXLWDEOHZD\UDWKHUWKDQE\WKH

DUWLILFHRISXWWLQJRQHILUP¶VHPSOR\HHVRQDQRWKHUILUP¶VORGHVWDUSHWLWLRQ)XUWKHU

FDUHIXOSUHSDUDWLRQRIWKHIHHSHWLWLRQGRFXPHQWVE\FRPSDULQJWKHORGHVWDUSHWLWLRQVRI

HDFKILUPVKRXOGKDYHFDXJKWWKHPLVWDNH

       ,QWKHHQGDOOWKUHH&XVWRPHU&ODVVILUPVPXVWVKDUHWKHEODPH7KHUHPHG\IRU

WKLVLVWKHGLVJRUJHPHQWE\DOOWKUHHILUPVLQHTXDODPRXQWVRIWKHHQWLUHDSSUR[LPDWHO\

LQGRXEOHFRXQWHGWLPH,WLVUHFRPPHQGHGWKDWWKLVHQWLUHDPRXQWEH

UHWXUQHGWRWKHFODVV

*DUUHWW%UDGOH\¶V6ZRUQ'HFODUDWLRQ6WDWHPHQWV

       7KH6SHFLDO0DVWHUKDVIRXQGWKDW*DUUHWW%UDGOH\¶VVWDWHPHQWVLQKLVVZRUQ

GHFODUDWLRQWKDWDFFRPSDQLHGWKH7KRUQWRQIHHSHWLWLRQZHUHNQRZLQJO\IDOVHWKDWWKH\

ZHUHPRWLYDWHGE\DGHVLUHWRJUHDWO\HQKDQFHWKH7KRUQWRQORGHVWDUDQGWKHUHE\MXVWLI\D

ODUJHUIHHDZDUGDQGWKDW%UDGOH\GLGQRWDWWHPSWWRFRUUHFWWKHVHVWDWHPHQWVGHVSLWH

QXPHURXVRSSRUWXQLWLHVWRGRVRXQWLOGLUHFWO\FDOOHGXSRQE\WKH&RXUWDWWKH0DUFK

KHDULQJ7KH6SHFLDO0DVWHUKDVIRXQGWKDWWKHVHVZRUQGHFODUDWLRQVWDWHPHQWV

YLRODWHGERWK5XOHRIWKH)HGHUDO5XOHVRI&LYLO3URFHGXUHDQG%UDGOH\¶VGXW\RI

FDQGRUWRWKH&RXUWXQGHU5XOHRIWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFW

7KH6SHFLDO0DVWHUKDVIXUWKHUIRXQGWKDWWKHVZRUQVWDWHPHQWVZHUHPDWHULDODQG

FRQWULEXWHGWRWKHGRXEOHFRXQWLQJHUURUVEHFDXVHKDG%UDGOH\PDGHIXOO\WUXWKIXO

VWDWHPHQWVGHVFULELQJWKHDFWXDOUHODWLRQVKLSRIWKHVWDIIDWWRUQH\VWR7KRUQWRQUDWKHU

WKDQUHSUHVHQWLQJWRWKH&RXUWWKDWWKH\ZHUH7KRUQWRQHPSOR\HHVDQGWKDWWKHLUUDWHV

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ZHUH7KRUQWRQ¶VFXUUHQWUDWHVIRUWKHPLWLVOLNHO\WKDWHLWKHURUERWK1LFROH=HLVVDQGRU

WKH&RXUWZRXOGKDYHEHHQDOHUWHGWKDWVRPHWKLQJZDVDPLVVDQGWKHGRXEOHFRXQWLQJ

ZRXOGKDYHEHHQFDXJKW

       )RUWKHIDOVLW\RIWKHVZRUQGHFODUDWLRQVWDWHPHQWVWKHIDLOXUHWRFRPHIRUZDUGDQG

FRUUHFWWKHPDQGWKHLPSDFWLWKDGRQWKHIHHSURFHHGLQJVWKH6SHFLDO0DVWHU

UHFRPPHQGVWKDWVLJQLILFDQWPRQHWDU\VDQFWLRQVDQGSURIHVVLRQDOGLVFLSOLQHEHOHYLHG

$VWRPRQHWDU\VDQFWLRQVLPSRVHGXQGHU5XOHWKH\DUHLPSRVHGDJDLQVWWKH7KRUQWRQ

ILUPDVSURYLGHGE\5XOHLQDUDQJHRIWRPLOOLRQDSSUR[LPDWHO\WHQWR

WZHQW\ILYHSHUFHQWRIWKHFRVWRIWKHGRXEOHFRXQWLQJ$VWRWKHVDQFWLRQVXQGHU5XOH

RIWKH0DVVDFKXVHWWV5XOHVRI3URIHVVLRQDO&RQGXFWWKHVHDUHLQGLYLGXDODQGWKH6SHFLDO

0DVWHUUHFRPPHQGVWKDW*DUUHWW%UDGOH\EHUHIHUUHGWKH0DVVDFKXVHWWV%RDUGRI%DU

2YHUVHHUVIRUDSSURSULDWHGLVFLSOLQDU\SURFHHGLQJV1RDGGLWLRQDOPRQHWDU\VDQFWLRQV

EH\RQGWKRVHUHFRPPHQGHGIRUWKHYLRODWLRQVRI5XOHDUHUHFRPPHQGHGIRUWKH

YLRODWLRQVRI5XOH

       ,WLVUHFRPPHQGHGWKDWWKHPRQHWDU\VDQFWLRQVVKRXOGEHDZDUGHGWRWKHFODVV

                                     +RXUVDQG5DWHV

       7KH6SHFLDO0DVWHUUHFRPPHQGVWKDWZLWKWKHUHODWLYHO\PLQRUH[FHSWLRQVQRWHG

KHUHLQWKH&RXUWILQGWKDWWKHKRXUVDQGUDWHVRIWKHDWWRUQH\VRIHDFKRIWKHODZILUPVIRU

ZKRPORGHVWDUSHWLWLRQVZHUHVXEPLWWHGWRWKH&RXUWDUHUHDVRQDEOHDQGDFFXUDWHDQG

FRQVLVWHQWZLWKDSSOLFDEOHPDUNHWUDWHVIRUFRPSDUDEOHDWWRUQH\VLQFRPSDUDEOHPDUNHWV

IRUFRPSDUDEOHZRUN7KLVLQFOXGHVWKHKRXUVDQGUDWHVIRUWKHVWDIIDWWRUQH\VHPSOR\HG

E\/DEDWRQDQG/LHIIZKRE\YLUWXHRIWKHLUH[SHULHQFHZRUNDQGOHYHORIFRQWULEXWLRQWR

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WKHFDVHPHULWWKHUDWHVWKDWZHUHDVFULEHGWRWKHPRQWKHORGHVWDUSHWLWLRQV7KHUHIRUH

RWKHUWKDQDVQRWHGEHORZWKH6SHFLDO0DVWHUUHFRPPHQGVWKDWQRDGMXVWPHQWEHPDGHLQ

KRXUVDQGUDWHV

       0LFKDHO%UDGOH\7KHILUVWH[FHSWLRQWRWKLVUHFRPPHQGDWLRQLVWRWKHUDWHRI

0LFKDHO%UDGOH\$VQRWHGDOWKRXJKWKHQXPEHURIKRXUV%UDGOH\UHFRUGHGLVVXSSRUWHG

E\UHDVRQDEO\UHOLDEOHFRQWHPSRUDQHRXVUHFRUGVKLVVXEPLWWHGUDWHRIKRXULVQRW

VXSSRUWDEOHE\KLVH[SHULHQFHWKHZRUNKHGLGRQWKHFDVHRUWKHYDOXHKHFRQWULEXWHGWR

WKHFDVHSDUWLFXODUO\LQUHODWLRQWRWKHRWKHUVWDIIDWWRUQH\V5DWKHUKHKDGQRH[SHULHQFH

UHOHYDQWWRWKHFDVHDQGWKHZRUNKHSHUIRUPHGZDVVLPSOHVWUDLJKWIRUZDUGDQG

XQPRQLWRUHGGRFXPHQWUHYLHZ)XUWKHUDOWKRXJKKHXQGHUWRRNWKHZRUNZLWKQR

FHUWDLQW\RISD\PHQWKHSHUIRUPHGWKHZRUNIXOO\RQKLVIUHHWLPHDQGZKHQLWZDV

FRQYHQLHQWIRUKLPWRGRVR7KHUHIRUHKLVUDWHVKRXOGEHPRUHDWWKHOHYHORIDSDUDOHJDO

VXSSOHPHQWHGE\WKHIDFWRIKLVODZGHJUHHDQGH[SHULHQFHDVDODZ\HU7KH6SHFLDO

0DVWHUUHFRPPHQGVWKDW%UDGOH\¶VUDWHEHVHWDWKDOIRIWKHVXEPLWWHGUDWHRUKRXU

%UDGOH\UHFRUGHGURXJKO\KRXUVWKXV\LHOGLQJDWRWDOORGHVWDURI,Q

DGGLWLRQ7KRUQWRQUHFHLYHGDPXOWLSOLHURQWKHRULJLQDOIHH7KRUQWRQVKRXOGQRWEH

HQWLWOHGWRWKLVDGGLWLRQDOEHQHILWFDOFXODWHGRQWKHKLJKHUUDWHDQGWKXVLWVORGHVWDURQ

ZKLFKFODLPHG0LFKDHO%UDGOH\¶VKRXUVVKRXOGEHUHGXFHGDFFRUGLQJO\DQGWKH

GLIIHUHQFHEHWZHHQWKHRULJLQDOIHHYDOXHDIWHUPXOWLSOLHUDQGWKHDPRXQW

UHIOHFWLYHRIDPRUHDSSURSULDWHKRXUO\UDWHRIDIWHUPXOWLSOLHUUHWXUQHGWR

WKHFODVV,QPDNLQJWKLVFDOFXODWLRQZHJLYHHTXDOZHLJKWDQGDSSO\WKHVDPHPXOWLSOLHU

WR0LFKDHO%UDGOH\¶VKRXUVDVZHGRDQ\RWKHUDWWRUQH\ZKRZRUNHGRQWKHFDVH

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    3HWLWLRQDQG        7LPHNHHSHU        5DWH    +RXUV        /RGHVWDU       0XOWLSOLHU          7RWDO)HHV
    $GMXVWPHQW                                                    9DOXH


    2ULJLQDO3HWLWLRQ   0LFKDHO%UDGOH\                                     




    $SSURSULDWH         0LFKDHO%UDGOH\                                     
    $GMXVWPHQW



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    2ULJLQDO3HWLWLRQ   &RQWUDFW                                        
                         DWWRUQH\V         
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    $SSURSULDWH         &RQWUDFW                           DWFRVW           
    $GMXVWPHQW          DWWRUQH\V
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             &RQWUDFW$WWRUQH\V7KHQH[WH[FHSWLRQLVWKHUDWHVRIWKHVRFDOOHGFRQWUDFW

DWWRUQH\V)RUDOORIWKHUHDVRQVVHWIRUWKLQWKH5HSRUWWKH6SHFLDO0DVWHUUHFRPPHQGV

WKDWODZILUPVQRWEHSHUPLWWHGWREHFRPSHQVDWHGIRUWKHVHDWWRUQH\VDWPDUNHWUDWHVDQG

QRPXOWLSOLHUVKRXOGEHJUDQWHGRQWKHLUKRXUVDQGUDWHVLIDPXOWLSOLHULVJUDQWHG

5DWKHUWKHFRVWVRIWKHFRQWUDFWDWWRUQH\VVKRXOGEHUHLPEXUVHGWRODZILUPVDVDQ

H[SHQVHDQGWKHILUPVFRPSHQVDWHGIRUWKDWH[SHQVHGROODUIRUGROODU7KHVHYHQ

FRQWUDFWDWWRUQH\VDOOUHWDLQHGE\/LHIIUHFRUGHGKRXUVLQWKLVUROHDWUDWHV

YDU\LQJEHWZHHQDQG7KHWRWDOELOOLQJVIRUFRQWUDFWDWWRUQH\VZDV

DSSUR[LPDWHO\PLOOLRQ,QDGGLWLRQDPXOWLSOLHURIZDVDGGHGWR




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WKHLUKRXUVDQGUDWHV\LHOGLQJDWRWDODZDUGRIPLOOLRQIRUWKHWLPHRI

WKHFRQWUDFWDWWRUQH\V7KLVDPRXQWVKRXOGEHGLVJRUJHGDQGUHWXUQHGWRWKHFODVV7KH

&XVWRPHU&ODVVLVKRZHYHUHQWLWOHGWRFODLPWKHFRQWUDFWDWWRUQH\VDVDQH[SHQVH

FDOFXODWHGDWDPRUHUHDVRQDEOHUDWHRIKRXU7KH6SHFLDO0DVWHUUHFRPPHQGVWKDW

WKHGLIIHUHQFHEHWZHHQWKHVHWZRILJXUHVDOVREHDZDUGHGWRWKHFODVV

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                          7KH&KDUJRLV3D\PHQWPLOOLRQ

       $VVHWRXWLQWKLV5HSRUWEHFDXVHWKH&KDUJRLV$UUDQJHPHQWZDVVROHO\/DEDWRQ¶V

REOLJDWLRQDQGEHFDXVH/DEDWRQKDVSURILWHGKDQGVRPHO\RYHUWKH\HDUVIURPWKH$756

UHODWLRQVKLS&KDUJRLVKHOSHGIDFLOLWDWHDQGEHFDXVH/DEDWRQLVVROHO\UHVSRQVLEOHIRUWKH

QRQGLVFORVXUHRIWKLVUHODWLRQVKLSWR$756WKHFODVV(5,6$FRXQVHODQGWKH&RXUWWKH

6SHFLDO0DVWHUUHFRPPHQGVWKDWWKHDSSURSULDWHUHPHG\IRUWKH&KDUJRLVSD\PHQWEH

GLVJRUJHPHQWRIHQWLUHPLOOLRQ&KDUJRLVDPRXQWDQGWKDWWKLVGLVJRUJHPHQWEH

VROHO\WKHUHVSRQVLELOLW\RI/DEDWRQ     

       %HFDXVHWKHQRQGLVFORVXUHRIWKH&KDUJRLVSD\PHQWIHOOGLVSURSRUWLRQDWHO\XSRQ

WKH(5,6$DWWRUQH\VZKRZHUHWROGQRWKLQJDERXW&KDUJRLVDQGZKRZHUHUHTXLUHGWR

QHJRWLDWHWKHLUIHHDOORFDWLRQZLWKRXWWKHNQRZOHGJHWKDWDQDWWRUQH\ZKRSHUIRUPHGQR

ZRUNRQWKHFDVHERUHQRULVNRUFOLHQWUHVSRQVLELOLW\DQGQHYHUDSSHDUHGLQWKHFDVH

ZRXOGUHFHLYHDQDPRXQWFRQVLGHUDEO\PRUHWKDQDQ\(5,6$ILUPWKH6SHFLDO0DVWHU

UHFRPPHQGVWKDW(5,6$FRXQVHOVKRXOGUHFHLYHWKHEXONRIWKLVDZDUG7KH6SHFLDO

0DVWHUUHFRPPHQGVWKDWWKHDSSURSULDWHUHPHG\IRUWKHQRQGLVFORVXUHRIWKH

PLOOLRQLVPLOOLRQDQDPRXQWZKLFKUHIOHFWVWKHGLIIHUHQFHEHWZHHQWKHPLOOLRQ

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WKDWZDVDOORFDWHGDVDFDSIRU(5,6$DWWRUQH\VLQWKH6HWWOHPHQW$JUHHPHQWDQGWKH

PLOOLRQZKLFKWKH(5,6$DWWRUQH\VDFWXDOO\UHFHLYHG7KLVDPRXQWLVDOVRVXSSRUWDEOH

EHFDXVHLWLVWKHDPRXQWWKDWZHQWLQVWHDGWRWKHFXVWRPHUFODVVFRXQVHO

       $VIXUWKHUVXSSRUWIRUWKLVPLOOLRQUHDOORFDWLRQUHPHG\WRWKH(5,6$

DWWRUQH\VWKH6SHFLDO0DVWHUUHFRJQL]HVWKDWWKLVLQYHVWLJDWLRQKDVUHVXOWHGLQJUHDW

H[SHQGLWXUHVRIWLPHDQGH[SHQVHWRWKH(5,6$ILUPVWKDWKDYHEHHQGUDZQLQWRLW

WKURXJKQRIDXOWRIWKHLURZQHLWKHUDVWRWKHGRXEOHFRXQWLQJRUDVWRWKH&KDUJRLV

$UUDQJHPHQW1RUPDOO\WKH6SHFLDO0DVWHUZRXOGUHFRPPHQGWKDWWKH(5,6$DWWRUQH\V

VXEPLWWKHLUWLPHDQGH[SHQVHVLQFXUUHGLQKDYLQJWRSDUWLFLSDWHLQWKHLQYHVWLJDWLRQDQG

UHFRPPHQGWKDWWKHILUPVEHUHLPEXUVHGGROODUIRUGROODU+RZHYHUWKLVZRXOGEHD

OHQJWK\WLPHFRQVXPLQJDQGDGGLWLRQDOO\EXUGHQVRPHSURFHVVWKDWZRXOGOLNHO\UHVXOWLQ

DGGLWLRQDOH[SHQVHIRUWKHVHILUPV,QVWHDGLQIDVKLRQLQJWKLVUHFRPPHQGHGDZDUGWKH

6SHFLDO0DVWHUKDVWDNHQLQWRFRQVLGHUDWLRQWKHWLPHDQGH[SHQVHLQFXUUHGE\WKH(5,6$

DWWRUQH\VLQSDUWLFLSDWLQJLQWKHLQYHVWLJDWLRQDQGEHOLHYHVWKDWWKHUHFRPPHQGHG

PLOOLRQLVVXIILFLHQWWRLQFOXGHWKHFRVWVDQGH[SHQVHVLQFXUUHGE\WKH(5,6$DWWRUQH\VLQ

WKHLQYHVWLJDWLRQ)LQDOO\WKH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKHPLOOLRQEH

DOORFDWHGDPRQJVWWKH(5,6$ODZILUPVLQWKHVDPHSURSRUWLRQDQGLQWKHVDPHPDQQHU

DVWKHRULJLQDOIHHDZDUGZDVDOORFDWHG

       7KHPLOOLRQDZDUGWR(5,6$FRXQVHOVWLOOOHDYHVDEDODQFHIURPWKH

PLOOLRQRI7KH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKLVDPRXQWVKRXOGEH

DOORFDWHGEDFNWRWKHFODVVZKLFKZDVGHSULYHGRILWVDELOLW\WRPDNHDGHWHUPLQDWLRQDV

WRZKHWKHUWRDJUHHWRWKHVHWWOHPHQWZKLFKLQFOXGHGWKH&KDUJRLVSD\PHQW,QPDNLQJ

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WKLVUHFRPPHQGDWLRQWKH6SHFLDO0DVWHUQRWHVWKDWZLWKWKHDGGLWLRQDOUHDOORFDWLRQVWR

WKHFODVVUHFRPPHQGHGKHUHWKHFODVVZLOOUHFHLYHZHOOPRUHWKDQDQDGGLWLRQDO

PLOOLRQWRPLOOLRQEH\RQGWKDWZKLFKLWZRXOGUHFHLYHXQGHUWKHRULJLQDOVHWWOHPHQW

       2QHRIWKHPRVWGLIILFXOWGHFLVLRQVLQDUULYLQJDWUHFRPPHQGDWLRQVIRUDSSURSULDWH

UHGUHVVDQGUHPHGLHVIRUWKH&KDUJRLVFRQGXFWKDVEHHQZKHWKHUWRUHFRPPHQG

SURIHVVLRQDOGLVFLSOLQDU\VDQFWLRQVIRU/DEDWRQ,QWU\LQJWRVWULNHDEDODQFHKHUHWKH

6SHFLDO0DVWHUUHFRJQL]HVWKDWIRUPDOSURIHVVLRQDOGLVFLSOLQDU\VDQFWLRQVIRUDILUPOLNH

/DEDWRQZKLFKRIWHQUHSUHVHQWVSXEOLFLQVWLWXWLRQDOLQYHVWRUVZLWKHOHYDWHGVWDQGDUGVRI

FRQGXFWIRUWKHLURXWVLGHFRXQVHOFRXOGGUDPDWLFDOO\DQGDGYHUVHO\LPSDFWWKHILUP¶V

DELOLW\WRSURYLGHOHJDOVHUYLFHVLQLWVDUHDRIH[SHUWLVHVHUYLFHVZKLFKEHQHILWERWKWKHLU

FODVVFOLHQWVDQGRIWHQWKHEURDGHUSXEOLF,QGHHGIRUPDOGLVFLSOLQDU\SURFHHGLQJVFRXOG

VSHOOWKHHQGRIWKHILUP)XUWKHUPRUHDVGLVFXVVHGLQWKLV5HSRUWDOWKRXJKWKHFRQGXFW

KHUHZDVRIDVHULRXVDQGVXVWDLQHGQDWXUHDQGZRUWK\RIVWURQJUHGUHVVWKH6SHFLDO

0DVWHUKDVQRWHGWKDWDQXPEHURIWKHHWKLFDODQGOHJDOTXHVWLRQVUHODWHGWRWKHFRQGXFW

SDUWLFXODUO\DVWRWKH&KDUJRLVSD\PHQWKDYHEHHQFORVHFDOOVDQGQRWDOZD\VVXVFHSWLEOH

RIHDV\UHVROXWLRQ%H\RQGWKLVWKH6SHFLDO0DVWHUKDVQRWHGWKDW/DEDWRQDV/HDG

&RXQVHOIRUWKHFODVVKHOSHGWRDFKLHYHDYHU\ODXGDEOHUHVXOWIRUWKHFODVV

       ,QZHLJKLQJDOORIWKLVLQWKHEDODQFHWKH6SHFLDO0DVWHUEHOLHYHVWKDWWKH

PRQHWDU\UHPHGLHVUHFRPPHQGHGWRDGGUHVVWKH&KDUJRLVFRQGXFWDUHSURSRUWLRQDWHDQG

VXIILFLHQWDQGWKHPRUHH[WUHPHVWHSRIUHFRPPHQGLQJSURIHVVLRQDOGLVFLSOLQDU\DFWLRQ

DJDLQVW/DEDWRQDQGVRPHRILWVODZ\HUVLVXQQHFHVVDU\WRIXOILOOWKHREMHFWLYHVRIZKDW

SXQLVKPHQWVKRXOGEHLQDQ\FDVHZKLFKLVVXIILFLHQWWRSURYLGHDPHDVXUHRISXQLVKPHQW

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IRUWKHFRQGXFWGHWHUIXWXUHFRQGXFWE\ERWK/DEDWRQDQGRWKHUODZILUPVDQGFXUHDQ\

KDUPDULVLQJIURPWKHFRQGXFWEXWQRWVRH[WUHPHDVWREHGLVSURSRUWLRQDWHWRWKHFDXVH

7KH6SHFLDO0DVWHUEHOLHYHVWKDWDUHFRPPHQGDWLRQRISURIHVVLRQDOGLVFLSOLQDU\DFWLRQ

ZLWKLWVSRWHQWLDOIRUEULQJLQJDQHQGWRWKHILUPZRXOGEHDVWHSWRRIDU)RUWKHVH

UHDVRQVWKH6SHFLDO0DVWHUUHFRPPHQGVWKDWQRSURIHVVLRQDOGLVFLSOLQDU\DFWLRQEHWDNHQ

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           -XULVGLFWLRQWR5HVROYH'LVSXWHV6WHPPLQJIURPWKH6SHFLDO0DVWHU¶V
                                    5HFRPPHQGDWLRQV
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       $VEHWZHHQ/DEDWRQDQG&KDUJRLVWKH6SHFLDO0DVWHUWDNHVQRSRVLWLRQDVWRKRZ

/DEDWRQDQG&KDUJRLVVKRXOGDGMXVWWKHLUULJKWVLQOLJKWRIWKH6SHFLDO0DVWHU¶VILQGLQJV

DQGFRQFOXVLRQVDQGUHFRPPHQGVWKDWWKH&RXUWQRWLQWHUYHQH$OWKRXJKWKH6SHFLDO

0DVWHUEHOLHYHVWKDWWKHXQGHUO\LQJDJUHHPHQWEHWZHHQ&KDUJRLVDQGWKH/DEDWRQILUP

ZDVTXHVWLRQDEOHIURPLWVLQFHSWLRQDQGKROGVWKHSRVVLELOLW\RISUREOHPVLQWKHIXWXUH

WKRVHLVVXHVVKRXOGEHOHIWWREHZRUNHGRXWRUDGMXGLFDWHGDPRQJWKRVHSDUWLHV

       7KH6SHFLDO0DVWHUUHFRPPHQGVWKDWDQ\GLVSXWHVEHWZHHQWKHODZILUPVRUWKDW

LQYROYHWKHFODVVWKDWPD\DULVHRXWRIWKH6SHFLDO0DVWHU¶V5HSRUWVKRXOGEHVXEMHFWWR

WKHFRQWLQXLQJMXULVGLFWLRQRIWKLV&RXUW7KHUHDVRQVIRUWKLVDUHFOHDU7KHFRQGXFWWKDW

LVWKHVXEMHFWRIWKLVLQYHVWLJDWLRQWRRNSODFHLQDFDVHEHIRUHWKLV&RXUWDQGWKH

LQYHVWLJDWLRQDQGUHVXOWLQJ5HSRUWDQG5HFRPPHQGDWLRQVRIWKH6SHFLDO0DVWHUZDVGRQH

DWWKLV&RXUW¶VLQLWLDWLYHDQGXQGHUWKLV&RXUW¶VVXSHUYLVLRQ%H\RQGWKLVLIDQ\GLVSXWH

WRXFKHVRQWKHULJKWVRIPHPEHUVRIWKHFODVVWKLV&RXUWKDVDQRQJRLQJILGXFLDU\GXW\WR

WKHSURWHFWWKHFODVV¶VLQWHUHVWV*LYHQWKHOHQJWK\KLVWRU\RIWKLVFDVHDQGWKHVH


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FRQVLGHUDWLRQVWKLV&RXUWLVLQE\IDUWKHEHVWSRVLWLRQWRDGMXGLFDWHDQ\UHVXOWLQJ

GLVSXWHV

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                            2WKHU5HODWHG5HPHGLHVDQG,VVXHV

       &RVWVRIWKHLQYHVWLJDWLRQ2WKHUWKDQWKHDOORFDWLRQWRWKH(5,6$DWWRUQH\V

ZKLFKLVLQWHQGHGWRLQFOXGHDQGFRYHUWKHLUFRVWVDQGIHHVLQFXUUHGLQWKLVLQYHVWLJDWLRQ

WKHFXVWRPHUFODVVILUPVPXVWHDFKEHDUWKHLURZQFRVWVDQGIHHVIRUWKHLQYHVWLJDWLRQ

       $OWKRXJKWKH6SHFLDO0DVWHULVUHFRPPHQGLQJWKDWQRSURIHVVLRQDOGLVFLSOLQDU\

DFWLRQEHDGPLQLVWHUHGEH\RQG*DUUHWW%UDGOH\WKHUHQRQHWKHOHVVUHPDLQVFRQFHUQDERXW

IXWXUHFRQGXFWE\ERWK/DEDWRQDQG7KRUQWRQ7KHFRQGXFWXQFRYHUHGLQWKLV

LQYHVWLJDWLRQKDVQRWRQO\EHHQVHULRXVLWLVHQGHPLFWRWKHZD\WKHVHWZRILUPVKDYH

GRQHEXVLQHVVZLWKWKHLUK\SHUIRFXVRQEXVLQHVVGHYHORSPHQWDQGIHHJHQHUDWLRQ,QWKH

FDVHRI/DEDWRQLWVDOPRVWREVHVVLYHVHFUHF\DQGFRPSDUWPHQWDOL]DWLRQRIUHVSRQVLELOLW\

ZLWKRQHSDUWRIWKHILUPEHLQJFRPSOHWHO\LQWKHGDUNDERXWZKDWDQRWKHUSDUWRIWKH

ILUPLVGRLQJLVLQJUHDWPHDVXUHZKDWEURXJKWXVWRWKLVLQYHVWLJDWLRQ%H\RQGWKLVLWV

DJJUHVVLYHWDFWLFVLQHIIHFWLYHO\KLULQJSHRSOHWRJRRXWDQGVROLFLWEXVLQHVVDQGSD\LQJ

WKHPDILQGHU¶VIHHQRWRQO\IRUDVLQJOHFDVHEXWDVDIORDWLQJOLHQRQDOOIXWXUHFDVHVLV

GLVWXUELQJLQZKDWLWPD\SRUWHQGIRUWKHSUDFWLFHRIODZ)XUWKHUDOWKRXJK/DEDWRQ

VHHPVWRKDYHDFRPSHWHQW*HQHUDO&RXQVHOLQ0LFKDHO&DQW\DQGEHIRUHKLP0LFKDHO

6WRFNHUWKH\DUHQRWH[SHUWLQWKH5XOHVRI3URIHVVLRQDO&RQGXFW%XWHYHQLIWKH\

ZHUH/DEDWRQDWWRUQH\VDSSDUHQWO\GRQRWURXWLQHO\FRQVXOWZLWKWKHLU*HQHUDO&RXQVHO

RQHWKLFVLVVXHV

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       7KRUQWRQGRHVQRWHYHQKDYHD*HQHUDO&RXQVHOPXFKOHVVDQLQKRXVHODZ\HU

ZHOOJURXQGHGLQWKH5XOHVRI3URIHVVLRQDO&RQGXFW)XUWKHU7KRUQWRQKDVQR

HVWDEOLVKHGV\VWHPRUUHTXLUHPHQWVIRUFRQWHPSRUDQHRXVWLPHNHHSLQJVRDVWRDVVXUH

FRQWHPSRUDQHRXVDFFXUDWHWLPHNHHSLQJ1RUGRHVLWKDYHDSURFHVVLQSODFHWRHYDOXDWH

RQDUHJXODUEDVLVDQGDGMXVWLIQHFHVVDU\WKHILUP¶VUDWHVXQOLNHWKHRWKHUILUPV$VWR

LWVEXVLQHVVGHYHORSPHQWSUDFWLFHV7KRUQWRQODZ\HUVDSSHDUWREHODUJHO\XQVXSHUYLVHG

DQGXQFRQVWUDLQHGE\WKHSURIHVVLRQDOFRQGXFWQRUPV,I7KRUQWRQLVWRFRQWLQXHWR

SUDFWLFHLQODUJHVFDOHQDWLRQDOFODVVDFWLRQFDVHVLWQHHGVWRDGRSWSROLFLHVDQGSUDFWLFHV

WRHQVXUHWKDWLWGRHVQRWH[FHHGSURIHVVLRQDOFRQGXFWERXQGDULHV

       *RLQJIRUZDUGERWKRIWKHVHILUPVUHTXLUHVRPHRQHIURPWKHRXWVLGHWRFRQVXOW

ZLWKWKHPRQSURIHVVLRQDOFRQGXFWQRUPVDQGWRHQVXUHWKDWWKH\FRPSO\ZLWKWKRVH

QRUPV:KHWKHUWKH&RXUWKDVWKHDXWKRULW\WRRUGHUVXFKDPHDVXUHEH\RQGWKLVFDVHLV

XQFHUWDLQ+RZHYHUERWKILUPVDQGWKHLUFOLHQWVZRXOGJUHDWO\EHQHILWIURPWKH

LPSRVLWLRQRIRQJRLQJHWKLFVVXSHUYLVLRQ7KH6SHFLDO0DVWHUUHFRPPHQGVWKDWWKHWZR

ILUPVZRUNZLWKWKH&RXUWWRHVWDEOLVKDFRQVXOWLQJSURFHVVWKDWZLOOHQVXUHFRQVLVWHQW

HWKLFDOFRPSOLDQFH7KH6SHFLDO0DVWHUQRWHVWKDWDFFRUGLQJWRDOHWWHUIURPFRXQVHO

GDWHG$SULO/DEDWRQKDVDOUHDG\WDNHQVWHSVLQWKLVGLUHFWLRQDQGKDVWDNHQ

DGGLWLRQDOVWHSVWRDGGUHVVWKHNLQGVRIFRQGXFWWKDWDURVHLQWKLVFDVH7KH6SHFLDO

0DVWHUUHFRPPHQGVWKDW/DEDWRQFRQWLQXHLWVSURJUHVVDQGWDNHDGGLWLRQDOVWHSVWREXLOG

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                   /HVVRQV/HDUQHGDQG%HVW3UDFWLFHVIRUWKH)XWXUH

       7KLVLQYHVWLJDWLRQKDVEHHQDODERULRXVSURWUDFWHGDQGSDLQIXOSURFHVVIRUDOO

LQYROYHG%XWEH\RQGWKHUHPHGLHVUHFRPPHQGHGKHUHLWZLOOKDYHEHHQDZRUWKZKLOH

XQGHUWDNLQJLIVHYHUDOOHVVRQVFDQEHOHDUQHGIURPWKHLQYHVWLJDWLRQDQGSULQFLSOHV

HVWDEOLVKHGIRUEHVWSUDFWLFHVLQODUJHFODVVDFWLRQFDVHV7KH6SHFLDO0DVWHUVHWVRXWD

QXPEHUKHUHZKLFKDUHQRWLQWHQGHGWREHDQH[KDXVWLYHOLVW

       )LUVWLWDSSHDUVHYHU\RQHDJUHHVWKDWWKHSUDFWLFHWRWKHH[WHQWDQ\RQHHOVHGLGLW

RIVKDULQJFRVWVE\DOORFDWLQJDWWRUQH\VWRRWKHUILUPVZKRDUHQRWWKHLUHPSOR\HUVDQG

SXWWLQJHPSOR\HHVIURPRQHILUPRQDQRWKHUILUP¶VORGHVWDUSHWLWLRQLVDUHFLSHIRU

FRQIXVLRQDQGPLVFKLHI:KLOHWKHQHHGWRVKDUHFRVWVDQGWKHFRQFRPLWDQWULVN

DFFRUGLQJWRVRPHIRUPXODLQWKHVHODUJHDQGSURWUDFWHGFODVVDFWLRQVLVDSSDUHQWWKHUH

DUHP\ULDGZD\VWKLVFDQEHDFFRPSOLVKHGMXVWDVWKHUHDUHZD\VWRIDLUO\VKDUHIHHV

ZLWKRXWDOORFDWLQJDQRWKHUILUP¶VDWWRUQH\VWRDGLIIHUHQWILUPDVDPHDQVRI³MDFNLQJXS´

WKDWILUP¶VORGHVWDUSHWLWLRQ

       1H[WWKHSUDFWLFHUHYHDOHGLQWKLVFDVHRIUHWDLQLQJDSHUVRQWRRSHQGRRUVWR

FOLHQWVDQGWKHQSD\LQJWKDWSHUVRQDSHUFHQWDJHRIHYHU\IXWXUHFDVHZKHWKHURUQRWWKDW

SHUVRQGRHVDQ\ZRUNRQDFDVHRUSHUIRUPVDQ\VHUYLFHVIRUWKHFOLHQWLVXQVHHPO\DQGD

YLRODWLRQRIHWKLFDOUXOHVHYHQLIWKDWSHUVRQKDSSHQVWRKDYHDODZGHJUHH$V

REVHUYHGHOVHZKHUHLWDPRXQWVWRSD\LQJDILQGHU¶VIHHDQGSURYLGLQJWKDWILQGHUD

IORDWLQJOLHQRQHYHU\FDVH+RSHIXOO\WKLVLQYHVWLJDWLRQZLOOPDNHFOHDUWKHGDQJHUVWR



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WKHSURIHVVLRQLQWKHVHW\SHVRIDUUDQJHPHQWVDQGWKHVHZLOOFHDVHWREHDQDFFHSWDEOHSDUW

RIEXVLQHVVGHYHORSPHQWLQRXUSURIHVVLRQ

       7KH6SHFLDO0DVWHUKHUHLVDGPLWWHGO\DQRXWVLGHUWR0DVVDFKXVHWWVODZSUDFWLFH

ZLWKLWVRZQXQLTXHKLVWRU\DQGWUDGLWLRQV+RZHYHUWKHSUDFWLFHRI³EDUHUHIHUUDOV´±

SHUPLWWLQJDODZ\HUWRUHFHLYHDUHIHUUDOIHHIRUGRLQJQRZRUNDQGKDYLQJQRDWWDFKPHQW

WRWKHFDVHRUWKHFOLHQWVHHPVWRLQYLWHDEXVHVVXFKDVWKHRQHVIRXQGKHUHZKLFKEOXU

WKHOLQHVEHWZHHQOHJLWLPDWHUHIHUUDOVWKDWSURPRWHWKHUHWHQWLRQRIPRUHFRPSHWHQW

ODZ\HUVDQGWKRVHZKLFKFURVVWKHOLQHWRRXWULJKWVROLFLWDWLRQ2QHVWHSWKDWPLJKWEH

KHOSIXOZRXOGEHLIWKH0DVVDFKXVHWWV%RDUGRI%DU2YHUVHHUVDQG0DVVDFKXVHWWVFRXUWV

ZHUHWRPDNHFOHDUWKDW5XOHEDSSOLHVWRODZ\HUVDQGWKDWODZ\HUVFDQQRWUHFHLYH

³IHHV´IURPRWKHUODZ\HUVVLPSO\IRUUHFRPPHQGLQJDODZ\HUXQOHVVWKHUHZHUHDYDOLG

DJUHHPHQWXQGHU5XOHHFRQVHQWHGWRLQZULWLQJE\WKHFOLHQWDIWHUEHLQJIXOO\

LQIRUPHG

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                              )LQDO7KRXJKWVRQ5HPHGLHV

       7KH6SHFLDO0DVWHUUHFRJQL]HVWKDWQRWHYHU\RQHZLOODJUHHZLWKWKHUHPHGLHVDQG

VDQFWLRQVUHFRPPHQGHGKHUH6RPHPD\VD\WKH\ZHUHRYHUO\KDUVKJLYHQWKHUHVXOWLQ

WKHXQGHUO\LQJFDVHDQGWKDWWKHFRQGXFWUHYHDOHGKHUHZDVODUJHO\RQO\DERXWKRZPRQH\

ZDVWREHGLYLGHGXSDPRQJODZ\HUVLQDVXFFHVVIXOFDVH)XUWKHUWKH6SHFLDO0DVWHU

DQWLFLSDWHVWKDWWKHODZILUPVDQGODZ\HUVPRVWULJRURXVO\UHGUHVVHGZLOOOLNHO\GLVDJUHH

ZLWKDWOHDVWVRPHRIWKHILQGLQJVDQGUHFRPPHQGHGUHPHGLHV



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       2QWKHRWKHUKDQGWKH6SHFLDO0DVWHUDOVRUHFRJQL]HVWKDWRWKHUVPD\IHHOWKH

UHFRPPHQGHGUHPHGLHVGRQRWJRIDUHQRXJKWRDGGUHVVVRPHRIWKHPRUHHJUHJLRXV

FRQGXFW7KHVHSHRSOHPD\FULWLFL]HWKHUHFRPPHQGDWLRQVE\SRLQWLQJRXWWKDWHYHQDIWHU

WKHLPSRVLWLRQRIWKHPRQHWDU\UHPHGLHVUHFRPPHQGHGKHUHWKH/DEDWRQ/LHIIDQG

7KRUQWRQODZILUPVZLOOVWLOOEHOHIWZLWKQRWRQO\WKHLUEDVHORGHVWDUFODLPEXWD

VXEVWDQWLDOPXOWLSOLHU7KH6SHFLDO0DVWHUFDOFXODWHVWKDWHYHQDIWHUWKHDOORFDWLRQRIDOO

PRQHWDU\DPRXQWVDQGWKHFRVWVRIWKHLQYHVWLJDWLRQWKHFXVWRPHUFODVVILUPVZLOOVWLOO

UHFHLYHLWVEDVHORGHVWDUSOXVDVLJQLILFDQWPXOWLSOLHU%H\RQGWKLVVRPHZLOOQRGRXEW

SRLQWRXWWKDWHYHQZLWKDOORIWKHTXHVWLRQDEOHFRQGXFWKHUHWKHWRWDOUHGXFWLRQLQIHHV

IRUWKHILUPVLVRQO\URXJKO\7RWKHPDQRQWKHVWUHHWWKLVPD\VHHPLQVXIILFLHQW

UHGUHVVIRUWKHFRQGXFWLGHQWLILHG$QGQRGRXEWVRPHREVHUYHUVZLOOFULWLFL]HWKH

UHFRPPHQGDWLRQVKHUHIRUQRWUHFRPPHQGLQJDGGLWLRQDOSURIHVVLRQDOGLVFLSOLQDU\DFWLRQ

EH\RQGWKDWZKLFKLVUHFRPPHQGHGKHUH7KHVHFULWLFVPD\ZHOOVD\WKDWWKH6SHFLDO

0DVWHUKDVJLYHQDSDVVWRVRPHRIWKHODZ\HUVIRUVRPHRIWKHFRQGXFWE\QRW

UHFRPPHQGLQJPRUHH[WHQVLYHGLVFLSOLQDU\DFWLRQ

       ,QUHVSRQVHWKH6SHFLDO0DVWHUZRXOGSRLQWRXWWKDWWKHLQWHQWKHUHKDVEHHQWR

LGHQWLI\WUXHDQGXQPLVWDNDEOHSURIHVVLRQDOPLVFRQGXFWWRUHPHG\ZURQJVDQGWRSXWWKH

ODZILUPVDQGWKHFODVVURXJKO\LQDSRVLWLRQWKDWLVSURSRUWLRQDWHWRWKHFRQGXFWDQGWKH

KDUP,QWKLVFRQWH[WWKH6SHFLDO0DVWHUQRWHVWKDWWKHUHFRPPHQGDWLRQVKHUHLI

IROORZHGZRXOGUHWXUQLQDUDQJHRIDSSUR[LPDWHO\WRPLOOLRQWRWKHFODVV

%H\RQGWKLVWKH6SHFLDO0DVWHUZRXOGUHPLQGFULWLFVWKDWGHVSLWHWKHTXHVWLRQDEOH

FRQGXFWWKHUHVXOWDFKLHYHGIRUWKHFODVVZDVDYHU\JRRGRQHDQGWKDWWKHODZ\HUV

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GHVHUYHJUHDWFUHGLWIRUWKDW7KHIDFWWKDWWKHFXVWRPHUFODVVODZ\HUVUHWDLQDPXOWLSOLHU

RQWRSRIWKHLUORGHVWDULVDQDSSURSULDWHPHDVXUHRIWKHLUZRUNRQWKHFDVHDQGWKHUHVXOW

WKH\DFKLHYHG




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